 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page11of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1480
                                                                              956




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA



   BRIAN WARNER, KENNETH
   MACLEOD; MICHAEL MEADE,                   Case No. 2:15-cv-02171-FMO-(FFMx)
   MICHAEL WATSON, JAMES
   FULLER, and DALE FRANQUET,
   individually and on behalf of all
   others similarly situated,
   Plaintiffs,

   v.

   TOYOTA MOTOR SALES, U.S.A.,
   INC., a California corporation,
   Defendant.




                      SETTLEMENT AGREEMENT




                                                     US_ACTIVE-126580492.17-EFGLADBA 11/14/2016 8:14 AM
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page22of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1481
                                                                              957




                                                   TABLE OF CONTENTS

     Section                                                                                                                             Page

      I.       PROCEDURAL HISTORY .................................................................................. 2

      II.      DEFINITIONS....................................................................................................... 4

      III.     SETTLEMENT RELIEF ..................................................................................... 10

      IV.      NOTICE TO THE CLASS .................................................................................. 15

      V.       REQUESTS FOR EXCLUSION ......................................................................... 21

      VI.      OBJECTIONS TO SETTLEMENT .................................................................... 22

      VII.     RELEASE AND WAIVER ................................................................................. 24

      VIII.    ATTORNEYS’ FEES, COSTS, AND EXPENSES AND INDIVIDUAL PLAINTIFF
               AND CLASS REPRESENTATIVE AWARDS.................................................. 28

      IX.      PRELIMINARY APPROVAL ORDER, FINAL ORDER, FINAL JUDGMENT
               AND RELATED ORDERS ................................................................................. 30

      X.       MODIFICATION OR TERMINATION OF THIS SETTLEMENT AGREEMENT
               .............................................................................................................................. 33

      XI.      GENERAL MATTERS AND RESERVATIONS............................................... 36




                                                                        i
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page33of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1482
                                                                              958




                                                         TABLE OF EXHIBITS

   Document                                                                                                        Exhibit Number


   Frame Replacement Reimbursement Claim Form ................................................................1

   Final Judgment .......................................................................................................................2

   Final Order ............................................................................................................................3

   Long Form Notice ..................................................................................................................4

   Preliminary Approval Order ..................................................................................................5

   Direct Mail Notice .................................................................................................................6

   List of Subject Vehicles .........................................................................................................7

   Publication Notice..................................................................................................................8

   Settlement Notice Administrator’s Declaration .....................................................................9

   Request to Opt Out/Request for Exclusion Form ..................................................................10

   Inspection Protocol ................................................................................................................11




                                                                           ii
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page44of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1483
                                                                              959




          WHEREAS, Plaintiffs’ Second Amended Complaint in the above-referenced action

   alleges frame rust perforation of certain Tacoma, Sequoia, and Tundra vehicles;

          WHEREAS, Class Counsel have conducted substantial discovery, have investigated the

   facts and underlying events relating to the subject matter of the claims, have carefully analyzed

   the applicable legal principles, and have concluded, based upon their investigation, and taking

   into account the risks, uncertainties, burdens and costs of further prosecution of their claims, and

   taking into account the substantial benefits to be received pursuant to this Settlement Agreement

   and that a resolution and compromise on the terms set forth herein is fair, reasonable, adequate,

   and in the best interests of the Class Representatives and the Class;

          WHEREAS, Toyota, for the purpose of avoiding burden, expense, risk, and uncertainty

   of continuing to litigate the claims, and for the purpose of putting to rest all controversies with

   Class Representatives, the Class, the Action and the Related Action, and claims that were or

   could have been alleged, except as otherwise set forth herein, and without any admission of

   liability or wrongdoing, desires to enter into this Settlement Agreement;

          WHEREAS, as a result of extensive arm’s length negotiations, including numerous

   mediation sessions amongst the Parties before Settlement Special Master Patrick A. Juneau,

   Class Representatives, Class Counsel (all terms as defined below) and Toyota have entered into

   this Settlement Agreement;

          WHEREAS, Class Counsel represent and warrant that they are fully authorized to enter

   into this Settlement Agreement on behalf of Class Representatives and the Class, and that Class

   Counsel have consulted with and confirmed that all Class Representatives fully support and have

   no objection to this Settlement Agreement; and
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page55of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1484
                                                                              960




          WHEREAS, it is agreed that this Settlement Agreement shall not be deemed or

   construed to be an admission, concession, or evidence of any violation of any federal, state, or

   local statute, regulation, rule, or other law, or principle of common law or equity, or of any

   liability or wrongdoing whatsoever, by Toyota or any of the Released Parties (as defined below),

   or of the truth or validity of any of the claims that Class Representatives have asserted;

          NOW, THEREFORE, without any admission or concession by Class Representatives or

   Class Counsel of any lack of merit to their allegations and claims, and without any admission or

   concession by Toyota of any liability or wrongdoing or lack of merit in its defenses, in

   consideration of the mutual covenants and terms contained herein, and subject to both the

   preliminary and final approval by the Court, Class Counsel, Class Representatives, and Toyota

   agree as follows:



   I. PROCEDURAL HISTORY

          A.      On October 3, 2014, Ryan Burns filed a class action complaint in Burns v. Toyota

   Motor Sales, U.S.A., Inc., No. 2:14-cv-02208 (W.D. Ark.) alleging, among other things, that

   Toyota (as defined below) designed, manufactured, distributed, advertised and sold certain

   Tacoma vehicles that allegedly lacked adequate rust protection on the vehicles’ frames that

   would allegedly result in premature rust corrosion and that Ryan Burns and others similarly

   situated sustained economic losses as a result thereof.

          B.      On March 24, 2015, Brian Warner and others filed a class action complaint in

   Brian Warner et al v. Toyota Motor Sales, U.S.A., Inc., No. 2:15-cv-02171 (C.D. Cal.) alleging,

   among other things, that Toyota (as defined below) designed, manufactured, distributed,

   advertised and sold certain Tacoma vehicles that allegedly lacked adequate rust protection on the




                                                    2
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page66of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1485
                                                                              961




   vehicles’ frames that would allegedly result in premature rust corrosion and that the plaintiffs

   and others similarly situated sustained economic losses as a result thereof.

          C.      On April 23, 2015, the United States District Court for the Western District of

   Arkansas issued an Order granting in part and denying in part Toyota’s motion to dismiss

   plaintiff Ryan Burns’ complaint. Pursuant to the United States District Court for the Western

   District of Arkansas’ Order, plaintiff Ryan Burns’ claims for breach of express and implied

   warranties were dismissed, while the order upheld his claims under the Arkansas Deceptive

   Trade Practices Act, for unjust enrichment and for declaratory relief..

          D.      On June 5, 2015, the United States District Court for the Central District of

   California issued an order granting Toyota’s motion to dismiss the complaint filed by plaintiff

   Brian Warner and others without prejudice.

          E.      On June 19, 2015, plaintiff Brian Warner and others filed a First Amended

   Complaint.

          F.      On January 12, 2016, the United States District Court for the Western District of

   Arkansas issued an Order granting in part and denying in part, Toyota’s motion for summary

   judgment on plaintiff Ryan Burns’ claims. Pursuant to the United States District Court for the

   Western District of Arkansas’ Order, Toyota’s motion for summary judgment was denied on all

   grounds except that plaintiff’s claim for injunctive relief was dismissed. In addition, according

   to this court’s order, Toyota’s motion to deny class certification was denied without prejudice.

   This court found it premature to make a ruling regarding whether class certification for any of

   Burns’s three proposed classes should be denied based upon the pleadings alone.

          G.      On March 8, 2016, the United States District Court for the Central District of

   California granted in part and denied in part Toyota’s motion to dismiss the First Amended




                                                    3
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page77of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1486
                                                                              962




   Complaint filed by plaintiff Brian Warner and others, such that plaintiffs’ claims under the

   consumer protection laws of California, Florida, Ohio, and Louisiana were dismissed with

   prejudice; and plaintiffs’ claims under Maryland, New York, and North Carolina law were

   dismissed to the extent they contained allegations based on Toyota’s alleged misrepresentations,

   but plaintiffs could pursue said claims based on Defendant’s alleged omissions.

          H.      Plaintiff Brian Warner and others filed a Second Amended Complaint, adding

   Ryan Burns as one of the plaintiffs. The Second Amended Complaint expanded the allegations to

   also include certain Tundra and Sequoia vehicles. The Second Amended Complaint also added

   counts for the alleged violations of the Arkansas consumer protection laws, breach of implied

   warranty of merchantability and breach of express warranty.

   II. DEFINITIONS

          A.      As used in this Settlement Agreement and the attached exhibits (which are an

   integral part of this Settlement Agreement and are incorporated herein in their entirety by

   reference), the following terms have the following meanings, unless this Settlement Agreement

   specifically provides otherwise:

                  1.   “Action” means Brian Warner et al., v. Toyota Motor Sales, U.S.A., Inc., No.

   2:15-cv-02171 (C.D. Cal.).

                  2. “Agreement” or “Settlement Agreement” means this Settlement Agreement

   and the exhibits attached hereto or incorporated herein, as well as any and all subsequent

   amendments and any exhibits to such amendments.

                  3.   “Attorneys’ Fees, Costs, and Expenses” means such funds as may be awarded

   by the Court to compensate any and all attorneys representing plaintiffs who have assisted in

   conferring the benefits upon the Class under this Settlement Agreement for their fees and




                                                  4
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page88of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1487
                                                                              963




   expenses in connection with the Action and the Related Action and the Settlement Agreement, as

   described in Section VIII of this Settlement Agreement.

                  4. “Claim” means the claim of a Class Member or his or her or its representative

   submitted on a Frame Replacement Reimbursement Claim Form as provided in this Settlement

   Agreement.

                  5. “Claimant” means a Class Member who has submitted a Claim.

                  6. “Claim Period” means the time period in which Class Members may submit a

   Frame Replacement Reimbursement Claim Form to the Settlement Notice Administrator, which

   shall run from the date of the Initial Notice Date up to and including sixty (60) days after the

   Court’s issuance of the Final Order and Final Judgment.

                  7. “Claim Process” means the process for submitting and reviewing Claims

   described in this Settlement Agreement.

                  8. “Class” means, for settlement purposes only, all persons, entities or

   organizations who, at any time as of the entry of the Preliminary Approval Order, own or owned,

   purchase(d) or lease(d) Subject Vehicles distributed for sale or lease in any of the fifty States, the

   District of Columbia, Puerto Rico and all other United States territories and/or possessions.

   Excluded from the Class are: (a) Toyota, its officers, directors and employees; its affiliates and

   affiliates’ officers, directors and employees; its distributors and distributors’ officers, directors

   and employees; and Toyota Dealers and Toyota Dealers’ officers and directors; (b) Plaintiffs’

   Counsel; (c) judicial officers and their immediate family members and associated court staff

   assigned to this case; and (d) persons or entities who or which timely and properly exclude

   themselves from the Class as provided in this Settlement Agreement.




                                                     5
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page99of
                                                              of193
                                                                 50 PageID
                                                                    Page ID#:#:1488
                                                                              964




                  9. “Class Counsel” means Timothy G. Blood of Blood Hurst and O’Reardon,

   LLP and Ben Barnow of Barnow and Associates, P.C.

                  10. “Class Member” means a member of the Class.

                  11. “Class Notice” means the notice program described in Section IV.

                  12. “Class Representatives” means Brian Warner, Ryan Burns, Kenneth Macleod,

   Michael Meade, Michael Watson, James Fuller, James M. Good, and Dale Franquet.

                  13. “Court” means the United States District Court for the Central District of

   California.

                  14. “Direct Mail Notice” means the notice substantially in the form as attached

   hereto as Exhibit 6.

                  15. “Fairness Hearing” means the hearing for the purposes of the Court

   determining whether to approve this Settlement Agreement as fair, reasonable, and adequate.

                  16. “Final Effective Date” means the latest date on which the Final Order and/or

   Final Judgment approving this Settlement Agreement becomes final.           For purposes of this

   Settlement Agreement:

                          a. if no appeal has been taken from the Final Order and/or Final

                          Judgment, “Final Effective Date” means the date on which the time to

                          appeal therefrom has expired; or

                          b. if any appeal has been taken from the Final Order and/or Final

                          Judgment, “Final Effective Date” means the date on which all appeals

                          therefrom, including petitions for rehearing or reargument, petitions for

                          rehearing en banc and petitions for certiorari or any other form of review,




                                                   6
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page10
                                                             10of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1489
                                                                                965




                          have been finally disposed of in a manner that affirms the Final Order or

                          Final Judgment; or

                          c. subject to Court approval, if Class Counsel and Toyota agree in

                          writing, the “Final Effective Date” can occur on any other agreed date.

                   17. “Final Judgment” means the Court’s final judgment as described in Section IX

   of this Settlement Agreement, which is to be substantially in the form attached hereto as Exhibit

   2.

                   18. “Final Order” means the Court’s order approving the Settlement Agreement,

   as described in Section IX, which is to be substantially in the form attached hereto as Exhibit 3.

                   19. “First Use” means the date that the Subject Vehicle is originally sold or

   leased.

                   20. “Frame Inspection and Replacement Program” means the inspection program

   as further described in Section III below.

                   21. “Frame Replacement Reimbursement Claim Form” means the document, in

   substantially the same form as Exhibit 1 attached to this Settlement Agreement.

                   22. “Initial Notice Date” means the date on which the first notice is disseminated

   to the Class.

                   23. “Inspection Protocol” means the procedures, as further discussed in Exhibit

   11, for review and inspection by Toyota Dealers of the Subject Vehicles for the Rust Perforation

   Standard, pursuant to the terms of this Settlement Agreement.

                   24. “Loaner Vehicle” means a vehicle of any potential make, model or year,

   provided pursuant to the Frame Inspection and Replacement Program.




                                                    7
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page11
                                                             11of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1490
                                                                                966




                  25. “Long Form Notice” means the Long Form Notice substantially in the form

   attached hereto as Exhibit 4.

                  26. “Parties” means Class Representatives and Toyota, collectively, as each of

   those terms is defined in this Settlement Agreement.

                  27. “Plaintiffs’ Counsel” means counsel for plaintiffs in the Action, Blood Hurst

   and O’Reardon, LLP, Barnow and Associates P.C., Milligan Law Offices, Montelone &

   McCrory LLP, and Roberts Law Firm PA.

                  28. “Preliminary Approval Order” means the order to be entered by the Court

   preliminarily approving the settlement as outlined in Section IX and to be substantially in the

   form attached hereto as Exhibit 5.

                  29. “Publication Notice” means the publication notice substantially in the form as

   attached hereto as Exhibit 8.

                  30. “Release” means the release and waiver set forth in Section VII of this

   Settlement Agreement and in the Final Judgment and Final Order.

                  31. “Related Action” means Ryan Burns v. Toyota Motor Sales, U.S.A., Inc., No.

   2:14-cv-02208-PKH (W.D. Ark.).

                  32. “Released Parties” or “Released Party” means any Toyota entity, including,

   but not limited to, Toyota Motor Corporation, Toyota Motor Sales, U.S.A., Inc., Toyota Motor

   North America, Inc., Toyota Motor Engineering and Manufacturing North America, Inc., New

   United Motor Manufacturing, Inc., Toyota Motor Manufacturing, Texas, Inc., Toyota Motor

   Manufacturing Indiana, Toyota Motor Manufacturing Baja California, Toyota Auto Body

   California and each of their past, present and future parents, predecessors, successors, spin-offs,

   assigns, holding companies, joint-ventures and joint-venturers, partnerships and partners,




                                                   8
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page12
                                                             12of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1491
                                                                                967




   members, divisions, stockholders, bondholders, subsidiaries, related companies, affiliates,

   officers, directors, employees, associates, dealers, representatives, suppliers, vendors,

   advertisers, service providers, distributors and sub-distributors, agents, attorneys, administrators

   and advisors. The Parties expressly acknowledge that each of the foregoing is included as a

   Released Party even though not identified by name herein.

                  33. “Rust Perforation Standard” means a 10 millimeter or larger perforation on

   the Subject Vehicle as described in Exhibit 11.

                  34. “Salvaged” means the title, at any point, was transferred to a salvage yard,

   junkyard, wreckage facility or similar entity.

                  35. “Settlement Claims Administrator” shall mean Patrick A. Juneau and Michael

   Juneau of Juneau David, APLC agreed to by the Parties and submitted to the Court for

   appointment.

                  36. “Settlement Notice Administrator” means the Court-appointed third-party

   agent or administrator agreed to by the Parties and submitted to the Court for appointment to

   implement the notice plan and address the Claims Process. The Parties agree that Jeanne

   Finegan of Heffler Claims Group shall serve as Settlement Notice Administrator, subject to

   approval by the Court.

                  37. “Settlement Special Master” means Patrick A. Juneau, who was appointed by

   this Court in an Order dated June 29, 2016, to serve as Special Master to administer, coordinate

   and preside over settlement-related proceedings.

                  38. “Subject Vehicles” means those Toyota vehicles that are listed in Exhibit 7.

                  39. “Toyota” or “Defendant” means Toyota Motor Corporation, Toyota Motor

   North America, Inc., and Toyota Motor Sales, U.S.A., Inc.




                                                     9
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page13
                                                             13of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1492
                                                                                968




                  40. “Toyota Dealers” means authorized Toyota dealers.

                  41. “Toyota’s Counsel” means John P. Hooper and Reed Smith LLP.

          B.      Other capitalized terms used in this Settlement Agreement but not defined in this

   Section II shall have the meanings ascribed to them elsewhere in this Settlement Agreement.

          C.      The terms “he or she” and “his or her” include “it” or “its” where applicable.

   III.   SETTLEMENT RELIEF

          In consideration for the dismissal of the Action and the Related Action with prejudice, as

   contemplated in this Settlement Agreement, and for the full and complete Release, Final

   Judgment and Final Order, as further specified herein, Toyota agrees to provide the relief

   specified in this Section. The costs and expenses associated with providing the relief and

   otherwise implementing the relief specified in Section III of this Settlement Agreement shall be

   the sole obligation of and paid by Toyota.

          After the issuance of the Preliminary Approval Order signed by the Court, Toyota, at its

   sole discretion, may, after consultation with Class Counsel, implement the Frame Inspection and

   Replacement Program in advance of the occurrence of the Final Effective Date.

          A.      Frame Inspection and Replacement Program

          1.      Toyota will offer the Frame Inspection and Replacement Program to all Class

   Members. The Frame Inspection and Replacement Program will provide prospective coverage

   for replacement of frames on Subject Vehicles in accordance with the Rust Perforation Standard

   and the Inspection Protocol. The duration of prospective coverage will begin following the date

   of Final Order and Final Judgment and will be calculated by the longer of 12 years from the date

   of First Use of the Subject Vehicle or, if the Class Member has owned or leased the vehicle

   beyond 12 years from date of First Use, 1 year from the date of entry of the Final Order and




                                                  10
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page14
                                                             14of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1493
                                                                                969




   Final Judgment. Pursuant to the Frame Inspection and Replacement Program and the Inspection

   Protocol, Toyota shall offer an initial inspection of the Subject Vehicles and additional

   inspections, as necessary. Salvaged Vehicles and vehicles with titles marked flood-damaged are

   not eligible for this benefit.


           2.      Without cost to Class Members and upon request from the Class Member, Toyota

   shall arrange a complimentary Loaner Vehicle (upon proof of adequate insurance) if the vehicle

   is required by the Toyota dealer to remain at the dealership at least overnight pursuant to the

   Frame Inspection and Replacement Program, for up to seven (7) days, absent exceptional

   circumstances, to eligible Class Members whose Subject Vehicles are undergoing frame

   replacement pursuant to the terms of this Settlement Agreement. In appropriate circumstances

   where the Class Member has a demonstrated need for a vehicle similar to the Subject Vehicles,

   Toyota, through its dealers, shall use good faith efforts to satisfy that request.


           3.      Pursuant to the Frame Inspection and Replacement Program and the Inspection

   Protocol, Class Members may have their Subject Vehicles’ frames inspected by authorized
                                                                  1
   Toyota Dealers and, if the vehicle is located in a CRC State, for evaluation for application of the

   Corrosion-Resistant Compounds (“CRC”).             For vehicles registered in CRC States, the

   application of the CRC is available for a two (2) year period: (a) for the Tundra and Sequoia

   subject vehicles; and, (b) for those Tacoma subject vehicles for which CRC has not been

   previously applied and the frame was not previously replaced. The timing of the availability of

   the CRC application will depend on Toyota’s ability to obtain the applicable environmental


   1
    The CRC States, which have high road salt use, are defined as Connecticut, Delaware, the
   District of Columbia, Illinois, Indiana, Kentucky, Massachusetts, Maryland, Maine, Michigan,
   Minnesota, New Hampshire, New Jersey, New York, Ohio, Pennsylvania, Rhode Island,
   Virginia, Vermont, Wisconsin and West Virginia.


                                                     11
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page15
                                                             15of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1494
                                                                                970




   permits. Toyota, at its sole discretion, may periodically mail reminder notices of this benefit to

   Class Members after the issuance of the Final Order and Final Judgment. Toyota shall mail a

   reminder notice to Class Members in CRC States when there is only six (6) months remaining

   for the possible application of the CRC. The reminder notices shall notify the Class Members of

   the timing of this Frame Inspection and Replacement Program and will encourage Class

   Members to bring in their Subject Vehicles for an inspection, pursuant to the terms of this

   Settlement Agreement. Toyota shall provide draft reminder notices to Class Counsel for review

   and comment.


          4.      If the Class Member disputes the findings of the Toyota Dealer conducted

   pursuant to this Frame Inspection and Replacement Program, the Class Member may take the

   Subject Vehicle to a second Toyota Dealer for another frame inspection.


          5.      Toyota shall identify the VIN numbers for the Subject Vehicles utilizing R.L.

   Polk & Co. data to identify current names and addresses for Class Members. In addition, the

   Direct Mail Notice attached hereto as Exhibit 6 will summarize the Frame Inspection and

   Replacement Program, which shall also be available on the settlement website.


          6.      Toyota shall replace the frames and associated parts, as required, on the Subject

   Vehicles that satisfy the Rust Perforation Standard that are presented to a Toyota Dealer during

   the Frame Inspection and Replacement Program.


          B.      Frame Replacement Reimbursement Claim Form Submission, Review,
                  Processing and Payment


                  1. Eligible Class Members, during the Claim Period, may submit Claims for

   previously paid out-of-pocket expenses for frame replacement incurred to address a condition


                                                  12
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page16
                                                             16of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1495
                                                                                971




   that satisfies the Rust Perforation Standard on the Subject Vehicles that were not otherwise

   reimbursed and that were incurred prior to the Initial Notice Date.

                  2. As part of the Claim Process, Class Members shall be eligible for the relief in

   this Settlement Agreement, provided that Class Members: (a) complete and timely submit Frame

   Replacement Reimbursement Claim Forms, with supporting documentation, to the Settlement

   Notice Administrator within the Claim Period; (b) have Claims that are eligible for

   reimbursement; and (c) do not opt out of the settlement.              The Frame Replacement

   Reimbursement Claim Form shall be available on the settlement website and can be submitted in

   either hard-copy or on-line. In no event shall a Class Member be entitled to more than one

   payment per Subject Vehicle for the claims at issue. Sufficient proof shall include, but not be

   limited to, proof of ownership and documentation of cost, condition, and remedy.

                  3. The Settlement Notice Administrator shall receive the Claims, whether

   submitted electronically via the settlement website or by U.S. Mail, and the Settlement Claims

   Administrator shall administer the review and processing of Claims. The Settlement Claims

   Administrator shall have the authority to determine whether Claim Forms submitted by Class

   Members are complete and timely.

                  4. The Settlement Notice Administrator shall send timely and completed Frame

   Replacement Reimbursement Claim Forms as soon as practicable after receipt to the Settlement

   Claims Administrator. If a Claim is deficient, the Settlement Claims Administrator shall mail a

   notice deficiency letter to the Class Member requesting that the Class Member complete the

   deficiencies and resubmit the Frame Replacement Reimbursement Claim Form within forty-five

   (45) days of the date of the letter from the Settlement Notice Administrator. If the Class Member

   fails to provide the requested documentation or information, that Claim shall be denied without




                                                   13
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page17
                                                             17of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1496
                                                                                972




   further processing. The Settlement Claims Administrator shall use their best efforts to complete

   their review of timely and completed Claim Forms within ninety (90) days of receipt. The

   Settlement Claims Administrator’s review period for submitted Claims shall not be required to

   commence any earlier than sixty (60) days after the occurrence of the Final Effective Date.

                         (a)       If accepted for payment, the Settlement Claims Administrator shall

                  pay the Claim of the Class Member and shall use its best efforts to pay timely,

                  valid and approved Claims within ninety (90) days after receipt of the Claim,

                  provided, however, that this date occurs after the issuance of the Final Order and

                  Final Judgment approving the settlement, which, at Toyota’s discretion, can occur

                  prior to the occurrence of the Final Effective Date.       The Settlement Claims

                  Administrator shall periodically request funds from Toyota to pay the approved

                  Claims in advance of the date mentioned in this Section and with sufficient time

                  to allow Toyota to obtain and provide the funds to the Settlement Claims

                  Administrator.

                         (b)       If the Claim is rejected for payment, in whole or in part, the

                  Settlement Claims Administrator shall notify Class Counsel and Toyota’s Counsel

                  of said rejection of Class Member’s Claim and the reason(s) why. The decision

                  of the Settlement Claims Administrator shall be final, provided however, that

                  Class Counsel and Toyota’s Counsel may meet and confer in an attempt to

                  resolve these denied Claims. If Class Counsel and Toyota jointly recommend

                  payment of the Claims or payment of a reduced claim amount, then Toyota’s

                  Counsel shall inform the Settlement Claims Administrator, who shall instruct

                  Toyota to pay said Claims. If Class Counsel and Toyota’s Counsel disagree, they




                                                    14
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page18
                                                             18of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1497
                                                                                973




                  shall notify the Settlement Claims Administrator who shall make a final

                  determination as to whether the Claim shall be paid.

                  5. The Settlement Claims Administrator shall timely provide copies of all

   rejection notices to Class Counsel and to Toyota’s Counsel. Any Class Member whose Claim is

   rejected in full shall not receive any payment for the Claim submitted and shall, in all other

   respects, be bound by the terms of the Settlement Agreement and by the Final Order and Final

   Judgment entered in the Action, unless such Class Member has submitted a timely request for

   exclusion pursuant to Section V. Similarly, any Class Member whose Claim is approved in part

   and rejected in part shall not receive any payment for that portion of the Claim that is rejected

   and shall, in all other respects, be bound by the terms of the Settlement Agreement and by the

   Final Order and Final Judgment entered in the Action, unless such Class Member has submitted

   a timely request for exclusion pursuant to Section V.

                  6. No person shall have any claim against Toyota, the Settlement Special Master,

   the Settlement Claims Administrator, the Class Representatives, the Class, Plaintiffs’ Counsel,

   Class Counsel, Toyota’s Negotiating Counsel, or the Settlement Notice Administrator based on

   any eligibility determinations made in accordance with the Settlement Agreement.

   IV.    NOTICE TO THE CLASS

          A.      Class Notice

          Class Notice will be accomplished through a combination of the Direct Mail Notice,

   Publication Notice, notice through the settlement website, Long Form Notice, social media

   notice, and other applicable notice, each of which is described below, as specified in the

   Preliminary Approval Order, the Declaration of the Settlement Notice Administrator (attached

   hereto as Exhibit 9), and this Settlement Agreement and in order to comply with all applicable




                                                  15
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page19
                                                             19of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1498
                                                                                974




   laws, including but not limited to, Fed. R. Civ. P. 23, the Due Process Clause of the United

   States Constitution, and all other applicable statutes, laws and rules. The costs of disseminating

   the notice and otherwise implementing the notice specified in Section IV of this Settlement

   Agreement shall be paid by Toyota. The estimated amount for the cost of notice is between

   $1.75 million to $2.5 million, subject, in part, to the number of addresses received from R.L.

   Polk & Co., and which is being paid by Toyota and is subject to revision as notice dissemination

   is actually undertaken.

          B.      Direct Mail Notice

          Beginning not later than December 2, 2016, the Settlement Notice Administrator shall

   send the Direct Mail Notice, substantially in the form attached hereto as Exhibit 6, by U.S. Mail,

   proper postage prepaid, to the current and former registered owners of Subject Vehicles, as

   identified by data to be forwarded to the Settlement Notice Administrator by R.L. Polk & Co.

   The Direct Mail Notice shall inform potential Class Members on how to obtain the Long Form

   Notice via the settlement website, via regular mail or via a toll-free telephone number, pursuant

   to Sections IV(E) and (F), below. In addition, the Settlement Notice Administrator shall: (a) re-

   mail any notices returned by the United States Postal Service with a forwarding address no later

   than the deadline found in the Preliminary Approval Order; (b) by itself or using one or more

   address research firms, as soon as practicable following receipt of any returned notices that do

   not include a forwarding address, research such returned mail for better addresses and promptly

   mail copies of the applicable notice to any better addresses so found.

          C.      Publication Notice

          Beginning approximately December 16, 2016, the Settlement Notice Administrator shall

   cause the publication of the Publication Notice as described in the Declaration of the Settlement




                                                   16
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page20
                                                             20of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1499
                                                                                975




   Notice Administrator, and in such additional newspapers, magazines and/or other media outlets

   as shall be agreed upon by the Parties. The form of the Publication Notice agreed upon by the

   Parties is in the form substantially similar to the one attached to the Agreement as Exhibit 8.

          D.      Internet Website

          The Settlement Notice Administrator shall establish a settlement website that will inform

   Class Members of the terms of this Settlement Agreement, their rights, dates and deadlines and

   related information. The website shall include, in .pdf format, materials agreed upon by the

   Parties and/or required by the Court, including, but not limited to, the Settlement Agreement, the

   Publication Notice, Frequently Asked Questions and Answers, and Court documents that may be

   of interest to most Class Members.

          E.      Long Form Notice

                  1.      Contents of Long Form Notice.

                  The Long Form Notice shall be in a form substantially similar to the document

                  attached to this Settlement Agreement as Exhibit 4, and shall advise Class

                  Members of the following:

                          a. General Terms: The Long Form Notice shall contain a plain and

                          concise description of the nature of the Action and the Related Action, the

                          history of the litigation of the claims, the preliminary certification of the

                          Class for settlement purposes, and the Settlement Agreement, including

                          information on the identity of Class Members, how the Settlement

                          Agreement would provide relief to the Class and Class Members, what

                          claims are released under the Settlement Agreement and other relevant

                          terms and conditions.




                                                   17
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page21
                                                             21of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1500
                                                                                976




                        b. Opt-Out Rights:    The Long Form Notice shall inform Class Members

                        that they have the right to opt out of the settlement. The Long Form

                        Notice shall provide the deadlines and procedures for exercising this right.

                        c. Objection to Settlement: The Long Form Notice shall inform Class

                        Members of their right to object to the Settlement Agreement and to

                        appear at the Fairness Hearing. The Long Form Notice shall provide the

                        deadlines and procedures for exercising these rights.

                        d. Fees and Expenses: The Long Form Notice shall inform Class

                        Members about the amounts being sought by Plaintiffs’ Counsel as

                        Attorneys’ Fees and Expenses and individual awards to the Class

                        Representatives, and shall explain that Toyota will pay the fees and

                        expenses awarded to Plaintiffs’ Counsel and individual awards to the

                        Class Representatives in addition to amounts being made available for

                        relief to Class Members by this Settlement Agreement.

                 2.     Frame Replacement Reimbursement Claim Forms.

          The Long Form Notice and settlement website shall include the Frame Replacement

   Reimbursement Claim Form, which shall be in a form substantially similar to the document

   attached to this Settlement Agreement as Exhibit 1 and which shall inform the Class Member

   that he or she must fully complete and timely return the Frame Replacement Reimbursement

   Claim Form within the Claim Period to be eligible to obtain relief pursuant to this Settlement

   Agreement.

                 3.     Dissemination of Long Form Notice.




                                                 18
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page22
                                                             22of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1501
                                                                                977




              The Long Form Notice shall be available on the settlement website. The Settlement

   Notice Administrator shall send via first-class mail, the Long Form Notice to those persons who

   request it in writing or through the toll-free telephone number.

         F.          Toll-Free Telephone Number

              The Settlement Notice Administrator shall establish a toll-free telephone number that will

   provide Settlement-related information to Class Members.

         G.          Internet Banner Notifications

              The Settlement Notice Administrator shall, pursuant to the Parties’ agreement, establish

   banner notifications on the internet that will provide settlement-related information to Class

   Members and shall utilize additional internet-based notice efforts as to be agreed to by the

   Parties.

         H.          Class Action Fairness Act Notice

              The Settlement Notice Administrator shall send to each appropriate State and Federal

   official, the materials specified in 28 U.S.C. § 1715, and shall otherwise comply with its terms.

   The identities of such officials and the content of the materials shall be mutually agreeable to the

   Parties and in all respects comport with statutory obligations.

         J. Duties of the Settlement Notice Administrator

              1.     The Settlement Notice Administrator shall be responsible for, without limitation:

   (a) printing, mailing or arranging for the mailing of the Direct Mail Notice; (b) handling returned

   mail not delivered to Class Members; (c) attempting to obtain updated address information for

   any Direct Mail Notices returned without a forwarding address; (d) making any additional

   mailings required under the terms of this Settlement Agreement; (e) responding to requests for

   Long Form Notice; (f) receiving and maintaining on behalf of the Court any Class Member

   correspondence regarding requests for exclusion and/or objections to the Settlement Agreement;


                                                     19
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page23
                                                             23of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1502
                                                                                978




   (g) forwarding written inquiries to Class Counsel or their designee for a response, if warranted;

   (h) establishing a post-office box for the receipt of any correspondence; (i) responding to

   requests from Class Counsel and/or Toyota’s Counsel; (j) establishing a website and toll-free

   voice response unit with message capabilities to which Class Members may refer for information

   about the Action and the Related Action and the Settlement Agreement; (k) otherwise

   implementing and/or assisting with the dissemination of the notice of the Settlement Agreement;

   and (l) coordinating with the Settlement Claims Administrator regarding the forwarding of

   Claims. The Settlement Notice Administrator shall also be responsible for, without limitation,

   implementing the terms of the Claim Process and related administrative activities.            The

   Settlement Notice Administrator shall be responsible for arranging for the publication of the

   Publication Notice, establishing internet banner notifications and for consulting on Class Notice.

   The Settlement Notice Administrator shall coordinate their activities to minimize costs in

   effectuating the terms of this Settlement Agreement.


          2.      If the Settlement Notice Administrator makes a material or fraudulent

   misrepresentation to any party, conceals requested material information, or fails to perform

   adequately on behalf of Toyota or the Class, the Parties may agree to remove the Settlement

   Notice Administrator. Disputes regarding the retention or dismissal of the Settlement Notice

   Administrator shall be referred to the Court for resolution.


          3.      The Settlement Notice Administrator may retain one or more persons to assist in

   the completion of his or her responsibilities.


          4.      Not later than 20 days before the date of the Fairness Hearing, the Settlement

   Notice Administrator shall file with the Court a list of those persons who have opted out or



                                                    20
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page24
                                                             24of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1503
                                                                                979




   excluded themselves from this settlement and the terms of this Settlement Agreement. The

   Settlement Notice Administrator shall file with the Court the details outlining the scope, method

   and results of the notice program.


            5.     The Settlement Notice Administrator and the Parties shall promptly after receipt

   provide copies of any requests for exclusion, objections and/or related correspondence to each

   other.


            K.     Self-Identification

            Persons or entities who believe that they are Class Members may contact Class Counsel

   or the Settlement Notice Administrator or complete and file a Frame Replacement

   Reimbursement Claim Form and provide necessary documentation indicating that they wish to

   be eligible for the relief provided in this Settlement Agreement.

   V.       REQUESTS FOR EXCLUSION

            A.     Any Class Member who wishes to be excluded from the Class must mail a written

   request for exclusion, using Exhibit 10, which shall be available on the settlement website and

   attached to the Long Form Notice, to the Settlement Notice Administrator at the address

   provided in the Long Form Notice, postmarked on a date ordered by the Court specifying that he

   or she wants to be excluded and otherwise complying with the terms stated in the Long Form

   Notice and Preliminary Approval Order. The Settlement Notice Administrator shall forward

   copies of any written requests for exclusion to Class Counsel and Toyota’s Counsel. A list

   reflecting all requests for exclusion shall be filed with the Court by the Settlement Notice

   Administrator no later than 20 days before the Fairness Hearing. If a potential Class Member

   files a request for exclusion, he or she may not file an objection under Section VI.



                                                   21
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page25
                                                             25of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1504
                                                                                980




          B.      Any Class Member who does not file a timely written request for exclusion as

   provided in Section V(A) shall be bound by all subsequent proceedings, orders and judgments,

   including, but not limited to, the Release, Final Judgment and Final Order in the Action, even if

   he, she or it has litigation pending or subsequently initiates litigation against Toyota relating to

   the claims and transactions released in the Action and the Related Action. Toyota’s Counsel

   shall provide to the Settlement Notice Administrator, within 20 business days of the entry of the

   Preliminary Approval Order, a list of all counsel for anyone who has then-pending litigation

   against Toyota relating to claims involving the Subject Vehicles and/or otherwise covered by the

   Release.

   VI.    OBJECTIONS TO SETTLEMENT

          A.      Any Class Member who has not filed a timely written request for exclusion and

   who wishes to object to the fairness, reasonableness, or adequacy of this Settlement Agreement,

   the requested award of Attorneys’ Fees, Costs, and Expenses, or the requested incentive awards

   to the Class Representatives, must file with the Court on a date ordered by the Court a written

   statement of his or her objections. The written objection of any Class Member must include: (a)

   a heading which refers to the Action, Brian Warner et al v. Toyota Motor Sales, U.S.A., Inc., No.

   2:15-cv-02171 (C.D. Cal.); (b) the objector’s full name, telephone number, and address (the

   objector’s actual residential address must be included); (c) if represented by counsel, the full

   name, telephone number, and address of all counsel; (d) all of the reasons for his or her

   objection; (e) whether the objector intends to appear at the Fairness Hearing on his or her own

   behalf or through counsel; (f) a statement that the objector is a Class Member, including the

   make, model, year and VIN(s) of the Subject Vehicle(s); and (g) the objector’s dated,

   handwritten signature (an electronic signature or attorney’s signature are not sufficient). Any




                                                   22
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page26
                                                             26of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1505
                                                                                981




   documents supporting the objection must also be attached to the objection. If any testimony is

   proposed to be given in support of the objection, the names of all persons who will testify must

   be set forth in the objection. Class Members may do so either on their own or through an

   attorney retained at their own expense.

          B.      Any Class Member who files and serves a written objection, as described in the

   preceding Section VI(A), may appear at the Fairness Hearing, either in person or through

   personal counsel hired at the Class Member’s expense, to object to the fairness, reasonableness,

   or adequacy of this Settlement Agreement, the requested award of Attorneys’ Fees, Costs, and

   Expenses, or the requested awards to the Class Representatives.        Class Members or their

   attorneys who intend to make an appearance at the Fairness Hearing must file with the Court a

   notice of intention to appear on a date ordered by the Court.

          C.      Any Class Member who fails to comply with the provisions of Sections VI(A)

   and VI(B) above shall be deemed to have waived and forfeited any and all rights he or she may

   have to appear separately and object, whether by a subsequent objection, intervention, appeal, or

   any other process, and shall be bound by all the terms of this Settlement Agreement and by all

   proceedings, orders and judgments, including, but not limited to, the Release, the Final Order

   and the Final Judgment in the Action and the Related Action. The exclusive means for any

   challenge to the Settlement Agreement shall be through the provisions of this Section VI.

   Without limiting the foregoing, any challenge to the Settlement Agreement, Final Order or Final

   Judgment shall be pursuant to appeal under the Federal Rules of Appellate Procedure and not

   through a collateral attack. Class Members may not both object and request exclusion (opt out).

          D.      Any Class Member who objects to the Settlement Agreement shall be entitled to

   all of the benefits of the Settlement Agreement if the Settlement Agreement and the terms




                                                   23
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page27
                                                             27of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1506
                                                                                982




   contained herein are approved, as long as the objecting Class Member complies with all

   requirements of this Settlement Agreement applicable to Class Members, including the timely

   submission of Frame Replacement Reimbursement Claim Forms and other requirements herein.

   VII.   RELEASE AND WAIVER

           A.     The Parties agree to the following release and waiver, which shall take effect

   upon entry of the Final Judgment and Final Order.

           B.     In consideration for the Settlement Agreement, Class Representatives, and each

   Class Member, on behalf of themselves and any other legal or natural persons who may claim

   by, through or under them, agree to fully, finally and forever release, relinquish, acquit, and

   discharge the Released Parties from any and all claims, demands, suits, petitions, liabilities,

   causes of action, rights, and damages of any kind and/or type regarding the subject matter of the

   Action and the Related Action, including, but not limited to, compensatory, exemplary, punitive,

   expert and/or attorneys’ fees or by multipliers, whether past, present, or future, mature, or not yet

   mature, known or unknown, suspected or unsuspected, contingent or non-contingent, derivative

   or direct, asserted or un-asserted, whether based on federal, state or local law, statute, ordinance,

   regulation, code, contract, common law, violations of any state’s deceptive, unlawful, or unfair

   business or trade practices, false, misleading or fraudulent advertising, consumer fraud or

   consumer protection statutes, any breaches of express, implied or any other warranties, RICO, or

   the Magnuson-Moss Warranty Act, or any other source, or any claim of any kind related arising

   from, related to, connected with, and/or in any way involving the Action, the Related Action, the

   Subject Vehicles’ frames and/or associated parts that are, or could have been, defined, alleged or

   described in the Second Amended Complaint, the Action, the Related Action or any amendments

   of the Action or the Related Action. Notwithstanding the foregoing, Class Representatives and




                                                    24
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page28
                                                             28of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1507
                                                                                983




   Class Members are not releasing claims for personal injury, wrongful death or actual physical

   property damage arising from an accident involving a Subject Vehicle.

         C.     Notwithstanding the foregoing, the Released Parties shall be held harmless by any

   Class Representative or Class Member for a Released Claim against the Released Parties

   asserted by that Class Representative or Class Member, either brought directly or by any legal or

   natural persons who claim by, through, or under that Class Representative or Class Member.

        D.       The Final Order will reflect these terms.

        E.       Class Representatives and Class Members expressly agree that this Release, the

   Final Order, and/or the Final Judgment is, will be, and may be raised as a complete defense to,

   and will preclude any action or proceeding encompassed by, this Release.

         F.      Class Representatives and Class Members shall not now or hereafter institute,

   maintain, prosecute, assert, and/or cooperate in the institution, commencement, filing, or

   prosecution of any suit, action, and/or proceeding, against the Released Parties, either directly or

   indirectly, on their own behalf, on behalf of a class or on behalf of any other person or entity

   with respect to the claims, causes of action and/or any other matters released through this

   settlement and the Settlement Agreement.

         G.      In connection with the Settlement Agreement, Class Representatives and Class

   Members acknowledge that they and other Class Members may hereafter discover claims

   presently unknown or unsuspected, or facts in addition to or different from those that they now

   know or believe to be true concerning the subject matter of the Action or the Related Action

   and/or the Release herein.      Nevertheless, it is the intention of Class Counsel and Class

   Representatives in executing this Settlement Agreement to fully, finally and forever settle,

   release, discharge, and hold harmless all such matters, and all claims relating thereto which exist,




                                                   25
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page29
                                                             29of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1508
                                                                                984




   hereafter may exist, or might have existed (whether or not previously or currently asserted in any

   action or proceeding) with respect to the Action and the Related Action.

         H.       Class Representatives expressly understand and acknowledge that they will be

   deemed by the Final Judgment and Final Order to acknowledge and waive Section 1542 of the

   Civil Code of the State of California, which provides that:

          A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
          CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR
          HER FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH
          IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED
          HIS OR HER SETTLEMENT WITH THE DEBTOR.


   Class Representatives expressly waive and relinquish any and all rights and benefits that they

   may have under, or that may be conferred upon them by, the provisions of Section 1542 of the

   California Civil Code, or any other law of any state or territory that is similar, comparable or

   equivalent to Section 1542, to the fullest extent they may lawfully waive such rights.

         I. Class Representatives represent and warrant that they are the sole and exclusive

   owners of all claims that they personally are releasing under this Settlement Agreement. Class

   Representatives further acknowledge that they have not assigned, pledged, or in any manner

   whatsoever, sold, transferred, assigned or encumbered any right, title, interest or claim arising

   out of or in any way whatsoever pertaining to the Action, including without limitation, any claim

   for benefits, proceeds or value under the Action, and that Class Representatives are not aware of

   anyone other than themselves claiming any interest, in whole or in part, in the claims that they

   are releasing under the Settlement Agreement or in any benefits, proceeds or values in the claims

   that they are releasing under the Settlement Agreement. Class Members submitting a Frame

   Replacement Reimbursement Claim Form shall represent and warrant therein that they are the

   sole and exclusive owner of all claims that they personally are releasing under the Settlement



                                                   26
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page30
                                                             30of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1509
                                                                                985




   Agreement and that they have not assigned, pledged, or in any manner whatsoever, sold,

   transferred, assigned or encumbered any right, title, interest or claim arising out of or in any way

   whatsoever pertaining to the Action or the Related Action, including without limitation, any

   claim for benefits, proceeds or value under the Action or the Related Action, and that such Class

   Member(s) are not aware of anyone other than themselves claiming any interest, in whole or in

   part, in the claims that they are releasing under the Settlement Agreement or in any benefits,

   proceeds or values in the claims that they are releasing under the Settlement Agreement.

         J. Without in any way limiting its scope, and, except to the extent otherwise specified in

   the Agreement, this Release covers by example and without limitation, any and all claims for

   attorneys’ fees, costs, expert fees, or consultant fees, interest, or litigation fees, costs or any other

   fees, costs, and/or disbursements incurred by Class Counsel, Plaintiffs’ Counsel, Class

   Representatives or Class Members who claim to have assisted in conferring the benefits under

   this Settlement Agreement upon the Class.

           K.      In consideration for the Settlement Agreement, Toyota and its past or present

   officers, directors, employees, agents, attorneys, predecessors, successors, affiliates, subsidiaries,

   divisions, and assigns shall be deemed to have, and by operation of the Final Order shall have,

   released Plaintiffs’ Counsel, Class Counsel and each current and former Class Representatives

   from any and all causes of action that were or could have been asserted pertaining solely to the

   conduct in filing and prosecuting the litigation or in settling the Action.

         L. Class Representatives, Plaintiffs’ Counsel and any other attorneys who receive

   attorneys’ fees and costs from this Settlement Agreement acknowledge that they have conducted

   sufficient independent investigation and discovery to enter into this Settlement Agreement and,

   by executing this Settlement Agreement, state that they have not relied upon any statements or




                                                      27
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page31
                                                             31of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1510
                                                                                986




   representations made by the Released Parties or any person or entity representing the Released

   Parties, other than as set forth in this Settlement Agreement.

          M.      The Parties specifically understand that there may be further pleadings, discovery

   requests and responses, testimony, or other matters or materials owed by the Parties pursuant to

   existing pleading requirements, discovery requests, or pretrial rules, procedures, or orders, and

   that, by entering into this Settlement Agreement, the Parties expressly waive any right to receive,

   hear, or inspect such pleadings, testimony, discovery, or other matters or materials.

          N.      Nothing in this Release shall preclude any action to enforce the terms of the

   Agreement, including participation in any of the processes detailed herein.

         O.       Class Representatives and Class Counsel hereby agree and acknowledge that the

   provisions of this Release together constitute an essential and material term of the Agreement

   and shall be included in any Final Judgment and Final Order entered by the Court.

   VIII. ATTORNEYS’ FEES, COSTS, AND EXPENSES AND INDIVIDUAL PLAINTIFF
         AND CLASS REPRESENTATIVE AWARDS

          A.      The Parties did not discuss the payment of Attorneys’ Fees, Costs, and Expenses,

   and incentive awards, until after the substantive elements of the Settlement Agreement had been

   agreed upon.

          B.      After agreeing to the principal terms set forth in this Settlement Agreement, Class

   Counsel and Toyota’s Counsel negotiated the amount of Attorneys’ Fees, Costs, and Expenses

   that, separate and apart from the consideration for this settlement, following application to the

   Court and subject to Court approval, would be paid by Toyota as the fee award and costs award

   to Plaintiffs’ Counsel. As a result of negotiations, Class Counsel agrees to make on behalf of all

   plaintiffs’ counsel, and Toyota agrees not to oppose, an application for an award of Attorneys’

   Fees, Costs, and Expenses in the Action in the amount of $9.75 million for attorneys’ fees and up



                                                    28
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page32
                                                             32of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1511
                                                                                987




   to $150,000.00 in costs and expenses. This award shall be the sole compensation paid by Toyota

   for all plaintiffs’ counsel in the Action and Related Action and/or for work incurred that inured

   to the benefit of the Class.

          C.       Class Counsel may petition the Court for incentive awards of up to $2,500.00 per

   Class Representative for bringing the Action and the Related Action and for their time in

   connection with the Action and Related Action.

          D.       Within thirty (30) days after the occurrence of the Final Effective Date, Toyota

   shall pay the Attorneys’ Fees, Costs, and Expenses and incentive awards that are awarded by the

   Court to an account established by Class Counsel. Thereafter, Class Counsel shall distribute the

   award of Attorneys’ Fees, Costs, and Expenses among Plaintiffs’ Counsel and the incentive

   awards to Class Representatives. The Attorneys’ Fees, Costs, and Expenses paid by Toyota as

   provided for in this Agreement shall be allocated by Class Counsel among other plaintiffs’

   counsel in a manner that Class Counsel in good faith believes reflects the contributions of

   plaintiffs’ counsel to the prosecution and settlement of the claims against Toyota in the Action

   and the Related Action.

          E.       The amount(s) of any Attorneys’ Fees, Costs, and Expenses, and the incentive

   awards to Class Representatives are intended to be considered by the Court separately from the

   Court’s consideration of the fairness, reasonableness, and adequacy of the settlement. No order

   of the Court, or modification or reversal or appeal of any order of the Court, concerning the

   amount(s) of any Attorneys’ Fees, Costs, and Expenses awarded by the Court to Class Counsel,

   or concerning the amounts of incentive awards that are awarded by the Court to Class

   Representatives, shall affect whether the Final Order and Final Judgment are final or constitute

   grounds for cancellation or termination of the settlement.




                                                   29
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page33
                                                             33of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1512
                                                                                988




   IX.       PRELIMINARY APPROVAL ORDER, FINAL ORDER, FINAL JUDGMENT
             AND RELATED ORDERS

            A.    The Parties shall seek from the Court, within 14 days after the execution of this

   Settlement Agreement, a Preliminary Approval Order in a form substantially similar to Exhibit 5.

   The Preliminary Approval Order shall, among other things:

                  1. Certify a nationwide settlement-only Class, approve Class Representatives as

   Class Representatives and appoint Class Counsel as counsel for the Class, pursuant to Fed. R.

   Civ. P. 23;

                  2. Preliminarily approve the Settlement Agreement;

                  3. Require the dissemination of the Notice and the taking of all necessary and

   appropriate steps to accomplish this task;

                  4. Determine that Class Notice complies with all legal requirements, including,

   but not limited to, the Due Process Clause of the United States Constitution;

                  5. Schedule a date and time for a Fairness Hearing to determine whether the

   Settlement Agreement should be finally approved by the Court;

                  6. Require Class Members who wish to exclude themselves to submit an

   appropriate and timely written request for exclusion as directed in this Settlement Agreement and

   Long Form Notice and that a failure to do so shall bind those Class Members who remain in the

   Class;

                  7. Require Class Members who wish to object to this Settlement Agreement to

   submit an appropriate and timely written statement as directed in this Settlement Agreement and

   Long Form Notice;




                                                   30
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page34
                                                             34of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1513
                                                                                989




                    8. Require Class Members who wish to appear to object to this Settlement

   Agreement to submit an appropriate and timely written statement as directed in the Settlement

   Agreement and Long Form Notice;

                    9. Require attorneys representing Class Members objecting to the Settlement

   Agreement, at such Class Members’ expense, to file a notice of appearance as directed in this

   Settlement Agreement and Long Form Notice;

                    10. Issue a preliminary injunction and stay all other actions, pending final

   approval by the Court;

                    11. Issue a preliminary injunction enjoining potential Class Members, pending the

   Court’s determination of whether the Settlement Agreement should be given final approval, from

   challenging in any action or proceeding any matter covered by this Settlement Agreement,

   except for proceedings in this Court to determine whether the Settlement Agreement will be

   given final approval;

                    12. Appoint the Settlement Notice Administrator and the Settlement Claims

   Administrator;

                    13. Authorize Toyota to take all necessary and appropriate steps to establish the

   means necessary to implement the Agreement; and

                    14. Issue other related orders to effectuate the preliminary approval of the

   Agreement.

          B.        After the Fairness Hearing, the Parties shall seek to obtain from the Court a Final

   Judgment and Final Order in the forms substantially similar to Exhibits 2 and 3, respectively.

   The Final Judgment and Final Order shall, among other things:




                                                    31
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page35
                                                             35of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1514
                                                                                990




                  1. Find that the Court has personal jurisdiction over all Class Members, that the

   Court has subject matter jurisdiction over the claims asserted in the Action, and that venue is

   proper;

                  2. Confirm the certification of the class for settlement purposes only, pursuant to

   Fed. R. Civ. P. 23;

                  3. Finally approve the Settlement Agreement, pursuant to Fed. R. Civ. P. 23;

                  4. Find that the Notice and the Notice dissemination methodology complied with

   all laws, including, but not limited to, the Due Process Clause of the United States Constitution;

                  5. Dismiss the Action with prejudice and without costs (except as provided for

   herein as to costs), and order the Parties to file a stipulation of dismissal with prejudice or

   substantial equivalent for the Related Action;

                  6. Incorporate the Release set forth in the Agreement and make the Release

   effective as of the date of the Final Judgment and Final Order;

                  7. Issue a permanent injunction;

                  8. Authorize the Parties to implement the terms of the Agreement;

                  9. Retain jurisdiction relating to the administration, consummation, enforcement,

   and interpretation of the Agreement, the Final Judgment and Final Order, and for any other

   necessary purpose; and

                  10. Issue related Orders to effectuate the final approval of the Agreement and its

   implementation.

             C.   Within five (5) business days of issuance by the Court of the Final Order and

   Final Judgment, the Parties shall file a stipulation of dismissal with prejudice or substantial

   equivalent in the Related Action.




                                                    32
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page36
                                                             36of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1515
                                                                                991




   X.     MODIFICATION OR TERMINATION OF THIS SETTLEMENT AGREEMENT

         A.       The terms and provisions of this Settlement Agreement may be amended,

   modified, or expanded by written agreement of the Parties and approval of the Court; provided,

   however, that after entry of the Final Judgment and Final Order, the Parties may by written

   agreement effect such amendments, modifications, or expansions of this Settlement Agreement

   and its implementing documents (including all exhibits hereto) without further notice to the

   Class or approval by the Court if such changes are consistent with the Court’s Final Judgment

   and Final Order and do not limit the rights of Class Members under this Settlement Agreement.

          B.      This Settlement Agreement shall terminate at the discretion of either Toyota or

   the Class Representatives, through Class Counsel, if: (1) the Court, or any appellate court(s),

   rejects, modifies, or denies approval of any portion of the Settlement Agreement that the

   terminating party in its (or their) sole judgment and discretion reasonably determine(s) is

   material, including, without limitation, the terms of relief, the findings, or conclusions of the

   Court, the provisions relating to notice, the definition of the Class, and/or the terms of the

   Release; or (2) the Court, or any appellate court(s), does not enter or completely affirm, or alters,

   narrows or expands, any portion of the Final Order and Final Judgment, or any of the Court’s

   findings of fact or conclusions of law, that the terminating party in its (or their) sole judgment

   and discretion reasonably determine(s) is material. The terminating party must exercise the

   option to withdraw from and terminate this Settlement Agreement, as provided in this Section X,

   by a signed writing served on the other Parties no later than 20 days after receiving notice of the

   event prompting the termination. The Parties will be returned to their positions status quo ante.

          C.      If an option to withdraw from and terminate this Settlement Agreement arises

   under Section X(B) above, neither Toyota nor Class Representatives are required for any reason




                                                    33
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page37
                                                             37of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1516
                                                                                992




   or under any circumstance to exercise that option and any exercise of that option shall be in good

   faith.

            D.    If, but only if, this Settlement Agreement is terminated pursuant to Section X(B),

   above, then:

                  1. This Settlement Agreement shall be null and void and shall have no force or

   effect, and no Party to this Settlement Agreement shall be bound by any of its terms, except for

   the terms of Section X(D) herein;

                  2. The Parties will petition the Court to have any stay orders entered pursuant to

   this Settlement Agreement lifted;

                  3. All of its provisions, and all negotiations, statements, and proceedings relating

   to it shall be without prejudice to the rights of Toyota, Class Representatives, or any Class

   Member, all of whom shall be restored to their respective positions existing immediately before

   the execution of this Settlement Agreement, except that the Parties shall cooperate in requesting

   that the Court set a new scheduling order such that no Party’s substantive or procedural rights are

   prejudiced by the settlement negotiations and proceedings;

                  4. Toyota and the other Released Parties expressly and affirmatively reserve all

   defenses, arguments, and motions as to all claims that have been or might later be asserted in the

   Action or the Related Action, including, without limitation, the argument that the Action or the

   Related Action may not be litigated as a class action;

                  5. Class Representatives and all other Class Members, on behalf of themselves

   and their heirs, assigns, executors, administrators, predecessors, and successors, expressly and

   affirmatively reserve and do not waive all motions as to, and arguments in support of, all claims,

   causes of actions or remedies that have been or might later be asserted in the Action or the




                                                   34
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page38
                                                             38of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1517
                                                                                993




   Related Action including, without limitation, any argument concerning class certification, and

   treble or other damages;

                      6.     Toyota and the other Released Parties expressly and affirmatively reserve

   and do not waive all motions and positions as to, and arguments in support of, all defenses to the

   causes of action or remedies that have been sought or might be later asserted in the actions,

   including without limitation, any argument or position opposing class certification, liability or

   damages;

                      7. Neither this Settlement Agreement, the fact of its having been made, nor the

   negotiations leading to it, nor any discovery or action taken by a Party or Class Member pursuant

   to this Settlement Agreement shall be admissible or entered into evidence for any purpose

   whatsoever;

                      8. Any settlement-related order(s) or judgment(s) entered in this Action after the

   date of execution of this Settlement Agreement shall be deemed vacated and shall be without any

   force or effect;

                      9. All costs incurred in connection with the Settlement Agreement, including,

   but not limited to, notice, publication, claims administration and customer communications are

   the sole responsibility of Toyota and will be paid by Toyota. Neither the Class Representatives

   nor Class Counsel shall be responsible for any of these costs or other settlement-related costs;

   and

                      10. Notwithstanding the terms of this paragraph, if the Settlement Agreement is

   not consummated, Class Counsel may include any time spent in settlement efforts as part of any

   fee petition filed at the conclusion of the case, and Toyota reserves the right to object to the

   reasonableness of such requested fees.




                                                      35
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page39
                                                             39of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1518
                                                                                994




   XI.    GENERAL MATTERS AND RESERVATIONS

         A. Toyota has denied and continues to deny each and all of the claims and contentions

    alleged in the Action and the Related Action, and has denied and continues to deny that it has

    committed any violation of law or engaged in any wrongful act that was alleged, or that could

    have been alleged, in the Action or the Related Action. Toyota believes that it has valid and

    complete defenses to the claims asserted against it in the Action and the Related Action and

    denies that it committed any violations of law, engaged in any unlawful act or conduct, or that

    there is any basis for liability for any of the claims that have been, are, or might have been

    alleged in the Action or the Related Action. Nonetheless, Toyota has concluded that it is

    desirable that the Action and the Related Action be fully and finally settled in the matter and

    upon the terms and conditions set forth in this Settlement Agreement.

         B.       The obligation of the Parties to conclude the Settlement Agreement is and shall be

    contingent upon each of the following:

                  1. Entry by the Court of the Final Judgment and Final Order approving the

   Settlement Agreement, from which the time to appeal has expired or which has remained

   unmodified after any appeal(s); and

                  2. Any other conditions stated in this Settlement Agreement.

          C.      The Parties and their counsel agree to keep the existence and contents of this

   Settlement Agreement confidential until the date on which the Motion for Preliminary Approval

   is filed; provided, however, that this Section shall not prevent Toyota from disclosing such

   information, prior to the date on which the Motion for Preliminary Approval is filed, to state and

   federal agencies, independent accountants, actuaries, advisors, financial analysts, insurers or

   attorneys, nor shall it prevent Toyota from disclosing such information based on the substance of




                                                  36
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page40
                                                             40of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1519
                                                                                995




   this Settlement Agreement. Nor shall it prevent the Parties and their counsel from disclosing

   such information to persons or entities (such as experts, courts, co-counsel, and/or

   administrators) to whom the Parties agree disclosure must be made in order to effectuate the

   terms and conditions of this Settlement Agreement.

          D.      Class Representatives and Class Counsel agree that the confidential information

   made available to them solely through the settlement process was made available, as agreed to,

   on the condition that neither Class Representatives nor their counsel may disclose it to third

   parties (other than experts or consultants retained by Class Representatives in connection with

   the Action or the Related Action); that it not be the subject of public comment; that it not be used

   by Class Representatives or Class Counsel in any way in this litigation or otherwise should the

   Settlement Agreement not be achieved, and that it is to be returned if a settlement is not

   concluded; provided, however, that nothing contained herein shall prohibit Class Representatives

   from seeking such information through formal discovery if not previously requested through

   formal discovery or from referring to the existence of such information in connection with the

   settlement of the Action or the Related Action.

          E.      Information provided by Toyota, Toyota’s Counsel, and/or the Settlement Special

   Master to Class Representatives, Plaintiffs’ Counsel, any individual Class Member, counsel for

   any individual Class Member, and/or administrators, pursuant to the negotiation and

   implementation of this Settlement Agreement, includes trade secrets and highly confidential and

   proprietary business information and shall be deemed “Highly Confidential” pursuant to the

   protective orders that have been or will be entered in the Action or the Related Action, and shall

   be subject to all of the provisions thereof. Any materials inadvertently produced shall, upon




                                                     37
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page41
                                                             41of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1520
                                                                                996




   Toyota’s request, be promptly returned to Toyota’s Counsel, and there shall be no implied or

   express waiver of any privileges, rights and defenses.

          F.      Within 90 days after the Final Effective Date (unless the time is extended by

   agreement of the Parties), Plaintiffs’ Counsel, and any expert or other consultant employed by

   them in such capacity or any other individual with access to documents provided by Toyota,

   and/or Toyota’s Counsel, and/or the Settlement Special Master to Plaintiffs’ Counsel shall either:

   (i) return to Toyota’s Counsel, all such documents and materials (and all copies of such

   documents in whatever form made or maintained) produced during the settlement process by

   Toyota and/or Toyota’s Counsel, and/or the Settlement Special Master and any and all

   handwritten notes summarizing, describing or referring to such documents; or (ii) certify to

   Toyota’s Counsel that all such documents and materials (and all copies of such documents in

   whatever form made or maintained) produced by Toyota, and/or Toyota’s Counsel, and/or the

   Settlement Special Master and any and all handwritten notes summarizing, describing or

   referring to such documents have been destroyed, provided, however, that this Section IX shall

   not apply to any documents made part of the record in connection with a Claim, nor to any

   documents made part of a Court filing, nor to Plaintiffs’ Counsel’s work product. Six months

   after the distribution of the settlement funds to Class Members who submitted valid Frame

   Replacement Reimbursement Claim Forms, the Settlement Notice Administrator shall return or

   destroy all documents and materials to Toyota and/or Toyota’s Counsel and/or Plaintiffs’

   Counsel that produced the documents and materials, except that it shall not destroy any and all

   Frame Replacement Reimbursement Claim Forms, including any and all information and/or

   documentation submitted by Class Members. Nothing in this Settlement Agreement shall affect

   any confidentiality order or protective order in the Action.




                                                   38
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page42
                                                             42of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1521
                                                                                997




          G.      Toyota’s execution of this Settlement Agreement shall not be construed to release

   – and Toyota expressly does not intend to release – any claim Toyota may have or make against

   any insurer for any cost or expense incurred in connection with this Settlement Agreement,

   including, without limitation, for attorneys’ fees and costs.

          H.      Class Counsel represent that: (1) they are authorized by the Class Representatives

   to enter into this Settlement Agreement with respect to the claims in this Action and the Related

   Action; and (2) they are seeking to protect the interests of the Class.

          I.      Class Counsel further represent that the Class Representatives: (1) have agreed to

   serve as representatives of the Class proposed to be certified herein; (2) are willing, able, and

   ready to perform all of the duties and obligations of representatives of the Class, including, but

   not limited to, being involved in discovery and fact finding; (3) have read the pleadings in the

   Action and the Related Action or have had the contents of such pleadings described to them; (4)

   are familiar with the results of the fact-finding undertaken by Class Counsel; (5) have been kept

   apprised of settlement negotiations among the Parties, and have either read this Settlement

   Agreement, including the exhibits annexed hereto, or have received a detailed description of it

   from Class Counsel and they have agreed to its terms; (6) have consulted with Class Counsel

   about the Action and this Settlement Agreement and the obligations imposed on representatives

   of the Class; (7) have authorized Class Counsel to execute this Settlement Agreement on their

   behalf; and (8) shall remain and serve as representatives of the Class until the terms of this

   Settlement Agreement are effectuated, this Settlement Agreement is terminated in accordance

   with its terms, or the Court at any time determines that said Class Representatives cannot

   represent the Class.

          J.      The Parties acknowledge and agree that no opinion concerning the tax




                                                    39
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page43
                                                             43of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1522
                                                                                998




   consequences of the Settlement Agreement to Class Members is given or will be given by the

   Parties, nor are any representations or warranties in this regard made by virtue of this Settlement

   Agreement. Each Class Member's tax obligations, and the determination thereof, are the sole

   responsibility of the Class Member, and it is understood that the tax consequences may vary

   depending on the particular circumstances of each individual Class Member.

          K.      Toyota represents and warrants that the individual(s) executing this Settlement

   Agreement is authorized to enter into this Settlement Agreement on behalf of Toyota.

          L.      This Settlement Agreement, complete with its exhibits, sets forth the sole and

   entire agreement among the Parties with respect to its subject matter, and it may not be altered,

   amended, or modified except by written instrument executed by Class Counsel and Toyota’s

   Counsel on behalf of Toyota. The Parties expressly acknowledge that no other agreements,

   arrangements, or understandings not expressed in this Settlement Agreement exist among or

   between them, and that in deciding to enter into this Settlement Agreement, they rely solely upon

   their judgment and knowledge. This Settlement Agreement supersedes any prior agreements,

   understandings, or undertakings (written or oral) by and between the Parties regarding the

   subject matter of this Settlement Agreement.

          M.      This Settlement Agreement and any amendments thereto shall be governed by and

   interpreted according to the law of the State of California notwithstanding its conflict of laws

   provisions.

          N.      Any disagreement and/or action to enforce this Settlement Agreement shall be

   commenced and maintained only in the United States District Court for the Central District of

   California.




                                                   40
 Case
Case   2:14-cv-02208-PKH Document
     2:15-cv-02171-FMO-FFM        81-191 Filed
                            Document     Filed11/17/16
                                               11/15/16 Page
                                                        Page44
                                                             44of
                                                                of193
                                                                   50 PageID
                                                                      Page ID#:#:1523
                                                                                999




          O.     Whenever this Settlement Agreement requires or contemplates that one of the

   Parties shall or may give notice to the other, notice shall be provided by e-mail and/or next-day

   (excluding Saturdays, Sundays and Federal Holidays) express delivery service as follows:

                 1. If to Toyota, then to:

                         John P. Hooper
                         Reed Smith LLP
                         599 Lexington Avenue
                         22nd Floor
                         New York, New York 10022
                         Tel.: (212) 521-5400
                         Fax: (212) 521-5450
                         E-mail: Jhooper@reedsmith.com


                 2. If to the Class, then to:

                         Timothy G. Blood
                         Blood Hurst & O’Reardon, LLP
                         701 B Street, Suite 1700
                         San Diego, CA 92101
                         Tel: (619) 338-1100
                         Fax: (619) 338-1101
                         E-mail: tblood@bholaw.com

                         and

                         Ben Barnow
                         Barnow and Associates, P.C.
                         1 North LaSalle Street, Suite 4600
                         Chicago, IL 60602
                         Tel: (312) 621-2000
                         Fax: (312) 641-5504
                         E-mail: b.barnow@barnowlaw.com


          P.     All time periods set forth herein shall be computed in calendar days unless

   otherwise expressly provided. In computing any period of time prescribed or allowed by this

   Settlement Agreement or by order of the Court, the day of the act, event, or default from which

   the designated period of time begins to run shall not be included. The last day of the period so



                                                  41
 Case2:15-cv-02171-FMO-FFM
Case  2:14-cv-02208-PKH Document 81-191 Filed
                           Document      Filed11/17/16
                                               11/15/16 Page
                                                         Page45
                                                              45ofof193
                                                                     50 PageID #:#:1524
                                                                         Page ID  1000




   computed shall be included, unless it is a Saturday, a Sunday or a Federal Holiday, or, when the

   act to be done is the filing of a paper in court, a day on which weather or other conditions have

   made the office of the clerk of the court inaccessible, in which event the period shall run until the

   end of the next day that is not one of the aforementioned days. As used in this Section XI

   “Federal Holiday” includes New Year’s Day, Birthday of Martin Luther King, Jr., Presidents’

   Day, Memorial Day, Independence Day, Labor Day, Columbus Day, Veterans Day, Patriot’s

   Day, Thanksgiving Day, Christmas Day, and any other day appointed as a holiday by the

   President, the Congress of the United States or the Clerk of the United States District Court for

   the Central District of California.

          Q.      The Parties reserve the right, subject to the Court’s approval, to agree to any

   reasonable extensions of time that might be necessary to carry out any of the provisions of this

   Settlement Agreement.

          R.      The Class, Class Representatives, Class Counsel, Toyota and/or Toyota’s Counsel

   shall not be deemed to be the drafter of this Settlement Agreement or of any particular provision,

   nor shall they argue that any particular provision should be construed against its drafter. All

   Parties agree that this Settlement Agreement was drafted by counsel for the Parties during

   extensive arm’s length negotiations. No parol or other evidence may be offered to explain,

   construe, contradict, or clarify its terms, the intent of the Parties or their counsel, or the

   circumstances under which this Settlement Agreement was made or executed.

          S.      The Parties expressly acknowledge and agree that this Settlement Agreement and

   its exhibits, along with all related drafts, motions, pleadings, conversations, negotiations, and

   correspondence, constitute an offer of compromise and a compromise within the meaning of

   Federal Rule of Evidence 408 and any equivalent rule of evidence in any state. In no event shall




                                                    42
 Case2:15-cv-02171-FMO-FFM
Case  2:14-cv-02208-PKH Document 81-191 Filed
                           Document      Filed11/17/16
                                               11/15/16 Page
                                                         Page46
                                                              46ofof193
                                                                     50 PageID #:#:1525
                                                                         Page ID  1001




   this Settlement Agreement, any of its provisions or any negotiations, statements or court

   proceedings relating to its provisions in any way be construed as, offered as, received as, used as,

   or deemed to be evidence of any kind in the Action or the Related Action, any other action, or in

   any judicial, administrative, regulatory or other proceeding, except in a proceeding to enforce

   this Settlement Agreement or the rights of the Parties or their counsel. Without limiting the

   foregoing, neither this Settlement Agreement nor any related negotiations, statements, or court

   proceedings shall be construed as, offered as, received as, used as or deemed to be evidence or an

   admission or concession of any liability or wrongdoing whatsoever on the part of any person or

   entity, including, but not limited to, the Released Parties, Class Representatives, or the Class or

   as a waiver by the Released Parties, Class Representatives or the Class of any applicable

   privileges, claims or defenses.

          T.      Class Representatives expressly affirm that the allegations contained in the

   operative complaint were made in good faith, but consider it desirable for the Action and the

   Related Action to be settled and dismissed because of the substantial benefits that the Settlement

   Agreement will provide to Class Members.

          U.      The Parties, their successors and assigns, and their counsel undertake to

   implement the terms of this Settlement Agreement in good faith, and to use good faith in

   resolving any disputes that may arise in the implementation of the terms of this Settlement

   Agreement.

          V.      The waiver by one Party of any breach of this Settlement Agreement by another

   Party shall not be deemed a waiver of any prior or subsequent breach of this Settlement

   Agreement.




                                                   43
 Case2:15-cv-02171-FMO-FFM
Case  2:14-cv-02208-PKH Document 81-191 Filed
                           Document      Filed11/17/16
                                               11/15/16 Page
                                                         Page47
                                                              47ofof193
                                                                     50 PageID #:#:1526
                                                                         Page ID  1002
 Case2:15-cv-02171-FMO-FFM
Case  2:14-cv-02208-PKH Document 81-191 Filed
                           Document      Filed11/17/16
                                               11/15/16 Page
                                                         Page48
                                                              48ofof193
                                                                     50 PageID #:#:1527
                                                                         Page ID  1003
 Case2:15-cv-02171-FMO-FFM
Case  2:14-cv-02208-PKH Document 81-191 Filed
                           Document      Filed11/17/16
                                               11/15/16 Page
                                                         Page49
                                                              49ofof193
                                                                     50 PageID #:#:1528
                                                                         Page ID  1004
                                Case2:15-cv-02171-FMO-FFM
                               Case  2:14-cv-02208-PKH Document 81-191 Filed
                                                          Document      Filed11/17/16
                                                                              11/15/16 Page
                                                                                        Page50
                                                                                             50ofof193
                                                                                                    50 PageID #:#:1529
                                                                                                        Page ID  1005



                                   1                            CERTIFICATE OF SERVICE
                                   2          I hereby certify that on November 15, 2016, I electronically filed the
                                   3    foregoing with the Clerk of the Court using the CM/ECF system which will send
                                   4    notification of such filing to the e-mail addresses denoted on the Electronic Mail
                                   5    Notice List, and I hereby certify that I have mailed the foregoing document or
                                   6    paper via the United States Postal Service to the non-CM/ECF participants
                                   7    indicated on the Electronic Mail Notice List.
                                   8          I certify under penalty of perjury under the laws of the United States of
                                   9    America that the foregoing is true and correct. Executed on November 15, 2016.
                                  10
                                                                                         s/ Timothy G. Blood
BLOOD HURST & O’REARDON, LLP




                                  11                                                    TIMOTHY G. BLOOD
                                  12
                                                                              BLOOD HURST & O’REARDON, LLP
                                  13                                          701 B Street, Suite 1700
                                                                              San Diego, CA 92101
                                  14                                          Telephone: 619/338-1100
                                                                              619/338-1101 (fax)
                                  15                                          tblood@bholaw.com
                                  16
                                  17
                                  18
                                  19
                                  20
                                  21
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document  Filed 11/17/16  Page 51
                                            Filed 11/15/16    of 193
                                                           Page  1 of PageID #: 1006
                                                                      122 Page   ID
                                    #:1530




         EXHIBIT 1
Case
 Case2:14-cv-02208-PKH   Document
      2:15-cv-02171-FMO-FFM         81-1 91-1
                                Document     Filed 11/17/16   Page 52
                                                   Filed 11/15/16       of 193
                                                                     Page  2 of PageID #: 1007
                                                                                122 Page   ID
                                           #:1531
              FRAME REPLACEMENT REIMBURSEMENT CLAIM FORM
                   Brian Warner et al. v. Toyota Motor Sales, U.S.A., Inc.


      This form is only needed if you spent money for a frame replacement and have not
      already been reimbursed. Use this Claim Form only if you: (1) previously paid
      out-of-pocket for frame replacement incurred on your Subject Vehicle to address a
      condition that satisfies the Rust Perforation Standard in the Frame Inspection Protocol on
      the Subject Vehicles for which you were not otherwise reimbursed, and the costs were
      incurred prior to [Initial Notice Date]; (2) you are not otherwise excluded from the Class;
      and (3) you otherwise meet the terms and conditions specified in this Claim Form and the
      Settlement Agreement.

      You may submit only one Claim for each Subject Vehicle for which you are seeking
      payment in this class action settlement. To determine whether you are a Class Member
      eligible to make a claim, or for more information regarding the class action settlement,
      please first visit [website]. If you still have questions regarding the claims process,
      [call/email __].

      INSTRUCTIONS FOR COMPLETING THIS CLAIM FORM AND SUBMITTING
                         A CLAIM FOR PAYMENT

      1) If you complete the Claim Form online at www.[website].com, when you type your
         VIN (Vehicle Identification Number) in Section I (Information on Class Member and
         Subject Vehicle) below, some of the boxes in this Claim Form will be automatically
         filled in. Check the form carefully to make sure all of the information is correct and
         that you have filled in any missing information. If you are submitting a claim for more
         than one Subject Vehicle, you can photocopy this Claim Form and attach a separate
         sheet containing the information requested, or, if you are submitting this Claim Form
         on-line, please check the box allowing you to include rows for more than one Subject
         Vehicle.

      2) Capitalized terms in this Claim Form have the same meaning as provided in the
         Settlement Agreement, which is available at [website].

      3) Type or print legibly in blue or black ink. Do not use any highlighters. Provide all
         requested information to complete and submit this Claim Form, attach supporting
         documentation, as specified below, and sign the Claim Form.

      4) You must submit your completed Claim Form and any supporting
         documentation by mail or electronically no later than 60 days after the Court
         issues the Final Order and Final Judgment, which will occur, if approved, after
         the Fairness Hearing. Please check the settlement website, [website], which will
         be periodically updated. The completed Claim Form and any supporting
         documentation, can be submitted on line at [website] or mailed to:

                            [Settlement Notice Administrator Address]




                                                  1
   Case
    Case2:14-cv-02208-PKH
         2:15-cv-02171-FMO-FFM Document    81-1 91-1
                                       Document     Filed 11/17/16     Page 53
                                                           Filed 11/15/16    Pageof 193
                                                                                    3 of PageID #: 1008
                                                                                         122 Page   ID
                                                  #:1532
        Important: Keep a copy of your completed Claim Form and the supporting documents.
        Any documents you submit with your Claim Form will not be returned. Do not send
        original documents. If your claim is rejected for any reason, you will be notified.

          If you fail to timely and fully complete this Claim Form and submit the required
          supporting documentation, your Claim may be denied. If your Claim is denied, you
          will not receive a cash payment for your Claim. The Settlement Claims
          Administrator has the right to request verification of eligibility to participate in this
          settlement.

SECTION I – CLASS MEMBER AND SUBJECT VEHICLE INFORMATION
Name:
Last                           First                                                     Middle Initial

Vehicle Identification Number (VIN): (COMPLETE THIS BOX FIRST AS IT MAY POPULATE OTHER
BOXES IN THIS CLAIM FORM AND BE SURE TO CORRECT ANY WRONG INFORMATION)

Make, Model, and Model Year of Vehicle


Your Address:
Number/Street/P.O. Box No.

City:                                                          State:       Zip Code:

Telephone Number:                                              Email Address:



SECTION II –CLAIM INFORMATION
      1.     Did you incur any out-of-pocket expense for frame replacement to your Subject
      Vehicle to address frame perforation issues that satisfies the Rust Perforation Standard that
      were not otherwise reimbursed?

                        No
                        Yes

                 If you answered “No” to question 1, you are not eligible to submit a claim.

                 If you answered “Yes,” complete the following:

                        FRAME REPLACEMENT
                            The best way to show you incurred out-of-pocket expenses for
                            frame replacement that satisfies the Rust Perforation Standard is to
                            enclose an invoice(s) or any other document(s) that shows:
                            - Proof of ownership, which includes VIN, make and model
                            - Frame replacement date
                            - Type of frame replacement performed (including the parts
                            replaced, condition and cause)
                                                  2
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM         81-1 91-1
                                Document    Filed 11/17/16   Page 54
                                                   Filed 11/15/16      of 193
                                                                    Page   4 of PageID
                                                                                122 Page#: 1009
                                                                                            ID
                                          #:1533
                       - Proof of payment and total amount paid (for both parts and labor)
                       - Facility name, address and phone number that performed the
                       replacement


  INVOICE #1
  Replacement Order Number:             Amount of Replacement:
                                         $                                  .
  Date of Replacement:

  Name, City and State of Toyota Dealership Where Replacement Occurred:



  Description of Replacement:




  Other/Specify (If Applicable):




  INVOICE #2 (If Applicable)
  Replacement Order Number:             Amount of Replacement:
                                         $                                  .
  Date of Replacement:

  Name, City and State of Toyota Dealership Where Replacement Occurred:



  Description of Replacement:




  Other/Specify (If Applicable):




  INVOICE #3 (If Applicable)
  Replacement Order Number:             Amount of Replacement:
                                         $                                  .
                                               3
  Case
   Case2:14-cv-02208-PKH Document
        2:15-cv-02171-FMO-FFM     81-1 91-1
                              Document  Filed 11/17/16  Page 55
                                              Filed 11/15/16    of 193
                                                             Page  5 of PageID #: 1010
                                                                        122 Page   ID
                                      #:1534
   Date of Replacement:

   Name, City and State of Toyota Dealership Where Replacement Occurred:



   Description of Replacement:




   Other/Specify (If Applicable):




SECTION III – ATTESTATION

       By signing this form, you affirm that you HAVE NOT already been reimbursed for any of
       the above services except as reflected on the documents you have submitted. If you were
       only partially reimbursed, please enclose the document(s) that show how much you were
       reimbursed.

       I affirm under the laws of the United States of America, that the information in this Claim
       Form is true and correct to the best of my knowledge, information and belief. I understand
       that my Claim Form may be subject to audit, verification and the Settlement Claims
       Administrator and Court review.

       Signature ______________________________________

       Date ______________________________


SECTION IV – CLAIM FORM COMPLETION AND SUBMISSION CHECKLIST

               Be sure that your completed Claim Form includes your current name, address,
               telephone number, contact information and the vehicle identification number (VIN)
               of your Subject Vehicle.

               Provide receipts or other evidence for the out-of-pocket expenses for frame
               replacement, as instructed above.

               Keep a copy of your completed Claim Form (plus documentation submitted) for
               your records.

               Sign and date your Claim Form.


                                                   4
Case
 Case2:14-cv-02208-PKH
      2:15-cv-02171-FMO-FFM Document    81-1 91-1
                                     Document  Filed 11/17/16  Page 56
                                                     Filed 11/15/16      of 193
                                                                      Page  6 of PageID
                                                                                 122 Page #: 1011
                                                                                              ID
                                             #:1535
            Finally, your completed Claim Form and documentation must be submitted
            electronically no later than [DATE] or postmarked no later than [DATE]. The
            completed Claim Form and documentation can be submitted on line at [website] or
            mailed to:

                            [Settlement Notice Administrator Address]

                                                *****

      Toyota, the Settlement Claims Administrator, and/or the Settlement Notice Administrator
      are not responsible for any misdelivered, lost, illegible, damaged, destroyed, or otherwise
      not received mail or e-mail.

      Claim Forms will be processed and approved in accordance with the terms of the
      Settlement Agreement. Please check the settlement website, [website], for updates.




                                                  5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document  Filed 11/17/16  Page 57
                                            Filed 11/15/16    of 193
                                                           Page  7 of PageID #: 1012
                                                                      122 Page   ID
                                    #:1536




         EXHIBIT 2
                                                                                   Case
                                                                                    Case2:14-cv-02208-PKH Document
                                                                                         2:15-cv-02171-FMO-FFM     81-1 91-1
                                                                                                               Document  Filed 11/17/16  Page 58
                                                                                                                               Filed 11/15/16    of 193
                                                                                                                                              Page  8 of PageID #: 1013
                                                                                                                                                         122 Page   ID
                                                                                                                       #:1537


                                                                                      1
                                                                                      2
                                                                                      3
                                                                                      4                       UNITED STATES DISTRICT COURT
                                                                                      5                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                      6                               WESTERN DIVISION
                                                                                      7
                                                                                       BRIAN WARNER, KENNETH
                                                                                     8 MAC LEOD, MICHAEL MEADE,
                                                                                                                                      No. 2:15-cv-02171-FMO-(FFMx)
                                                                                     9 MICHAEL WATSON, JAMES
                                                                                       FULLER, and DALE FRANQUET,
                                                                                    10 individually and on behalf of all
                                                                                                                                      [PROPOSED] FINAL JUDGMENT
                                                                                    11 others similarly situated,
                 A limited liability partnership formed in the State of Delaware




                                                                                       Plaintiffs,
                                                                                    12
REED SMITH LLP




                                                                                    13 v.
                                                                                    14 TOYOTA MOTOR SALES, U.S.A.,
                                                                                    15 INC., a California corporation,
                                                                                       Defendant.
                                                                                    16
                                                                                    17        IT IS on this ______ day of ______________________ 2016, HEREBY
                                                                                    18 ADJUDGED AND DECREED PURSUANT TO FEDERAL RULE OF CIVIL
                                                                                    19 PROCEDURE 58 AS FOLLOWS:
                                                                                    20              (1)   On this date, the Court entered a Final Order Approving Class
                                                                                    21 Action Settlement (Dkt. No. __); and
                                                                                    22              (2)   For the reasons stated in the Court’s Final Order Approving Class
                                                                                    23 Action Settlement, judgment is entered in accordance with the Final Order Approving
                                                                                    24 Class Action Settlement and this Action is dismissed with prejudice.
                                                                                    25
                                                                                    26
                                                                                    27
                                                                                    28
                                                                                                                                -1–

                                                                                                                     [PROPOSED] FINAL JUDGMENT
                                                                                                                              EXHIBIT 2
                                                                                   Case
                                                                                    Case2:14-cv-02208-PKH Document
                                                                                         2:15-cv-02171-FMO-FFM     81-1 91-1
                                                                                                               Document  Filed 11/17/16  Page 59
                                                                                                                               Filed 11/15/16    of 193
                                                                                                                                              Page  9 of PageID #: 1014
                                                                                                                                                         122 Page   ID
                                                                                                                       #:1538


                                                                                      1
                                                                                      2       SO ORDERED this ____ day of ________ 2016.
                                                                                      3
                                                                                      4                                     ____________________________
                                                                                      5                                     Honorable Fernando M. Olguin
                                                                                                                            Judge of the United States District Court
                                                                                      6
                                                                                      7
                                                                                      8
                                                                                      9
                                                                                    10
                                                                                    11
                 A limited liability partnership formed in the State of Delaware




                                                                                    12
REED SMITH LLP




                                                                                    13
                                                                                    14
                                                                                    15
                                                                                    16
                                                                                    17
                                                                                    18
                                                                                    19
                                                                                    20
                                                                                    21
                                                                                    22
                                                                                    23
                                                                                    24
                                                                                    25
                                                                                    26
                                                                                    27
                                                                                    28
                                                                                                                                 -2-

                                                                                                                     [PROPOSED] FINAL JUDGMENT
                                                                                                                              EXHIBIT 2
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  60 of 10
                                                                   193ofPageID #: 1015
                                                                         122 Page  ID
                                     #:1539




         EXHIBIT 3
                                        {00111523.V1}
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  61 of 11
                                                                   193ofPageID #: 1016
                                                                         122 Page  ID
                                     #:1540


 1
 2
 3
                            UNITED STATES DISTRICT COURT
 4
                           CENTRAL DISTRICT OF CALIFORNIA
 5
                                    SOUTHERN DIVISION
 6
 7
       BRIAN WARNER, KENNETH
 8     MACLEOD, MICHAEL MEADE,                       No. 2:15-cv-02171-FMO-(FFMx)
 9     MICHAEL WATSON, JAMES
       FULLER, and DALE FRANQUET,
10     individually and on behalf of all             [PROPOSED] FINAL ORDER
11     others similarly situated,                    APPROVING CLASS ACTION
       Plaintiffs,                                   SETTLEMENT
12
13     v.

14     TOYOTA MOTOR SALES, U.S.A.,
15     INC., a California corporation,
       Defendant.
16
17
18
19
20
21
22
23
24
25
26
27
28                                             -1-

                                [PROPOSED] FINAL ORDER APPROVING
                                    CLASS ACTION SETTLEMENT
                                             EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  62 of 12
                                                                   193ofPageID #: 1017
                                                                         122 Page  ID
                                     #:1541



 1           WHEREAS, the Court, having considered the Settlement Agreement dated
 2     [MONTH] ____, 2016 (the “Settlement Agreement”) between and among Class
 3
       Representatives, through Class Counsel, and Defendant Toyota Motor Sales, U.S.A.,
 4
       Inc. (“Toyota”), the Court’s [MONTH] ____, 2016 Order Granting Preliminary
 5
       Approval of the Class Settlement, Directing Notice to the Class, and Scheduling
 6
 7     Fairness Hearing (Dkt. No. ____) (the “Preliminary Approval Order”), having held a
 8     Fairness Hearing on [date], and having considered all of the submissions and
 9     arguments with respect to the Settlement Agreement, and otherwise being fully
10
       informed, and good cause appearing therefore (all capitalized terms as defined in the
11
       Settlement Agreement);
12
             IT IS HEREBY ORDERED AS FOLLOWS:
13
14           1.     This Final Order Approving Class Action Settlement incorporates

15     herein and makes a part hereof, the Settlement Agreement and its exhibits, the
16     Preliminary Approval Order, all exhibits to the Settlement Agreement and the
17
       Preliminary Approval Order. Unless otherwise provided herein, the terms defined in
18
       the Settlement Agreement and Preliminary Approval Order shall have the same
19
       meanings for purposes of this Final Order and accompanying Final Judgment.
20
21           2.     The Court has personal jurisdiction over all parties in the Action and the

22     Related Action, including, but not limited to all Class Members, and has subject
23     matter jurisdiction over the Action and the Related Action, including without
24
       limitation, jurisdiction to approve the Settlement Agreement, grant final certification
25
       of the Class, to settle and release all claims released in the Settlement Agreement and
26
       to dismiss the Action and the Related Action with prejudice and enter final judgment
27
28     in each Action.
                                 [PROPOSED] FINAL ORDER APPROVING
                                     CLASS ACTION SETTLEMENT
                                              EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  63 of 13
                                                                   193ofPageID #: 1018
                                                                         122 Page  ID
                                     #:1542



 1                             I.      THE SETTLEMENT CLASS
 2           3.     Based on the record before the Court, including all submissions in
 3     support of the settlement set forth in the Settlement Agreement, objections and
 4
       responses thereto and all prior proceedings in the Action and the Related Action, as
 5
       well as the Settlement Agreement itself and its related documents and exhibits, the
 6
 7     Court hereby confirms the certification of the following nationwide Class (the

 8     “Class”) for settlement purposes only:
 9           All persons, entities or organizations who, at any time as of or before [date of
10     Preliminary Approval Order], own or owned, purchase(d) or              lease(d) Subject
11
       Vehicles (as listed in Appendix A to this Final Order) distributed for sale or lease in
12
       any of the fifty States, the District of Columbia, Puerto Rico and all other United
13
14     States territories and/or possessions. Excluded from the Class are: (a) Toyota, its

15     officers, directors and employees; its affiliates and affiliates’ officers, directors and
16     employees; its distributors and distributors’ officers, directors and employees; and
17     Toyota Dealers and Toyota Dealers’ officers and directors; (b) Plaintiffs’Counsel; (c)
18
       judicial officers and their immediate family members and associated court staff
19
       assigned to this case; and (d) persons or entities who or which timely and properly
20
21     excluded themselves from the Class as provided in this Settlement Agreement.

22           The Court finds that only those persons/entities/organizations listed on
23     Appendix B to this Final Order Approving Class Action Settlement have timely and
24     properly excluded themselves from the Class and, therefore, are not bound by this
25
       Final Order Approving Class Action Settlement or the accompanying Final
26
       Judgment.
27
28           4.     The Court confirms, for settlement purposes and conditioned upon the

                                    [PROPOSED] FINAL ORDER APPROVING
                                        CLASS ACTION SETTLEMENT
                                                 EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  64 of 14
                                                                   193ofPageID #: 1019
                                                                         122 Page  ID
                                     #:1543



 1     entry of the Final Order and Final Judgment and upon the occurrence of the Final
 2     Effective Date, that the Class meets all the applicable requirements of FED. R. CIV. P.
 3
       23(a) and (b)(3):
 4
                   a.      Numerosity. The Class, which is ascertainable, consists of over
 5
       one million members located throughout the United States and satisfies the
 6
 7     numerosity requirement of FED. R. CIV. P. 23(a)(1).         Joinder of these widely-

 8     dispersed, numerous Class Members into one suit would be impracticable.
 9                 b.      Commonality. There are some questions of law or fact common
10
       to the Class with regard to the alleged activities of Toyota in this case. These issues
11
       are sufficient to establish commonality under FED. R. CIV. P. 23(a)(2).
12
                   c.      Typicality. The claims of Class Representatives are typical of the
13
14     claims of the Class Members they seek to represent for purposes of settlement.

15                 d.      Adequate Representation.     Plaintiffs’ interests do not conflict
16     with those of absent members of the Classes, and Plaintiffs’ interests are co-
17
       extensive with those of absent Class Members. Additionally, this Court recognizes
18
       the experience of Class Counsel Timothy G. Blood of Blood Hurst and O’Reardon
19
       LLP and Ben Barnow of Barnow and Associates P.C. Plaintiffs and their counsel
20
21     have prosecuted this action vigorously on behalf of the Class. The Court finds that

22     the requirement of adequate representation of the Class has been fully met under
23     FED. R. CIV. P. 23(a)(4).
24
                   e.      Predominance of Common Issues. The questions of law or fact
25
       common to the Class Members, as pertains to consideration of the Settlement
26
       Agreement, predominate over any questions affecting any individual Class Member.
27
28                 f.      Superiority of the Class Action Mechanism. The class action
                                   [PROPOSED] FINAL ORDER APPROVING
                                       CLASS ACTION SETTLEMENT
                                                EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  65 of 15
                                                                   193ofPageID #: 1020
                                                                         122 Page  ID
                                     #:1544



 1     mechanism provides a superior procedural vehicle for settlement of this matter
 2     compared to other available alternatives. Class certification promotes efficiency and
 3
       uniformity of judgment because the many Class Members will not be forced to
 4
       separately pursue claims or execute settlements in various courts around the country.
 5
             5.     The designated Class Representatives are as follows: Brian Warner,
 6
 7     Ryan Burns, Kenneth Macleod, Michael Meade, Michael Watson, James Fuller,

 8     James M. Good, and Dale Franquet. The Court finds that these Class Members have
 9     adequately represented the Class for purposes of entering into and implementing the
10
       Settlement Agreement. The Court appoints Timothy G. Blood of Blood Hurst and
11
       O’Reardon LLP andBen Barnow of Barnow and Associates P.C. as Class Counsel.
12
             6.     In making all of the foregoing findings, the Court has exercised its
13
14     discretion in certifying the Class.

15                           II.    NOTICE TO CLASS MEMBERS
16           7.     The record shows and the Court finds that the Class Notice has been
17     given to the Class in the manner approved by the Court in its Preliminary Approval
18
       Order (Dkt. No. ___). The Court finds that such Class Notice: (i) is reasonable and
19
       constitutes the best practicable notice to Class Members under the circumstances; (ii)
20
21     constitutes notice that was reasonably calculated, under the circumstances, to apprise

22     Class Members of the pendency of the Action and the terms of the Settlement
23     Agreement, their right to exclude themselves from the Class or to object to all or any
24     part of the Settlement Agreement, their right to appear at the Fairness Hearing (either
25
       on their own or through counsel hired at their own expense) and the binding effect of
26
       the orders and Final Order and Final Judgment in the Action, whether favorable or
27
28     unfavorable, on all persons who do not exclude themselves from the Class; (iii)

                                   [PROPOSED] FINAL ORDER APPROVING
                                       CLASS ACTION SETTLEMENT
                                                EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  66 of 16
                                                                   193ofPageID #: 1021
                                                                         122 Page  ID
                                     #:1545



 1     constitutes due, adequate, and sufficient notice to all persons or entities entitled to
 2     receive notice; and (iv) fully satisfied the requirements of the United States
 3
       Constitution (including the Due Process Clause), FED. R. CIV. P. 23 and any other
 4
       applicable law as well as complying with the Federal Judicial Center’s illustrative
 5
       class action notices.
 6
 7           The Court further finds that Toyota, through the Settlement Notice

 8     Administrator, provided notice of the settlement to the appropriate state and federal
 9     government officials pursuant to 28 U.S.C. § 1715. Furthermore, the Court has
10
       given the appropriate state and federal government officials the requisite ninety (90)
11
       day time period to comment or object to the Settlement Agreement before entering
12
       its Final Order and Final Judgment.
13
14                III.     FINAL APPROVAL OF SETTLEMENT AGREEMENT

15           8.          The Court finds that the Settlement Agreement resulted from extensive
16     arm’s length good faith negotiations between Class Counsel and Toyota, through
17     experienced counsel, with the assistance and oversight of Settlement Special Master
18
       Patrick A. Juneau.
19
             9.          Pursuant to FED. R. CIV. P. 23(e), the Court hereby finally approves in
20
21     all respects the settlement as set forth in the Settlement Agreement and finds that the

22     the Settlement Agreement, and all other parts of the settlement are, in all respects,
23     fair, reasonable, and adequate, and in the best interest of the Class and are in full
24     compliance with all applicable requirements of the Federal Rules of Civil Procedure,
25
       the United States Constitution (including the Due Process Clause), the Class Action
26
       Fairness Act, and any other applicable law. The Court hereby declares that the
27
28     Settlement Agreement is binding on all Class Members, except those identified on

                                      [PROPOSED] FINAL ORDER APPROVING
                                          CLASS ACTION SETTLEMENT
                                                   EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  67 of 17
                                                                   193ofPageID #: 1022
                                                                         122 Page  ID
                                     #:1546



 1     Appendix B, and it is to be preclusive in the Action and the Related Action. The
 2     decisions of the Settlement Claims Administrator relating to the review, processing,
 3
       determination and payment of Claims submitted pursuant to the Settlement
 4
       Agreement are final and not appealable.
 5
             10.    The Court finds that the Settlement Agreement is fair, reasonable and
 6
 7     adequate based on the following factors, among other things: (a) there is no fraud or

 8     collusion underlying the Settlement Agreement; (b) the complexity, expense,
 9     uncertainty and likely duration of litigation in the Action and the Related Action
10
       favor settlement on behalf of the Class; (c) the Settlement Agreement provides
11
       meaningful benefits to the Class; and (d) any and all other applicable factors that
12
       favor final approval.
13
14           11.    The Parties are hereby directed to implement and consummate the

15     settlement according to the terms and provisions of the Settlement Agreement. In
16     addition, the Parties are authorized to agree to and adopt such amendments and
17
       modifications to the Settlement Agreement as: (i) shall be consistent in all material
18
       respects with this Final Order Approving Class Action Settlement: and (ii) do not
19
       limit the rights of the Class.
20
21           12.    The Court has considered all objections, timely and proper or otherwise,

22     to the Settlement Agreement and denies and overrules them as without merit.
23                         IV.    DISMISSAL OF CLAIMS, RELEASE
                                      AND INJUNCTION
24
25           13.    The Action is hereby dismissed with prejudice on the merits and

26     without costs to any party, except as otherwise provided herein or in the Settlement
27     Agreement. The Parties are to file a stipulation of dismissal with prejudice or a
28
                                   [PROPOSED] FINAL ORDER APPROVING
                                       CLASS ACTION SETTLEMENT
                                                EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  68 of 18
                                                                   193ofPageID #: 1023
                                                                         122 Page  ID
                                     #:1547



 1     substantial equivalent in the Related Action, pursuant to the terms of the Settlement
 2     Agreement.
 3
             14.    Upon entry of this Final Order Approving Class Action Settlement and
 4
       the Final Judgment, Class Representatives and each Class Member (except those
 5
       listed on Appendix B), on behalf of themselves and any other legal or natural persons
 6
 7     who may claim by, through or under them, agree to fully, finally, and forever release,

 8     relinquish, acquit, and discharge the Released Parties from any and all claims,
 9     demands, suits, petitions, liabilities, causes of action, rights, and damages of any
10
       kind and/or type regarding the subject matter of the Action and the Related Action,
11
       including, but not limited to, compensatory, exemplary, punitive, expert and/or
12
       attorneys’ fees or by multipliers, whether past, present, or future, mature, or not yet
13
14     mature, known or unknown, suspected or unsuspected, contingent or non-contingent,

15     derivative or direct, asserted or un-asserted, whether based on federal, state or local
16     law, statute, ordinance, regulation, code, contract, common law, violations of any
17
       state’s deceptive, unlawful, or unfair business or trade practices, false, misleading or
18
       fraudulent advertising, consumer fraud or consumer protection statutes, any breaches
19
       of express, implied or any other warranties, RICO, or the Magnuson-Moss Warranty
20
21     Act, or any other source, or any claim of any kind related arising from, related to,

22     connected with, and/or in any way involving the Action, the Related Action, the
23     Subject Vehicles that are, or could have been, defined, alleged or described in the
24
       Complaint, the Amended Complaint, the Second Amended Complaint, the Action,
25
       the Related Action or any amendments of the Action or the Related Action,
26
       including, but not limited to, the design, manufacturing, advertising, replacement,
27
28     repair, testing, marketing, functionality, servicing, sale, lease or resale of the Subject
                                  [PROPOSED] FINAL ORDER APPROVING
                                      CLASS ACTION SETTLEMENT
                                               EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  69 of 19
                                                                   193ofPageID #: 1024
                                                                         122 Page  ID
                                     #:1548



 1     Vehicles. Notwithstanding the foregoing, Class Representatives and Class Members
 2     are not releasing claims for personal injury, wrongful death or actual physical
 3
       property damage arising from an accident involving a Subject Vehicle.
 4
             15.    Notwithstanding the foregoing, the Released Parties shall be held
 5
       harmless by any Class Representative or Class        Member for a Released Claim
 6
 7     against the Released Parties asserted by that Class Representative or Class Member,

 8     either brought directly or by any legal or natural persons who claim by, through, or
 9     under that Class Representative or Class Member.
10
             16.    By not excluding themselves from the Action and the Related Action
11
       and to the fullest extent they may lawfully waive such rights, all Class
12
       Representatives, and all Class Members are deemed to acknowledge and waive
13
14     Section 1542 of the Civil Code of the State of California and any law of any state or

15     territory that is equivalent to Section 1542. Section 1542 provides that:
16           A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
17           WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
             EXIST IN HIS OR HER FAVOR AT THE TIME OF
18           EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR
19           HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
             SETTLEMENT WITH THE DEBTOR.
20
21           17.    The Court orders that the Settlement Agreement shall be the exclusive

22     remedy for all claims released in the Settlement Agreement for all Class Members
23     not listed on Appendix B.
24           18.    Therefore, except for those listed on Appendix B, all Class
25
       Representatives, Class Members and their representatives are hereby permanently
26
       barred and enjoined from, either directly, through their representatives, or in any
27
28     other capacity instituting, commencing, filing, maintaining, continuing or

                                   [PROPOSED] FINAL ORDER APPROVING
                                       CLASS ACTION SETTLEMENT
                                                EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  70 of 20
                                                                   193ofPageID #: 1025
                                                                         122 Page  ID
                                     #:1549



 1     prosecuting against any of the Released Parties (as that term is defined in the
 2     Settlement Agreement) any action or proceeding in any court or tribunal asserting
 3
       any of the matters, claims or causes of action described. In addition, all Class
 4
       Representatives, Class Members and all persons in active concert or participation
 5
       with Class Members are permanently barred and enjoined from organizing Class
 6
 7     Members who have not been excluded from the Class into a separate class for

 8     purposes of pursuing, as a purported class action, any lawsuit based on or relating to
 9     the claims and causes of action in the complaint in the Action or Related Action, or
10
       the facts and circumstances relating thereto or the release in the Settlement
11
       Agreement.    Pursuant to 28 U.S.C. §§ 1651(a) and 2283, the Court finds that
12
       issuance of this permanent injunction is necessary and appropriate in aid of its
13
14     continuing jurisdiction and authority over the settlement as set forth in the Settlement

15     Agreement, and the Action.
16                                V.     OTHER PROVISIONS
17           19.    Without affecting the finality of this Final Order Approving Class
18
       Action Settlement or the accompanying Final Judgment, the Court retains continuing
19
       and exclusive jurisdiction over the Action and all matters relating to the
20
21     administration, consummation, enforcement and interpretation of the Settlement

22     Agreement and of this Final Order Approving Class Action Settlement and the
23     accompanying Final Judgment, to protect and effectuate this Final Order Approving
24     Class Action Settlement and the accompanying Final Judgment, and for any other
25
       necessary purpose. The Parties, the Class Representatives, and each Class Member
26
       not listed on Appendix B are hereby deemed to have irrevocably submitted to the
27
28     exclusive jurisdiction of this Court, for the purpose of any suit, action, proceeding or

                                  [PROPOSED] FINAL ORDER APPROVING
                                      CLASS ACTION SETTLEMENT
                                               EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  71 of 21
                                                                   193ofPageID #: 1026
                                                                         122 Page  ID
                                     #:1550



 1     dispute arising out of or relating to the Settlement Agreement or the applicability of
 2     the Settlement Agreement, including the exhibits thereto, and only for such purposes.
 3
             20.   In the event that the Final Effective Date does not occur, certification of
 4
       the Class shall be automatically vacated and this Final Order Approving Class
 5
       Action Settlement and the accompanying Final Judgment, and other orders entered in
 6
 7     connection with the Settlement Agreement and releases delivered in connection with

 8     the Settlement Agreement, shall be vacated and rendered null and void as provided
 9     by the Settlement Agreement.
10
             21.   Without further order of the Court, the Parties may agree to reasonably
11
       necessary extensions of time to carry out any of the provisions of the Settlement
12
       Agreement. Likewise, the Parties may, without further order of the Court, agree to
13
14     and adopt such amendments to the Settlement Agreement (including exhibits) as are

15     consistent with this Final Order Approving Class Action Settlement and the
16     accompanying Final Judgment and do not limit the rights of Class Members under
17
       the Settlement Agreement.
18
             22.   Nothing in this Final Order Approving Class Action Settlement or the
19
       accompanying Final Judgment shall preclude any action in this Court to enforce the
20
21     terms of the Settlement Agreement.

22           23.   Neither this Final Order Approving Class Action Settlement nor the
23     accompanying Final Judgment (nor any document related to the Settlement
24
       Agreement) is or shall be construed as an admission by the Parties. Neither the
25
       Settlement Agreement (or its exhibits), this Final Order Approving Class Action
26
       Settlement, the accompanying Final Judgment, or any document related to the
27
28     Settlement Agreement shall be offered in any proceeding as evidence against any of
                                 [PROPOSED] FINAL ORDER APPROVING
                                     CLASS ACTION SETTLEMENT
                                              EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  72 of 22
                                                                   193ofPageID #: 1027
                                                                         122 Page  ID
                                     #:1551



 1     the Parties of any fact or legal claim; provided, however, that Toyota and the
 2     Released Parties may file any and all such documents in support of any defense that
 3
       the Settlement Agreement, this Final Order Approving Class Action Settlement, the
 4
       accompanying Final Judgment and any other related document is binding on and
 5
       shall have res judicata, collateral estoppel, and/or preclusive effect in any pending or
 6
 7     future lawsuit by any person who is subject to the release described above in

 8     Paragraph 14 asserting a released claim against any of the Released Parties.
 9           24.    A copy of this Final Order Approving Class Action Settlement shall be
10
       filed in, and applies to, the Action.
11
             SO ORDERED this ____ day of ________ 2017.
12
13
                                               ____________________________
14
                                               Honorable Fernando M. Olguin
15                                             Judge of the United States District Court
16
17
18
19
20
21
22
23
24
25
26
27
28
                                   [PROPOSED] FINAL ORDER APPROVING
                                       CLASS ACTION SETTLEMENT
                                                EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  73 of 23
                                                                   193ofPageID #: 1028
                                                                         122 Page  ID
                                     #:1552



 1                                      APPENDIX A
 2                                  SUBJECT VEHICLES
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                [PROPOSED] FINAL ORDER APPROVING
                                    CLASS ACTION SETTLEMENT
                                             EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  74 of 24
                                                                   193ofPageID #: 1029
                                                                         122 Page  ID
                                     #:1553



 1                                      APPENDIX B
 2        PERSONS, ENTITIES AND ORGANIZATIONS THAT HAVE PROPERLY
 3                  EXCLUDED THEMSELVES FROM THE CLASS

 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                [PROPOSED] FINAL ORDER APPROVING
                                    CLASS ACTION SETTLEMENT
                                             EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  75 of 25
                                                                   193ofPageID #: 1030
                                                                         122 Page  ID
                                     #:1554




         EXHIBIT 4
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  76 of 26
                                                                   193ofPageID #: 1031
                                                                         122 Page  ID
                                     #:1555
    Authorized by the U.S. District Court for the Central District of California

   If You Currently or Previously Owned, Purchased, or Leased Certain Toyota
    Tacoma, Tundra, or Sequoia Vehicles, You Could Get Benefits from a Class
                               Action Settlement.

                  Para ver este aviso en espanol, visita www.[website]

 • There is a proposed settlement in a class action lawsuit against Toyota Motor Sales,
   U.S.A., Inc. (“Toyota”) concerning certain Toyota Tacoma, Tundra, and Sequoia
   vehicles. Those included in the settlement have legal rights and options and
   deadlines by which they must exercise them.
 • You are included if you bought, owned, or leased 2005-2010 Toyota Tacoma,
   2007-2008 Tundra, or 2005-2008 Sequoia vehicles (see Question 3 below for a list
   of eligible vehicles).
 • The proposed settlement provides for a free Frame Inspection and Replacement
   Program to determine whether your Subject Vehicle’s frame should be replaced. If
   the frame needs to be replaced to meet the Rust Perforation Standard, replacement
   will be at no cost to you. The settlement also reimburses Class Members who
   previously paid for frame replacement due to rust perforation that satisfies the Rust
   Perforation Standard and that were incurred prior to [Initial Notice Date].

 Please read this Notice carefully. Your legal rights are affected, whether you act or
 do not act. You are encouraged to periodically check the website, [website], because it
 will be updated with additional information.

                            A. BASIC INFORMATION
 1. What is this Notice about?
 A Court authorized this Notice because you have a right to know about a proposed
 settlement of a class action lawsuit and about all of your options and associated
 deadlines before the Court decides whether to give final approval to the settlement.
 The name of the lawsuit is Brian Warner et al. v. Toyota Motor Sales, U.S.A., Inc., Case
 No. 2:15-cv-02171-FMO-FFM. The defendant is Toyota Motor Sales, U.S.A., Inc.
 (hereinafter, “Toyota”). This Notice explains the lawsuit, the settlement, and your
 legal rights. You are NOT being sued. The Court still has to decide whether to finally
 approve the settlement. Payments and other benefits will be distributed only if the
 Court finally approves the settlement and after any appeals are resolved in favor of the
 settlement. Please be patient and check the website identified in this Notice regularly.
 Please do not contact Toyota Dealers regarding the details of this settlement while it is
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  77 of 27
                                                                   193ofPageID #: 1032
                                                                         122 Page  ID
                                     #:1556

 pending before the Court.

          Your legal rights may be affected even if you do not act.
                     Please read this Notice carefully.




          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                          2
 Case
  Case2:14-cv-02208-PKH  Document
       2:15-cv-02171-FMO-FFM      81-1 91-1
                              Document  Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  78 of 28
                                                                    193ofPageID #: 1033
                                                                          122 Page  ID
                                      #:1557
                                    YOUR RIGHTS AND CHOICES

   YOU MAY:                                                                                       DATE/CLAIM
                                                                                                    PERIOD

     SEEK          Have the frame of your vehicle inspected to determine whether your              The longer of
  INSPECTION       frame should be replaced. If the inspection shows that your frame              either (a) twelve
  UNDER THE        should be replaced, an authorized Toyota Dealer will replace the frame,        (12) years from
    FRAME          at no cost to you. At your request and if your vehicle is kept overnight,         the date the
INSPECTION AND     Toyota shall also provide a complimentary Loaner Vehicle (upon proof              vehicle was
 REPLACEMENT       of adequate insurance) for up to seven (7) days, absent exceptional           originally sold or
   PROGRAM         circumstances, while your vehicle’s frame is replaced.                        leased; or (b) one
                                                                                                 (1) year from the
                                                                                                  date of entry of
                                                                                                  the Final Order
                                                                                                   and Judgment

 FILE A CLAIM TO   You may submit Claims for previously paid out-of-pocket costs for          The deadline to
      SEEK         frame replacement incurred on a Subject Vehicle to address rust              submit Claim
REIMBURSEMEN       perforation that satisfies the Rust Perforation Standard that were Forms is sixty (60)
         T         incurred prior to the [date of the Initial Notice Date] and that were not    days after the
                   otherwise reimbursed. This is the only way that you can get Court issues the
                   reimbursed.                                                                Final Order and
                                                                                             Final Judgment,
                                                                                             which will occur,
                                                                                             if approved, after
                                                                                                 the Fairness
                                                                                                   Hearing

     OBJECT        Write to the Court about why you do not like the proposed settlement.               [date]

   EXCLUDE         Ask to get out (opt out) of the proposed settlement. If you do this, you            [date]
   YOURSELF        are not entitled to any of the settlement benefits, but you keep your right
                   to sue Toyota about the issues in your own lawsuit.

 APPEAR IN THE     You are not required to enter an appearance in the lawsuit in order to          [Appearance
 LAWSUIT OR GO     participate in the proposed settlement, but you may enter an appearance        deadline - date]
 TO THE FAIRNESS   on your own or through your own lawyer in addition to filing an
    HEARING        objection if you do not opt out. You can also ask to speak in Court at
                   the Fairness Hearing about the proposed settlement, if you have                  [Fairness
                   previously filed an objection and submitted a timely notice of intention      Hearing date and
                   to appear at the Fairness Hearing.                                                 time]

  DO NOTHING       You may not receive certain settlement benefits that you may otherwise
                   be eligible for and you give up the right to sue Toyota about the issues in
                   the lawsuit.


           QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
   PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
              PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                                      3
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  79 of 29
                                                                   193ofPageID #: 1034
                                                                         122 Page  ID
                                     #:1558



 2. What is the lawsuit about?
 The class action lawsuit claims that the frames of certain Toyota Tacoma, Tundra, and
 Sequoia vehicles lack adequate rust protection, resulting in premature rust corrosion of
 the vehicles’ frames. The lawsuit pursues claims for violations of various state
 consumer protection statutes, among other claims. You can read the Second
 Amended Complaint by visiting www.[website]. Toyota denies that it has violated
 any law, denies that it engaged in any wrongdoing, and denies that there is any defect
 with respect to rust protection in certain Toyota Tacoma, Tundra, and Sequoia
 vehicles. The parties agreed to resolve these matters before these issues were
 decided by the Court.
 This settlement does not involve claims of personal injury or property damage to
 any property other than the Subject Vehicles.
 On October 3, 2014, Ryan Burns filed a class action complaint in Burns v. Toyota
 Motor Sales, U.S.A., Inc., No. 2:14-cv-02208 (W.D. Ark.) alleging, among other
 things, that Toyota (as defined below) designed, manufactured, distributed, advertised
 and sold certain Tacoma vehicles that allegedly lacked adequate rust protection on the
 vehicles’ frames that would allegedly result in premature rust corrosion and that Ryan
 Burns and others similarly situated sustained economic losses as a result thereof.
 On March 24, 2015, Brian Warner and others filed a class action complaint in Brian
 Warner et al v. Toyota Motor Sales, U.S.A., Inc., No. 2:15-cv-02171 (C.D. Cal.)
 alleging, among other things, that Toyota (as defined below) designed, manufactured,
 distributed, advertised and sold certain Tacoma vehicles that allegedly lacked adequate
 rust protection on the vehicles’ frames that would allegedly result in premature rust
 corrosion and that the plaintiffs and others similarly situated sustained economic losses
 as a result thereof.
 On April 23, 2015, the United States District Court for the Western District of Arkansas
 issued an Order granting in part and denying in part Toyota’s motion to dismiss plaintiff
 Ryan Burns’ complaint. Pursuant to the United States District Court for the Western
 District of Arkansas’ Order, plaintiff Ryan Burns’ claims for breach of express and
 implied warranties were dismissed, while the order upheld his claims under the
 Arkansas Deceptive Trade Practices Act, for unjust enrichment and for declaratory
 relief.
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                            4
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  80 of 30
                                                                   193ofPageID #: 1035
                                                                         122 Page  ID
                                     #:1559

 On June 5, 2015, the United States District Court for the Central District of California
 issued an order granting Toyota’s motion to dismiss the complaint filed by plaintiff
 Brian Warner and others without prejudice.
 On June 19, 2015, plaintiff Brian Warner and others filed a First Amended Complaint.
 On January 12, 2016, the United States District Court for the Western District of
 Arkansas issued an Order granting in part, and denying in part, Toyota’s motion for
 summary judgment on plaintiff Ryan Burns’ claims. Pursuant to the United States
 District Court for the Western District of Arkansas’ Order, Toyota’s motion for
 summary judgment was denied on all grounds except that plaintiff’s claim for
 injunctive relief was dismissed. In addition, according to this court’s order, Toyota’s
 motion to deny class certification was denied without prejudice. This court found it
 premature to make a ruling regarding whether class certification for any of Burns’ three
 proposed classes should be denied based upon the pleadings alone.
 On March 8, 2016, the United States District Court for the Central District of California
 granted in part and denied in part Toyota’s motion to dismiss the First Amended
 Complaint filed by plaintiff Brian Warner and others, such that plaintiffs’ claims under
 the consumer protection laws of California, Florida, Ohio, and Louisiana were
 dismissed with prejudice; and plaintiffs’ claims under Maryland, New York, and North
 Carolina law were dismissed to the extent they contained allegations based on Toyota’s
 alleged misrepresentations, but plaintiffs could pursue said claims based on Toyota’s
 alleged omissions.
 Plaintiff Brian Warner and others filed a Second Amended Complaint, adding Ryan
 Burns as one of the plaintiffs. The Second Amended Complaint expanded the
 allegations to also include certain Tundra and Sequoia vehicles. The Second Amended
 Complaint also added counts for the alleged violations of the Arkansas consumer
 protection laws, breach of implied warranty of merchantability and breach of express
 warranty.

 3. What vehicles are included in the settlement?
 The following Toyota Tacoma, Tundra and Sequoia vehicles (called the “Subject
 Vehicles”) distributed for sale or lease in the United States, the District of Columbia,
 Puerto Rico and all other United States territories and/or possessions are included:

           Toyota
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                            5
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  81 of 31
                                                                   193ofPageID #: 1036
                                                                         122 Page  ID
                                     #:1560

           Model                                  Model Years
           Tacoma                                 2005-2010
           Tundra                                 2007-2008
           Sequoia                                2005-2008



 4.   Why is this a class action?
 In a class action, people called “class representatives” sue on behalf of other people
 who have similar claims. All of these people together are the “Class” or “Class
 Members” if the Court approves this procedure. Once approved, the Court resolves
 the issues for all Class Members, except for those who exclude themselves from the
 Class.

 5. Why is there a settlement?
 Both sides in the lawsuit agreed to a settlement to avoid the cost and risk of further
 litigation, including a potential trial, and so that the Class Members can get benefits,
 in exchange for releasing Toyota from liability. The settlement does not mean that
 Toyota broke any laws or did anything wrong, and the Court did not decide which
 side was right. This settlement has been preliminarily approved by the Court, which
 authorized the issuance of this Notice. The Class Representatives and the lawyers
 representing them (called “Class Counsel”) believe that the settlement is in the best
 interests of all Class Members.
 The essential terms of the settlement are summarized in this Notice. The Settlement
 Agreement along with all exhibits and addenda sets forth in greater detail the rights
 and obligations of the parties. If there is any conflict between this Notice and the
 Settlement Agreement, the Settlement Agreement governs.

                      B. WHO IS IN THE SETTLEMENT?
 To see if you are affected or if you can get money or benefits, you first have to
 determine whether you are a Class Member.

 6.   How do I know if I am part of the settlement?
 You are part of the settlement if you are a person, entity or organization who, at any
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                            6
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  82 of 32
                                                                   193ofPageID #: 1037
                                                                         122 Page  ID
                                     #:1561

 time as of or before [date of Preliminary Approval Order], own or owned,
 purchase(d), or lease(d) Subject Vehicles distributed for sale or lease in any of the
 fifty States, the District of Columbia, Puerto Rico or any of the territories or
 possessions of the United States. This is called the “Class.”

 Excluded from the Class are: (a) Toyota, its officers, directors and employees; its
 affiliates and affiliates’ officers, directors and employees; its distributors and
 distributors’ officers, directors and employees; and Toyota Dealers and Toyota
 Dealers’ officers and directors; (b) Plaintiffs’ Counsel; (c) judicial officers and their
 immediate family members and associated court staff assigned to this case; and (d)
 persons or entities who or which timely and properly exclude themselves from the
 Class.


 7. I’m still not sure if I’m included in the settlement.
 If you are not sure whether you are included in the Class, you may call [toll free
 number of Settlement Notice Administrator]. Please do not contact Toyota
 Dealers regarding the details of this settlement while it is pending before the Court as
 the Court has ordered that all questions be directed to the Settlement Notice
 Administrator.

 C. THE SETTLEMENT BENEFITS—WHAT YOU GET AND HOW TO
                        GET IT
 8. What does the settlement provide?
 If you are a Class Member, what you are eligible to receive depends on several
 factors. The settlement benefits are outlined generally below, and more information
 can be found on the settlement website. The Court still has to decide whether to
 finally approve the settlement. The Frame Inspection and Replacement Program
 may be implemented right away, if Toyota decides to do so. However, no benefits
 have to be provided until and unless the Court finally approves the settlement and
 only after any appeal period expires or any appeals are resolved in favor of the
 settlement. We do not know when the Court will finally approve the settlement if it
 does so or whether there will be any appeals that would have to be resolved in favor of
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                            7
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  83 of 33
                                                                   193ofPageID #: 1038
                                                                         122 Page  ID
                                     #:1562

 the settlement before certain benefits would be provided, so we do not know precisely
 when any benefits may be available. Please check [settlement website] regularly for
 updates regarding the settlement.

 Please note that you may have to take action within certain deadlines to receive
 certain benefits, such as completing and submitting a claim form. If you do nothing,
 you may not receive certain benefits from the settlement, and, as a Class Member, you
 will not be able to sue Toyota about the issues in the lawsuit.


       a.     Frame Inspection and Replacement Program
 If the settlement is finally approved, for Class Members who still own or lease their
 Subject Vehicles, the Frame Inspection and Replacement Program will be
 implemented to determine whether a Class Member’s frame should be replaced in
 accordance with the terms of this settlement. Toyota may decide to implement
 certain benefits of this settlement prior to the settlement being fully approved. The
 Frame Inspection and Replacement Program will begin following the date of Final
 Order and Final Judgment is entered and will be calculated by the longer of twelve
 (12) years from the date of the Subject Vehicle’s First Use, which is the date that the
 Subject Vehicle was originally sold or leased, or, if the Class Member has owned or
 leased the vehicle beyond twelve (12) years from date of First Use, one (1) year from
 the date of entry of the Final Order and Final Judgment.
 Pursuant to the Frame Inspection and Replacement Program and the Inspection
 Protocol, Toyota shall offer an initial inspection of the Subject Vehicles and additional
 inspections, as necessary. Salvaged vehicles and vehicles with flood-damaged titles
 are not eligible for this benefit.
 Without cost to Class Members, upon request from the Class Member and if the
 Subject Vehicle is required by the Toyota Dealer to remain at the dealership at least
 overnight, Toyota will provide a Loaner Vehicle (upon proof of adequate insurance)
 for up to seven (7) days, absent exceptional circumstances, while the frame is being
 replaced. The Frame Inspection and Replacement Program is transferable with the
 Subject Vehicle. In appropriate circumstances where the Class Member has a
 demonstrated need for a vehicle similar to the Subject Vehicles, Toyota, through its
 dealers, shall use good faith efforts to satisfy that request

          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                            8
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  84 of 34
                                                                   193ofPageID #: 1039
                                                                         122 Page  ID
                                     #:1563

 If you are eligible for the Frame Inspection and Replacement Program, simply bring
 your Subject Vehicle to a Toyota Dealer for an inspection and, if required, a frame
 replacement. If you dispute the findings of the Toyota Dealer’s inspection, you may
 take your vehicle to a second Toyota Dealer for a second frame inspection.

 You also can obtain a document summarizing the Frame Inspection and Replacement
 Program at [settlement website]. You do not need to have the summary to receive the
 benefits of the Frame Inspection and Replacement Program, but it may serve as a
 reminder to you in the event your Subject Vehicle satisfies the Rust Perforation
 Standard.

 Toyota may begin to offer this benefit over time, beginning pursuant to the terms of
 this Settlement Agreement, upon entry of the Preliminary Approval Order by the
 Court. Toyota, at its discretion, may also periodically mail reminders of this benefit
 to Class Members after the issuance of the Final Order and Final Judgment. The
 reminder notices will notify the Class Members of the timing of this Frame Inspection
 and Replacement Program and will encourage Class Members to bring in their Subject
 Vehicles for an inspection.

 Toyota will replace the frames and associated parts, as required, on the Subject
 Vehicles that satisfy the Rust Perforation Standard as stated in the Inspection Protocol
 that are presented to a Toyota Dealer during the Frame Inspection and Replacement
 Program. The frame replacement is at no cost to Class Members.

 Toyota dealerships shall inspect the frames of the Subject Vehicles presented to them to
 determine whether a frame should be replaced pursuant to the Settlement Agreement.
 Class Members may have their Subject Vehicles’ frames inspected by authorized
 Toyota Dealers and, if the vehicle is located in a CRC State 1 , for evaluation for
 application of the Corrosion-Resistant Compounds (“CRC”). Based upon the results
 of the inspection, and if perforation of the frame from rust corrosion meets or exceeds
 the Rust Perforation Standard, the Subject Vehicle’s frame and associated parts shall be
 replaced by Toyota at no charge to the Class Member. If the perforation of the frame

 1
  The CRC States, which have high road salt use, are defined as Connecticut, Delaware, the District of
 Columbia, Illinois, Indiana, Kentucky, Massachusetts, Maryland, Maine, Michigan, Minnesota, New
 Hampshire, New Jersey, New York, Ohio, Pennsylvania, Rhode Island, Virginia, Vermont, Wisconsin
 and West Virginia.
             QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
     PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
                PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                                  9
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  85 of 35
                                                                   193ofPageID #: 1040
                                                                         122 Page  ID
                                     #:1564

 does not meet or exceed the Rust Perforation Standard, and the vehicle is currently
 registered in a CRC State, and the vehicle has not previously received CRC or a new
 frame, pursuant to a prior Limited Service Campaign (“LSC”), then the dealer or
 authorized sublet facility will apply CRC to the Subject Vehicle’s frame. For vehicles
 registered in CRC States, the application of the CRC shall be available for a two (2)
 year period: (a) for the Tundra and Sequoia subject vehicles; and, (b) for those Tacoma
 subject vehicles for which CRC has not been previously applied and the frame was not
 previously replaced. The timing of the availability of the CRC application will depend
 on Toyota’s ability to obtain the applicable environmental permits. Toyota shall mail a
 reminder notice to Class Members in CRC States when there is only six (6) months
 remaining for the possible application of the CRC.

 All frames presented for inspection shall be inspected for perforations in the frame
 caused by rust corrosion in accordance with the following procedure: The frame will be
 inspected by a qualified Toyota technician, who will inspect the frame rails and cross
 member mounting locations. Any perforation found will be measured to confirm if it
 is within the inspection criteria.

 If any perforation exists, but no perforation is 10 mm or greater and if the vehicle has
 not previously received CRC or a new frame, pursuant to the prior LSC, then the
 frame will be cleaned and the CRC will be applied for Subject Vehicles located in the
 CRC States. If any perforation in the frame is found to be 10 mm or larger, then the
 frame will be replaced, as well as all applicable parts and service items incidental to
 frame replacement.


           .b.   Claim Reimbursement
 If the settlement is finally approved, including resolving any appeals in favor of
 upholding the settlement, you can ask to be reimbursed if you previously paid for
 frame replacement for rust perforation that satisfies the Rust Perforation Standard on a
 Subject Vehicle and were not otherwise reimbursed.                 To be eligible for
 reimbursement, you must submit a Claim Form and the expenses must have been
 incurred prior to [date of the Initial Notice Date].
 The Claim Form is attached to this Notice and is also available on the settlement
 website [website]. In no event shall a Class Member be entitled to more than one
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                           10
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  86 of 36
                                                                   193ofPageID #: 1041
                                                                         122 Page  ID
                                     #:1565

 payment per Subject Vehicle.
 You must submit your Claim Form and any supporting documentation, if available, for
 prior frame replacement to the Settlement Notice Administrator. The deadline to
 submit Claim Forms is sixty (60) days after the Court issues the Final Order and Final
 Judgment, which will occur, if approved, after the Fairness Hearing.
 The Settlement Claims Administrator will determine whether Claim Forms are
 complete and timely. If your Claim is deficient, the Settlement Claims Administrator
 will mail you a letter requesting that you complete the deficiencies and resubmit the
 Claim Form within forty-five (45) days. If you fail to provide the requested
 documentation or information, your Claim will be denied.
 The Settlement Claims Administrator will review your Claim Form and other Claims
 that are submitted and determine if reimbursement is owed. Review of Claims should
 be completed within ninety (90) days of receipt, but this review period is not required
 to begin any earlier than sixty (60) days after the settlement is finally approved and all
 appeals, if any, are resolved in favor of upholding the settlement.
 If your Claim is rejected for payment, the Settlement Claims Administrator will notify
 Toyota and Class Counsel of the rejection of the Claim and the reason(s) why. Class
 Counsel will review the rejected Claim and may consult with Toyota in an attempt to
 resolve these denied Claims. If Class Counsel and Toyota jointly recommend payment
 of the Claims or payment of a reduced claim amount, the Settlement Claims
 Administrator will be instructed to pay those Claims. If Class Counsel and Toyota’s
 Counsel disagree, the Settlement Claims Administrator will make a final determination
 as to whether the Claims should be paid.

       c. When will I get paid for a submitted claim?

 If your Claim is accepted for payment, Settlement Claims Administrator will use its
 best efforts to pay your Claim within ninety (90) days after receipt of the Claim, as long
 as that date occurs after the settlement is finally approved and all appeals, if any, are
 resolved in favor of upholding the settlement.
 Important: In order to receive reimbursement for a Claim, eligible Class Members
 must complete and submit the Claim Form during the Claim Period, which shall run
 from [date of the Initial Notice Date] up to and including sixty (60) days after the

          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                            11
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  87 of 37
                                                                   193ofPageID #: 1042
                                                                         122 Page  ID
                                     #:1566

 Court’s issuance of the Final Order and Final Judgment, which will occur after the
 Fairness Hearing, which is currently scheduled for [date].
 You can complete and submit a Claim Form online at www.[website]. Alternatively,
 you can obtain a Claim Form from the settlement website, print it out, complete it, and
 mail it on or before [date] to the Settlement Notice Administrator at [contact and
 address]. If you previously paid for frame replacement on a Subject Vehicle due to
 rust perforation, the only way to be reimbursed is to timely submit a Claim Form and
 any supporting documentation, if available.

 9.    What am I giving up in exchange for the settlement benefits?
 If the settlement becomes final, Class Members who do not exclude themselves from
 the Class will release Toyota from liability and will not be able to sue Toyota about
 the issues in the lawsuit. The Settlement Agreement at section VII describes the
 released claims in necessary legal terminology, so read it carefully. For ease of
 reference, we also attach the full release section in Appendix A to this Notice. The
 Settlement Agreement is available at www.[website]. You can talk to one of the
 lawyers listed in Question 15 below for free or you can, of course, talk to your own
 lawyer at your own expense if you have questions about the released claims or what
 they mean.

           D. EXCLUDING YOURSELF FROM THE SETTLEMENT
 If you want to keep the right to sue or continue to sue Toyota over the legal issues in
 the lawsuit, then you must take steps to exclude yourself from this settlement. This
 is also known as “opting out” of the Class.

 10.    If I exclude myself, can I get anything from this settlement?
 If you exclude yourself, you do not get settlement benefits. If you ask to be
 excluded, you cannot object to the settlement. But, if you timely and properly
 request exclusion, the settlement will not prevent you from suing, continuing to sue or
 remaining or becoming part of a different lawsuit against Toyota in the future about
 the issues in the lawsuit. If you exclude yourself, you will not be bound by anything
 that happens in this lawsuit and you may not object to the settlement.

 11.    If I do not exclude myself, can I sue later?
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                           12
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  88 of 38
                                                                   193ofPageID #: 1043
                                                                         122 Page  ID
                                     #:1567

 Unless you exclude yourself, you give up the right to sue Toyota for the claims
 resolved by this settlement. If the settlement is finally approved, you will be
 permanently enjoined and barred from initiating or continuing any lawsuit or other
 proceeding against Toyota about the issues in the lawsuit.

 12.   How do I get out of the settlement?
 To exclude yourself from the settlement, you must complete and send the Request to
 Opt Out form or a letter containing the same information sent by mail saying that you
 want to be excluded from the settlement in Brian Warner et al. v. Toyota Motor Sales,
 U.S.A., Inc., and mention the case number (2:15-cv-02171-FMO-FFM). The Request
 for Exclusion/Request to Opt Out Form is attached to this Notice and also available at
 www.[website]. If you do not want to complete the Request for Exclusion/Request
 to Opt Out Form, you may also send a handwritten or typed and signed letter to the
 Settlement Notice Administrator requesting exclusion (opting out). The letter must
 be signed by you and include your name, address, year, make, model, and VIN
 number of your vehicle, your telephone number, and email address. You can’t
 ask to be excluded over the phone or at the settlement website. You must mail your
 Request for Exclusion/Request to Opt Out Form or letter with your exclusion request
 postmarked no later than [date] to:

                                [contact and address]

 Your Request for Exclusion/Request to Opt Out Form or letter with your exclusion
 request must be received by [contact] no later than [date] to be considered by the
 Court. The deadlines found in this Notice may be changed by the Court. Please
 check www.[website] regularly for updates regarding the settlement.

                  E. THE LAWYERS REPRESENTING YOU
 13.   Do I have a lawyer in the case?
 Yes. The Court has appointed lawyers to represent you and other Class Members.
 These lawyers are called “Class Counsel”: Timothy Blood at Blood Hurst and
 O’Reardon LLP and Ben Barnow at Barnow and Associates P.C., are Class Counsel.
 If you want to be represented by another lawyer, you may hire one to appear in Court
 for you at your own expense. Their contact information is as follows:
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                          13
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  89 of 39
                                                                   193ofPageID #: 1044
                                                                         122 Page  ID
                                     #:1568


          Timothy G. Blood                    Ben Barnow
          Blood Hurst & O’Reardon, LLP        Barnow and Associates, P.C.
          701 B Street, Suite 1700            1 North LaSalle Street, Suite
          San Diego, CA 92101                 4600
          Tel: (619) 338-1100                 Chicago, IL 60602
          Fax: (619) 338-1101                 Tel: (312) 621-2000
          Website: www.bholaw.com             Fax: (312) 641-5504
                                              Website: www.barnowlaw.com


 14. How will the lawyers be paid?
 The law firms that worked on this Action and the Related Action will ask the Court
 for an award of attorneys’ fees in the amount of $9.75 million and for reimbursement
 of their out-of-pocket costs and expenses in an amount not to exceed $150,000.
 Toyota will not oppose the request for attorneys’ fees, costs and expenses in these
 amounts.

 Class Counsel will also ask the Court to award each of the Class Representatives
 service awards in the amount of $2,500 for the time and effort each spent representing
 Class Members. Toyota will not oppose the request for Class Representative service
 awards in this amount.

 The Court must approve the request for attorneys’ fees, costs and expenses and the
 request for service awards. The amounts awarded by the Court will be paid by
 Toyota in addition to all other settlement benefits. Under no circumstances will
 Toyota’s payment of attorneys’ fees, costs and expenses and Class Representative
 service awards reduce your settlement benefits.

                    F. OBJECTING TO THE SETTLEMENT
 You can tell the Court if you do not agree with the settlement or some part of it.

 15. How do I tell the Court if I do not like the settlement?
 If you are a Class Member, and you do not exclude yourself from the Class, you can
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                            14
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  90 of 40
                                                                   193ofPageID #: 1045
                                                                         122 Page  ID
                                     #:1569

 object to the settlement if you do not like some part of it or all of it. You can give
 reasons why you think the Court should not approve it. To object, you must send a
 written objection signed by you saying that you object to the settlement in Brian
 Warner et al. v. Toyota Motor Sales, U.S.A., Inc., Case No. 2:15-cv-02171-FMO-FFM,
 to the Clerk of Court (identified below) so that it is received and filed no later than
 [date].
 In your objection, you must include: (a) a heading which refers to the Action, Brian
 Warner et. al. v. Toyota Motor Sales, U.S.A., Inc., No. 2:15-cv-02171 (C.D. Cal.); (b)
 the objector’s full name, telephone number, and address (the objector’s actual
 residential address must be included); (c) if represented by counsel, the full name,
 telephone number, and address of all counsel; (d) all of the reasons for his or her
 objection; (e) whether the objector intends to appear at the Fairness Hearing on his or
 her own behalf or through counsel; (f) a statement that the objector is a Class Member,
 including the make, model, year and VIN(s) of the Subject Vehicle(s); and (g) the
 objector’s dated, handwritten signature (an electronic signature or attorney’s signature
 are not sufficient). Any documents supporting the objection must also be attached to
 the objection. If any testimony is to be given in support of the objection, the names
 of all persons who will testify must be set forth in the objection. Class Members
 may do so either on their own or through an attorney retained at their own expense.
              Objections must be mailed to:

              Clerk of Court
              United States District Court
              Central District of California
              350 West 1st Street
              Los Angeles, CA 90012


 16.   What is the difference between objecting and excluding?
 Excluding yourself is telling the Court that you do not want to be part of the Class.
 If you exclude yourself, you have no basis to object because the settlement no longer
 affects you. Objecting is telling the Court that you do not like something about the
 settlement. You can object only if you stay in the Class.
 If you are a Class Member and you do nothing, you will remain a Class Member and
 all of the Court’s orders will apply to you, you will be eligible for the settlement
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                               15
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  91 of 41
                                                                   193ofPageID #: 1046
                                                                         122 Page  ID
                                     #:1570

 benefits described above as long as you satisfy the conditions for receiving each
 benefit, and you will not be able to sue Toyota over the issues in the lawsuit.

                   G. THE COURT’S FAIRNESS HEARING
 The Court will hold a hearing to decide whether to grant final approval to the
 settlement. If you have filed an objection on time and attend the hearing, you may
 ask to speak (provided you have previously filed a timely notice of intention to
 appear), but you do not have to attend or speak.

 17. When and where will the Court decide whether to grant final
 approval of the settlement?
 The Court will hold a Fairness Hearing at [a/p.m.] on [date] at the United States
 District Courthouse, Central District of California, 350 West 1st Street, Los Angeles,
 CA 90012. At this hearing, the Court will consider whether the settlement is fair,
 reasonable, and adequate. If there are objections, the Court will consider them.
 The Court will only listen to people who have met the requirement to speak at the
 hearing (See Question 19 below). After the hearing, the Court will decide whether to
 grant final approval of the settlement, and, if so, how much to pay the lawyers
 representing Class Members. We do not know how long these decisions will take.

 18.   Do I have to come to the hearing?
 No. Class Counsel will answer any questions the Court may have. But you are
 welcome to come at your own expense. If you send an objection, you do not have to
 come to Court to talk about it – but you can if you provide advance notice of your
 intention to appear (See Question 19 below). As long as you filed a written objection
 with all of the required information on time with the Court, the Court will consider it.
 You may also pay another lawyer to attend, but it is not required.

 19.   May I speak at the hearing?
 You or your attorney may ask the Court for permission to speak at the Fairness
 Hearing. To do so, you must send a letter saying that it is your “Notice of Intent to
 Appear in Brian Warner et al. v. Toyota Motor Sales, U.S.A., Inc.” to the Clerk of
 Court so that it is received and filed no later than [date]. You must include your
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                           16
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  92 of 42
                                                                   193ofPageID #: 1047
                                                                         122 Page  ID
                                     #:1571

 name, address, telephone number, the year, make and model and VIN number of your
 vehicle, and your signature. Anyone who has requested permission to speak must be
 present at the start of the Fairness hearing at [__ a/p.m.] on [date]. You cannot
 speak at the hearing if you excluded yourself from the Class.


                     H. GETTING MORE INFORMATION
 20. How do I get more information?
 This Notice summarizes the proposed settlement. More details are in the Settlement
 Agreement. You can get a copy of the Settlement Agreement and other information
 about the settlement and the Claim Forms, at www.[website]. You can also call the
 toll-free number, [number] or write the settlement administrator at [contact and
 address]. You can also look at the documents filed in the lawsuit at the Court at the
 address provided above in response to Question 15.

 21. When will the settlement be final?
 The settlement will not be final unless and until the Court grants final approval of the
 settlement at or after the Fairness Hearing and after any appeals are resolved in favor
 of the settlement. Please be patient and check the website identified in this Notice
 regularly. Please do not contact Toyota or Toyota Dealers as the Court has ordered
 that all questions be directed to the Settlement Notice Administrator.




          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                           17
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  93 of 43
                                                                   193ofPageID #: 1048
                                                                         122 Page  ID
                                     #:1572
         Appendix A – Section VI from the Settlement Agreement – Release and Waiver

 A. The Parties agree to the following release and waiver, which shall take effect upon entry of the
 Final Judgment and Final Order.

 B. In consideration for the Settlement Agreement, Class Representatives and each Class Member, on
 behalf of themselves and any other legal or natural persons who may claim by, through or under them,
 agree to fully, finally and forever release, relinquish, acquit, and discharge the Released Parties from
 any and all claims, demands, suits, petitions, liabilities, causes of action, rights, and damages of any
 kind and/or type regarding the subject matter of the Action and the Related Action, including, but not
 limited to, compensatory, exemplary, punitive, expert and/or attorneys’ fees or by multipliers, whether
 past, present, or future, mature, or not yet mature, known or unknown, suspected or unsuspected,
 contingent or non-contingent, derivative or direct, asserted or un-asserted, whether based on federal,
 state or local law, statute, ordinance, regulation, code, contract, common law, violations of any state’s
 deceptive, unlawful, or unfair business or trade practices, false, misleading or fraudulent advertising,
 consumer fraud or consumer protection statutes, any breaches of express, implied or any other
 warranties, RICO, or the Magnuson-Moss Warranty Act, or any other source, or any claim of any kind
 related arising from, related to, connected with, and/or in any way involving the Action, the Related
 Action, the Subject Vehicles’ frames and/or associated parts that are, or could have been, defined,
 alleged or described in the Second Amended Complaint, the Action, the Related Action or any
 amendments of the Action or the Related Action. Notwithstanding the foregoing, Class
 Representatives and Class Members are not releasing claims for personal injury, wrongful death or
 actual physical property damage arising from an accident involving a Subject Vehicle.

 C. Notwithstanding the foregoing, the Released Parties shall be held harmless by any Class
 Representative or Class Member for a Released Claim against the Released Parties asserted by that
 Class Representative or Class Member, either brought directly or by any legal or natural persons who
 claim by, through, or under that Class Representative or Class Member

 D.     The Final Order will reflect these terms.

 E. Class Representatives and Class Members expressly agree that this Release, the Final Order,
 and/or the Final Judgment is, will be, and may be raised as a complete defense to, and will preclude
 any action or proceeding encompassed by, this Release.

 F. Class Representatives and Class Members shall not now or hereafter institute, maintain, prosecute,
 assert, and/or cooperate in the institution, commencement, filing, or prosecution of any suit, action,
 and/or proceeding, against the Released Parties, either directly or indirectly, on their own behalf, on
 behalf of a class or on behalf of any other person or entity with respect to the claims, causes of action
 and/or any other matters released through this settlement and the Settlement Agreement.

 G. In connection with the Settlement Agreement, Class Representatives and Class Members
 acknowledge that they and other Class Members may hereafter discover claims presently unknown or
          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                                    18
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  94 of 44
                                                                   193ofPageID #: 1049
                                                                         122 Page  ID
                                     #:1573
 unsuspected, or facts in addition to or different from those that they now know or believe to be true
 concerning the subject matter of the Action or the Related Action and/or the Release herein.
 Nevertheless, it is the intention of Class Counsel and Class Representatives in executing this
 Settlement Agreement to fully, finally and forever to settle, release, discharge, and hold harmless all
 such matters, and all claims relating thereto which exist, hereafter may exist, or might have existed
 (whether or not previously or currently asserted in any action or proceeding) with respect to the Action
 and the Related Action.

 H. Class Representatives expressly understand and acknowledge that they will be deemed by the
 Final Judgment and Final Order to acknowledge and waive Section 1542 of the Civil Code of the State
 of California, which provides that:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
        CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
        FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
        KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
        OR HER SETTLEMENT WITH THE DEBTOR.

 Class Representatives expressly waive and relinquish any and all rights and benefits that they may
 have under, or that may be conferred upon them by, the provisions of Section 1542 of the California
 Civil Code, or any other law of any state or territory that is similar, comparable or equivalent to
 Section 1542, to the fullest extent they may lawfully waive such rights.

 I. Class Representatives represent and warrant that they are the sole and exclusive owners of all
 claims that they personally are releasing under this Settlement Agreement. Class Representatives
 further acknowledge that they have not assigned, pledged, or in any manner whatsoever, sold,
 transferred, assigned or encumbered any right, title, interest or claim arising out of or in any way
 whatsoever pertaining to the Action, including without limitation, any claim for benefits, proceeds or
 value under the Action, and that Class Representatives are not aware of anyone other than themselves
 claiming any interest, in whole or in part, in the claims that they are releasing under the Settlement
 Agreement or in any benefits, proceeds or values in the claims that they are releasing under the
 Settlement Agreement. Class Members submitting a Frame Replacement Reimbursement Claim
 Form shall represent and warrant therein that they are the sole and exclusive owner of all claims that
 they personally are releasing under the Settlement Agreement and that they have not assigned,
 pledged, or in any manner whatsoever, sold, transferred, assigned or encumbered any right, title,
 interest or claim arising out of or in any way whatsoever pertaining to the Action or the Related
 Action, including without limitation, any claim for benefits, proceeds or value under the Action or the
 Related Action, and that such Class Member(s) are not aware of anyone other than themselves
 claiming any interest, in whole or in part, in the claims that they are releasing under the Settlement
 Agreement or in any benefits, proceeds or values in the claims that they are releasing under the
 Settlement Agreement.


          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                                   19
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  95 of 45
                                                                   193ofPageID #: 1050
                                                                         122 Page  ID
                                     #:1574
 J. Without in any way limiting its scope, and, except to the extent otherwise specified in the
 Agreement, this Release covers by example and without limitation, any and all claims for attorneys’
 fees, costs, expert fees, or consultant fees, interest, or litigation fees, costs or any other fees, costs,
 and/or disbursements incurred by Class Counsel, Plaintiffs’ Counsel, Class Representatives or Class
 Members who claim to have assisted in conferring the benefits under this Settlement Agreement upon
 the Class.

 K. In consideration for the Settlement Agreement, Toyota and its past or present officers, directors,
 employees, agents, attorneys, predecessors, successors, affiliates, subsidiaries, divisions, and assigns
 shall be deemed to have, and by operation of the Final Order shall have, released Plaintiffs’ Counsel,
 Class Counsel and each current and former Class Representatives from any and all causes of action
 that were or could have been asserted pertaining solely to the conduct in filing and prosecuting the
 litigation or in settling the Action.

 L. Class Representatives, Plaintiffs’ Counsel and any other attorneys who receive attorneys’ fees and
 costs from this Settlement Agreement acknowledge that they have conducted sufficient independent
 investigation and discovery to enter into this Settlement Agreement and, by executing this Settlement
 Agreement, state that they have not relied upon any statements or representations made by the
 Released Parties or any person or entity representing the Released Parties, other than as set forth in this
 Settlement Agreement.

 M. The Parties specifically understand that there may be further pleadings, discovery requests and
 responses, testimony, or other matters or materials owed by the Parties pursuant to existing pleading
 requirements, discovery requests, or pretrial rules, procedures, or orders, and that, by entering into this
 Settlement Agreement, the Parties expressly waive any right to receive, hear, or inspect such
 pleadings, testimony, discovery, or other matters or materials.

 N. Nothing in this Release shall preclude any action to enforce the terms of the Settlement
 Agreement, including participation in any of the processes detailed herein.

 O. Class Representatives and Class Counsel hereby agree and acknowledge that the provisions of
 this Release together constitute an essential and material term of the Settlement Agreement and shall
 be included in any Final Judgment and Final Order entered by the Court.

         “Released Parties” or “Released Party” means any Toyota entity, including, but not limited to,
 Toyota Motor Corporation, Toyota Motor Sales, U.S.A., Inc., Toyota Motor North America, Inc.,
 Toyota Motor Engineering and Manufacturing North America, Inc., New United Motor
 Manufacturing, Inc., Toyota Motor Manufacturing, Texas, Inc., Toyota Motor Manufacturing Indiana,
 Toyota Motor Manufacturing Baja California, Toyota Auto Body California and each of their past,
 present and future parents, predecessors, successors, spin-offs, assigns, holding companies,
 joint-ventures and joint-venturers, partnerships and partners, members, divisions, stockholders,
 bondholders, subsidiaries, related companies, affiliates, officers, directors, employees, associates,

          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                                     20
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  96 of 46
                                                                   193ofPageID #: 1051
                                                                         122 Page  ID
                                     #:1575
 dealers, representatives, suppliers, vendors, advertisers, service providers, distributors and
 sub-distributors, agents, attorneys, administrators and advisors. The Parties expressly acknowledge
 that each of the foregoing is included as a Released Party even though not identified by name herein.




          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                                  21
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  97 of 47
                                                                   193ofPageID #: 1052
                                                                         122 Page  ID
                                     #:1576



                               Appendix B – Claim Form




          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                         22
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  98 of 48
                                                                   193ofPageID #: 1053
                                                                         122 Page  ID
                                     #:1577
               Appendix C – Request for Exclusion/Request to Opt Out Form




          QUESTIONS? CALL TOLL FREE [PHONE NUMBER] OR VISIT [WEBSITE]
  PLEASE CONTINUE TO CHECK THE WEBSITE AS IT WILL BE PERIODICALLY UPDATED
             PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT

                                          23
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document  Filed Filed
                                             11/17/16   Page Page
                                                   11/15/16  99 of 49
                                                                   193ofPageID #: 1054
                                                                         122 Page  ID
                                     #:1578




         EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 100
                                             Filed 11/15/16 Pageof50
                                                                   193
                                                                     of PageID #: 1055
                                                                        122 Page   ID
                                     #:1579


   1
   2
   3                         UNITED STATES DISTRICT COURT
   4                        CENTRAL DISTRICT OF CALIFORNIA
   5                                 WESTERN DIVISION
   6
   7
       BRIAN WARNER, KENNETH
                                                    No. 2:15-cv-02171-FMO-(FFMx)
   8   MACLEOD, MICHAEL MEADE,
       MICHAEL WATSON, JAMES
   9                                                [PROPOSED] ORDER GRANTING
       FULLER, and DALE FRANQUET,
                                                    PRELIMINARY APPROVAL OF
  10   individually and on behalf of all            CLASS SETTLEMENT,
       others similarly situated,                   CERTIFYING SETTLEMENT
  11                                                CLASS, DIRECTING NOTICE TO
       Plaintiffs,
                                                    THE CLASS AND SCHEDULING
  12                                                FAIRNESS HEARING.
       v.
  13
  14 TOYOTA MOTOR SALES, U.S.A.,
     INC., a California corporation,
  15 Defendant.
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
                                         {00111522.V1}– 1 –
  28
       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                           EXHIBIT 5_____
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 101
                                             Filed 11/15/16 Pageof51
                                                                   193
                                                                     of PageID #: 1056
                                                                        122 Page   ID
                                     #:1580


   1            WHEREAS, this matter has come before the Court pursuant to Plaintiffs’ and
   2 Defendant’s Joint Motion for Entry of an Order Granting Preliminary Approval of
   3
       Class Action Settlement and Issuance of Related Orders (the “Motion”);
   4
                WHEREAS, the Court finds that it has jurisdiction over the Action and the
   5
       Related Action and each of the parties for purposes of settlement and asserts
   6
   7 jurisdiction over the Class Members for purposes of effectuating this settlement and
   8 releasing their claims (all capitalized terms as defined in the Settlement Agreement
   9 attached to the Joint Motion as Exhibit 2); and
  10
                WHEREAS, this Court has considered all of the submissions related to the
  11
       Motion and is otherwise fully advised in the premises;
  12
                IT IS HEREBY ORDERED AS FOLLOWS:
  13
  14       I.        PRELIMINARY APPROVAL OF SETTLEMENT AGREEMENT

  15            1.    The terms of the Settlement Agreement dated [MONTH] __, 2016,
  16 including all exhibits thereto (the “Settlement Agreement”), which is attached to the
  17
       Motion as Exhibit 2, are preliminarily approved as fair, reasonable and adequate, are
  18
       sufficient to warrant sending notice to the Class, and are subject to further consideration
  19
       thereof at the Fairness Hearing referenced below. This Order incorporates herein the
  20
  21 Settlement Agreement, and all of its exhibits and related documents. Unless otherwise
  22 provided herein, the terms defined in the Settlement Agreement shall have the same
  23 meanings in this Order.        The Settlement Agreement was entered into only after
  24
       extensive arm’s length negotiations by experienced counsel and with the assistance and
  25
       oversight of Special Master Patrick A. Juneau. The Court finds that the settlement
  26
       embodied in the Settlement Agreement is sufficiently within the range of
  27
  28                                           {00111522.V1}– 2 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 102
                                             Filed 11/15/16 Pageof52
                                                                   193
                                                                     of PageID #: 1057
                                                                        122 Page   ID
                                     #:1581


   1 reasonableness so that notice of the settlement should be given as provided in the
   2 Settlement Agreement and this Order. In making this determination, the Court has
   3
       considered the current posture of this litigation and the risks and benefits to the Parties
   4
       involved in both settlement of these claims and continuation of the litigation.
   5
         II.        THE CLASS, CLASS REPRESENTATIVES AND CLASS COUNSEL
   6
   7           2.     The Court certifies the following Class for settlement purposes only (the

   8 “Class”): all persons, entities or organizations who, at any time as of or before the entry
   9 of this Order, own or owned, purchase(d) or lease(d) Subject Vehicles distributed for
  10
       sale or lease in any of the fifty States, the District of Columbia, Puerto Rico and all other
  11
       United States territories and/or possessions. Excluded from the Class are: (a) Toyota,
  12
       its officers, directors and employees; its affiliates and affiliates’ officers, directors and
  13
  14 employees; its distributors and distributors’ officers, directors and employees; and
  15 Toyota Dealers and Toyota Dealers’ officers and directors; (b) Plaintiffs’ Counsel; (c)
  16 judicial officers and their immediate family members and associated court staff
  17
       assigned to this case; and (d) persons or entities who or which timely and properly
  18
       excluded themselves from the Class as provided in this Settlement Agreement.
  19
               3.     The “Subject Vehicles” are listed in Exhibit 7 to the Settlement
  20
  21 Agreement, which is expressly incorporated in this Order.
  22           4.     The Court finds, for settlement purposes only and conditioned upon the
  23 entry of this Order and the Final Order and Final Judgment, the terms of the Settlement
  24
       Agreement, and the occurrence of the Final Effective Date, that the Class meets all the
  25
       applicable requirements of FED. R. CIV. P. 23(a) and (b)(3), and hereby provisionally
  26
       certifies the Class for settlement purposes only. The Court preliminarily finds, in the
  27
  28                                            {00111522.V1}– 3 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 103
                                             Filed 11/15/16 Pageof53
                                                                   193
                                                                     of PageID #: 1058
                                                                        122 Page   ID
                                     #:1582


   1 specific context of this Settlement Agreement, that: (a) the number of Class Members is
   2 so numerous that their joinder in one lawsuit would be impractical; (b) there are some
   3
       questions of law or fact common to the Class; (c) the claims of Class Representatives
   4
       are typical of the claims of the Class Members they seek to represent; (d) the Class
   5
       Representatives have fairly and adequately represented the interests of the Class and the
   6
   7 Class Representatives have retained experienced counsel to represent them and the
   8 Class - Timothy G. Blood, Paula R. Brown and Thomas Joseph O’Reardon, II of Blood
   9 Hurst and O’Reardon LLP and Ben Barnow and Erich P. Schork of Barnow and
  10
       Associates P.C., whom the Court finds have satisfied the requirements of Fed. R. Civ.
  11
       P. 23(a)(4) and 23(g); (e) the questions of law and fact common to the Class, as pertains
  12
       to consideration of the Settlement Agreement, predominate over any questions
  13
  14 affecting any individual Class Member; and (f) a class action is superior to the other
  15 available methods for the fair and efficient adjudication of the controversy through
  16 settlement.
  17
             5.     The Court designates the following plaintiffs as Class Representatives:
  18
       Brian Warner, Ryan Burns, Kenneth Macleod, Michael Meade, Michael Watson, James
  19
       Fuller, James M. Good, and Dale Franquet.
  20
  21         6.     The Court further finds that the following counsel fairly and adequately

  22 represented, and continue to so represent, the interests of the Class in all regards,
  23 including for settlement purposes and hereby appoints them as counsel for the Class
  24
       pursuant to FED. R. CIV. P. 23(g):
  25
                                       Ben Barnow
  26                                   Barnow and Associates PC
                                       1 North LaSalle Street Suite 4600
  27                                   Chicago, IL 60602
  28                                           {00111522.V1}– 4 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 104
                                             Filed 11/15/16 Pageof54
                                                                   193
                                                                     of PageID #: 1059
                                                                        122 Page   ID
                                     #:1583


   1
                                       Timothy G Blood
   2                                   Blood Hurst and O'Reardon LLP
                                       701 B Street Suite 1700
   3                                   San Diego, CA 92101
   4
             7.    If the Settlement Agreement is not finally approved by the Court, or for
   5
       any reason the Final Order and Final Judgment are not entered as contemplated in the
   6
   7 Settlement Agreement, or the Settlement Agreement is terminated pursuant to its terms
   8 for any reason or the Final Effective Date does not occur for any reason, then:
   9               (a)    All orders and findings entered in connection with the Settlement
  10
       Agreement shall become null and void and have no force or effect whatsoever, shall not
  11
       be used or referred to for any purposes whatsoever, and shall not be admissible or
  12
       discoverable in this or any other proceeding;
  13
  14               (b)    The provisional certification of the Class pursuant to this Order shall

  15 be vacated automatically and the Actions shall proceed as though the Class had never
  16 been certified;
  17
                   (c) Nothing contained in this Order is to be construed as a presumption,
  18
     concession or admission by or against Toyota or Class Representatives of any default,
  19
     liability or wrongdoing as to any facts or claims alleged or asserted in the Action and the
  20
  21 Related Action, or in any action or proceeding, including but not limited to, factual or
  22 legal matters relating to any effort to certify the Action and the Related Action or any
  23 Action as a class action;
  24
                  (d) Nothing in this Order pertaining to the Settlement Agreement,
  25
     including any of the documents or statements generated or received pursuant to the
  26
     claims administration process, shall be used as evidence in any further proceeding in the
  27
  28                                          {00111522.V1}– 5 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 105
                                             Filed 11/15/16 Pageof55
                                                                   193
                                                                     of PageID #: 1060
                                                                        122 Page   ID
                                     #:1584


   1 Action and the Related Action, including, but not limited to, motions or proceedings
   2 seeking treatment of the Action and the Related Action or any Action as a class action;
   3
                    (e)   All of the Court’s prior Orders having nothing whatsoever to do
   4
       with class certification or the Settlement Agreement shall, subject to this Order, remain
   5
       in force and effect; and
   6
   7                (f)   The terms in section X.D of the Settlement Agreement shall survive.

   8                         III.   NOTICE TO CLASS MEMBERS
   9         8.     The Court has considered the Class Notice in the Settlement Agreement
  10
       and finds that the Class Notice and methodology as described in the Settlement
  11
       Agreement and in the Declaration of the Settlement Notice Administrator: (a) meet the
  12
       requirements of due process and FED. R. CIV. P. 23(c) and (e); (b) constitutes the best
  13
  14 notice practicable under the circumstances to all persons entitled to notice; and (c)
  15 satisfies the Constitutional requirements regarding notice. In addition, the forms of
  16 notice: (a) apprise Class Members of the pendency of the Action and the Related
  17
       Action, the terms of the proposed settlement, their rights and deadlines under the
  18
       settlement; (b) are written in simple terminology; (c) are readily understandable by
  19
       Class Members; and (d) comply with the Federal Judicial Center’s illustrative class
  20
  21 action notices. The Court approves the Class Notice and methodology as described in
  22 the Settlement Agreement and in the Declaration of the Settlement Notice
  23 Administrator in all respects, and it hereby orders that notice be commenced no later
  24
       than [DATE]. The Court understands, however, that the Parties must obtain Toyota
  25
       customer data from a third-party (as provided below) before distribution of the Direct
  26
       Mail Notice, and that the time within which that data can be obtained is not certain.
  27
  28                                           {00111522.V1}– 6 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 106
                                             Filed 11/15/16 Pageof56
                                                                   193
                                                                     of PageID #: 1061
                                                                        122 Page   ID
                                     #:1585


   1         The Settlement Notice Administrator shall send the Direct Mail Notice,
   2 substantially in the form attached to the Settlement Agreement as Exhibit 6, by U.S.
   3
       Mail, proper postage prepaid to current and former registered owners of Subject
   4
       Vehicles, as identified by data to be forwarded to the Settlement Notice Administrator
   5
       by R.L. Polk & Co. The mailings of the Direct Mail Notice to the persons and entities
   6
   7 identified by R.L. Polk & Co shall be substantially completed by [DATE]. The Parties
   8 are hereby ordered to obtain such vehicle registration information through R.L. Polk &
   9 Co., which specializes in obtaining such information, from, inter alia, the applicable
  10
       Departments of Motor Vehicles.
  11
             The Court further approves, as to form and content, the Direct Mail Notice, the
  12
       Long-Form Notice, and the Publication Notice.         The Court further approves the
  13
  14 establishment of an internet website for the settlement. The website shall include
  15 documents relating to the Settlement Agreement, orders of the Court relating to the
  16 Settlement Agreement and such other information as Toyota and Class Counsel
  17
       mutually agree would be beneficial to potential Class Members. Toyota shall pay the
  18
       costs of the Class Notice in accordance with the Settlement Agreement, with the
  19
       potential for partial or complete reimbursement as set forth in the Settlement
  20
  21 Agreement. The Parties are hereby authorized to establish the means necessary to
  22 implement the notice and other terms of the Settlement Agreement.
  23         9.    The Court hereby appoints Jeanne Finegan of Heffler Claims Group to be
  24
       the Settlement Notice Administrator.      Responsibilities of the Settlement Notice
  25
       Administrator are found in the Settlement Agreement. Not later than 20 days before the
  26
       date of the Fairness Hearing, the Settlement Notice Administrator shall file with the
  27
  28                                         {00111522.V1}– 7 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 107
                                             Filed 11/15/16 Pageof57
                                                                   193
                                                                     of PageID #: 1062
                                                                        122 Page   ID
                                     #:1586


   1 Court: (a) a list of those persons who have opted out or excluded themselves from the
   2 settlement; and (b) the details outlining the scope, methods and results of the Class
   3
       Notice.
   4
                   IV.   REQUEST FOR EXCLUSION FROM THE CLASS
   5
             10.   Class Members who wish to be excluded from the Class must mail a
   6
   7 written request for exclusion, using either Exhibit 10 to the Settlement Agreement,
   8 which shall be available on the settlement website and attached to the Long Form
   9 Notice, or with a hand-written letter mailed to the Settlement Notice Administrator
  10
       postmarked no later than [DATE]. Any request for exclusion must be signed by the
  11
       potential Class Member and contain the following information: the name and address
  12
       of the Class Member; the model year, make, and vehicle identification number (“VIN
  13
  14 number”) of the Class Member’s Subject Vehicle(s); the Class members’ printed name,
  15 signature, and date of signature and a statement that the Class Member wants to be
  16 excluded.
  17
             11.   Potential Class Members who timely and validly exclude themselves from
  18
       the Class shall not be bound by the Settlement Agreement, the settlement, or the Final
  19
       Order and Final Judgment. If a potential Class Member files a request for exclusion,
  20
  21 he/she/it may not assert an objection to the Settlement Agreement. The Settlement
  22 Notice Administrator shall provide copies of any requests for exclusion to Class
  23 Counsel and Toyota’s Counsel as provided in the Settlement Agreement.
  24
             12.   Any potential Class Member that does not properly and timely exclude
  25
       himself/herself/itself from the Class shall remain a Class Member and shall be bound by
  26
       all the terms and provisions of the Settlement Agreement and the settlement and the
  27
  28                                          {00111522.V1}– 8 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 108
                                             Filed 11/15/16 Pageof58
                                                                   193
                                                                     of PageID #: 1063
                                                                        122 Page   ID
                                     #:1587


   1 Final Order and Final Judgment, whether or not such Class Member objected to the
   2 Settlement Agreement or submits a Frame Replacement Reimbursement Claim Form(s)
   3
       or otherwise avails himself/herself/itself of the benefits available in the Settlement
   4
       Agreement.
   5
       V.    OBJECTIONS
   6
   7         13.    Any Class Member who has not requested exclusion and who wishes to

   8 object to the fairness, reasonableness, or adequacy of the Settlement Agreement, or to
   9 the requested award of Attorneys’ Fees, Costs, and Expenses, or the requested incentive
  10
       awards to the Class Representatives, must file with the Clerk of Court on or before
  11
       [DATE] a written statement of his/her/its objection. To be considered by the Court, any
  12
       objection must be in writing and include the following information: (a) a heading which
  13
  14 refers to the Action, Brian Warner et al v. Toyota Motor Sales, U.S.A., Inc., No.
  15 2:15-cv-02171 (C.D. Cal.); (b) the objector’s full name, telephone number, and address
  16 (the objector’s actual residential address must be included); (c) if represented by
  17
       counsel, the full name, telephone number, and address of all counsel; (d) all of the
  18
       reasons for his or her objection; (e) whether the objector intends to appear at the
  19
       Fairness Hearing on his or her own behalf or through counsel; (f) a statement that the
  20
  21 objector is a Class Member, including the make, model, year and VIN(s) of the Subject
  22 Vehicle(s); and (g) the objector’s dated, handwritten signature (an electronic signature
  23 or attorney’s signature are not sufficient). Any documents supporting the objection
  24
       must also be attached to the objection. If any testimony is to be given in support of the
  25
       objection, the names of all persons who will testify must be set forth in the objection.
  26
             No objection that fails to satisfy these requirements and any other requirements
  27
  28                                           {00111522.V1}– 9 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 109
                                             Filed 11/15/16 Pageof59
                                                                   193
                                                                     of PageID #: 1064
                                                                        122 Page   ID
                                     #:1588


   1 found in the Long-Form Notice shall be considered by the Court. For mailing
   2 objections, the Court’s address is as follows:
   3
                   Clerk of Court
   4               United States District Court
                   Central District of California
   5               350 West 1st Street
                   Los Angeles, CA 90012
   6
                                  VI.    FAIRNESS HEARING
   7
   8        14.    The Fairness Hearing will be held on [[DATE] at [TIME] Pacific Time]

   9 before this Court, at the United States District Court, Central District of California, 312
  10 North Spring Street, Los Angeles, CA 90012, to consider, inter alia, the following: (a)
  11
     whether the Class should be certified for settlement purposes; (b) whether the
  12
     settlement and Settlement Agreement should be finally approved as fair, reasonable and
  13
     adequate; and (c) Class Counsel’s application for attorneys’ fees, costs and expenses
  14
  15 (“Fee Request”) and the Class Representatives’ incentive awards.
  16        15.    On or before [DATE], Class Counsel shall file and Defendant may file
  17 with the Court any memoranda or other materials in support of final approval of the
  18
     Settlement Agreement and also on or before [DATE], Class Counsel shall file any Fee
  19
     Request with the Court. Any reply briefs relating to final approval of the Settlement
  20
     Agreement or Class Counsel’s Fee Request or responses to objections to the Settlement
  21
  22 Agreement shall be filed on or before [DATE].
  23        16.    Any Class Member who has not excluded himself/herself/itself from the
  24 Class may appear at the Fairness Hearing in person or by counsel (at his/her/its own
  25
     expense) and may be heard, to the extent allowed by the Court, either in support of or in
  26
     opposition to the Settlement Agreement and/or the Fee Request. However, no Class
  27
  28                                         {00111522.V1}– 10 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 110
                                             Filed 11/15/16 Pageof60
                                                                   193
                                                                     of PageID #: 1065
                                                                        122 Page   ID
                                     #:1589


   1 Member shall be heard at the Fairness Hearing unless such person/entity files a “Notice
   2 of Intent to Appear in Brian Warner et. al v. Toyota Motor Sales, U.S.A., Inc” with the
   3
       Clerk of Court on or before [DATE], so that it is received by [DATE]. In the notice, the
   4
       Class Member must include his/her/its name, address, telephone number, the make,
   5
       model year, and VIN number of his/her/its Subject Vehicle(s), and a signature.
   6
   7                Clerk of Court
                    United States District Court
   8                Central District of California
                    411 West Fourth Street
   9                Santa Ana, CA 92701-4516

  10         Class Members who intend to object at the Fairness Hearing must also have

  11 followed the procedures for objecting in writing as set forth in Paragraph 13. Any Class
  12 Member who has requested permission to speak must be present at the start of the
  13
       Fairness hearing at [__ a/p.m.] on [DATE].
  14
             17.    The date and time of the Fairness Hearing shall be subject to adjournment
  15
       by the Court without further notice to the Class Members other than that which may be
  16
  17 posted at the Court, on the Court’s website, and/or the settlement website at
  18 www.[settlement website].com.
  19         18.    Any Class Member may hire an attorney at his/her/its own expense to
  20
       appear in the Action. Such attorney shall serve a Notice of Appearance on Class
  21
       Counsel and Toyota’s Counsel listed in Paragraph 16 above so that it is received on or
  22
       before [DATE] and filed with the Court on or before [DATE].
  23
  24                              VII. STAY OF LITIGATION

  25         19.    Pending the Fairness Hearing and the Court’s decision whether to finally
  26 approve the Settlement Agreement, all proceedings in the Action, other than
  27
  28                                          {00111522.V1}– 11 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 111
                                             Filed 11/15/16 Pageof61
                                                                   193
                                                                     of PageID #: 1066
                                                                        122 Page   ID
                                     #:1590


   1 proceedings necessary to carry out or enforce the Settlement Agreement or this Order,
   2 are stayed and suspended, until further order from this Court
   3
             20.    Pending the Fairness Hearing and the Court’s decision whether to finally
   4
       approve the Settlement Agreement, no Class Representative or Class Member, either
   5
       directly, representatively, or in any other capacity (other than a Class Member who
   6
   7 validly and timely elects to be excluded from the Class), shall commence, continue or
   8 prosecute against any of the Released Parties (as that term is defined in the Settlement
   9 Agreement) any action or proceeding in any court or tribunal asserting any of the
  10
       matters, claims or causes of action that are to be released in the Settlement Agreement.
  11
       In addition, all Class Representatives, Class Members and all persons in active concert
  12
       or participation with Class Members are preliminarily barred and enjoined from
  13
  14 organizing Class Members who have not been excluded from the Class into a separate
  15 class for purposes of pursuing, as a purported class action, any lawsuit based on or
  16 relating to the claims and causes of action in the complaint in the Action or Related
  17
       Action, or the facts and circumstances relating thereto or the release in the Settlement
  18
       Agreement. Pursuant to 28 U.S.C. §§ 1651(a) and 2283, the Court finds that issuance of
  19
       this preliminary injunction is necessary and appropriate in aid of the Court’s continuing
  20
  21 jurisdiction and authority over the Action. Upon final approval of the Settlement
  22 Agreement, all Class Representatives and Class Members who do not timely and
  23 validly exclude themselves from the Class shall be forever enjoined and barred from
  24
       asserting any of the matters, claims or causes of action released pursuant to the
  25
       Settlement Agreement against any of the Released Parties, and any such Class
  26
       Representative and Class Member shall be deemed to have forever released any and all
  27
  28                                          {00111522.V1}– 12 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 112
                                             Filed 11/15/16 Pageof62
                                                                   193
                                                                     of PageID #: 1067
                                                                        122 Page   ID
                                     #:1591


   1 such matters, claims, and causes of action as provided for in the Settlement Agreement.
   2                                VIII. CONFIDENTIALITY
   3
             21.    Any information received by the, Settlement Notice Administrator, or any
   4
       other person in connection with the Settlement Agreement that pertains to personal
   5
       information regarding a particular Class Member (other than objections or requests for
   6
   7 exclusion) shall not be disclosed to any other person or entity other than Class Counsel,
   8 Toyota, Toyota’s Counsel, the Court and as otherwise provided in the Settlement
   9 Agreement.
  10
                                   IX.    OTHER PROVISIONS
  11
             22.    The Parties are authorized to take all necessary and appropriate steps to
  12
       establish the means necessary to implement the Settlement Agreement.
  13
  14         23.    The deadlines set forth in this Order, including, but not limited to,

  15 adjourning the Fairness Hearing, may be extended by Order of the Court, for good
  16 cause shown, without further notice to the Class Members – except that notice of any
  17
       such extensions shall be included on the settlement website [website]. Class Members
  18
       should check the settlement website regularly for updates and further details regarding
  19
       extensions of these deadlines.
  20
  21         24.    Class Counsel and Toyota’s Counsel are hereby authorized to use all

  22 reasonable procedures in connection with approval and administration of the Settlement
  23 Agreement that are not materially inconsistent with this Order or the Settlement
  24
       Agreement, including making, without further approval of the Court, minor changes to
  25
       the Settlement Agreement, to the form or content of the Class Notice or to any other
  26
       exhibits that the parties jointly agree are reasonable or necessary.
  27
  28                                           {00111522.V1}– 13 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 113
                                             Filed 11/15/16 Pageof63
                                                                   193
                                                                     of PageID #: 1068
                                                                        122 Page   ID
                                     #:1592


   1         25.    The Court hereby appoints Patrick A. Juneau and Michael Juneau as
   2 Settlement Claims Administrators pursuant to the terms of the Settlement Agreement.
   3
             26.    This Court shall maintain continuing jurisdiction over these settlement
   4
       proceedings to assure the effectuation thereof for the benefit of the Class.
   5
             SO ORDERED this ____ day of [MONTH] 2016.
   6
   7
                                        ____________________________
   8                                    Honorable Fernando M. Olguin
   9                                    Judge of the United States District Court
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28                                           {00111522.V1}– 14 –

       [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS SETTLEMENT, CERTIFYING
       SETTLEMENT CLASS, DIRECTING NOTICE TO THE CLASS AND SCHEDULING FAIRNESS HEARING
                                                EXHIBIT 5
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 114
                                             Filed 11/15/16 Pageof64
                                                                   193
                                                                     of PageID #: 1069
                                                                        122 Page   ID
                                     #:1593




          EXHIBIT 6
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 115
                                             Filed 11/15/16 Pageof65
                                                                   193
                                                                     of PageID #: 1070
                                                                        122 Page   ID
                                     #:1594


                                   Direct Mail Notice to Class Members

   Front:

   Settlement Notice Administrator in
   Brian Warner et al. v. Toyota
   Motor Sales, U.S.A., Inc., (C.D. Cal.)
   [Address]
   [City, State ZIP Code]

                                    [Name]
                                    [Address]
                                    [City, State ZIP Code]

   Important Legal Notice from the United States District Court for the Central District of
   California


   Back:

       If you own or lease or previously owned or leased model year 2005-2010 Toyota Tacoma vehicles,
       2007-2008 Toyota Tundra vehicles or 2005-2008 Toyota Sequoia vehicles (the “Subject Vehicles”),
       you may be a class member and may be entitled to relief from a proposed class action settlement.
   A proposed settlement has been reached in a class action alleging that the frames of the Subject
   Vehicles lack adequate rust protection, resulting in premature rust corrosion of the vehicles’
   frames. Toyota denies that it has violated any law, denies that it engaged in any and all
   wrongdoing and denies that the frames of the Subject Vehicles are defective. The parties agreed
   to resolve these matters before these issues were decided by the Court. The purpose of this
   notice is to inform you of the class action and the proposed settlement so that you may
   decide what to do.

   Records available to Toyota indicate that you may be a class member for the vehicle for which
   the last four digits of the Vehicle Identification Number (VIN) are [last four digits]. If you are
   a Class Member, your rights may be affected, even if you take no action. You may be
   required to take action in order to get money, obtain other benefits and/or to protect your
   rights. This settlement does not involve claims of personal injury or property damage to
   any property other than the Subject Vehicles.

   If you are a Class Member who still owns or leases a Subject Vehicle, you may participate in the
   free Frame Inspection and Replacement Program. At no cost, your vehicle’s frame will be
   inspected and, under certain circumstances, Corrosion-Resistant Compounds (“CRC”) will be
   applied, pursuant to the Inspection Protocol and, if necessary, your vehicle’s frame and
   associated parts will be replaced, if the rust perforation satisfies the Rust Perforation Standard.
   At your request, Toyota will provide you with a Loaner Vehicle while your vehicle’s frame is
   being replaced.

   .
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 116
                                             Filed 11/15/16 Pageof66
                                                                   193
                                                                     of PageID #: 1071
                                                                        122 Page   ID
                                     #:1595


   If you previously paid to have the frame of a Subject Vehicle replaced for rust perforation that
   satisfies the Rust Perforation Standard, you can be reimbursed for your out-of-pocket expenses if
   they were incurred prior to [Initial Notice Date] and were not otherwise reimbursed. You must
   timely submit a Claim Form to be reimbursed for these previously incurred expenses.

   If you think you may be a Class Member, you should immediately obtain the Long Form Notice
   for more information by: (1) going to www.[website].com; (2) calling, toll-free, at [number];
   and/or (3) writing to Settlement Notice Administrator, [address, city, state ZIP code]. Para
   vereste aviso en español, visita www.[website].com. Key deadlines are [date] for requests to be
   excluded and objections, and [date] for the Fairness Hearing. The deadline to submit Claim
   Forms is sixty (60) days after the Court issues the Final Order and Final Judgment , which will
   occur, if approved, after the Fairness Hearing. There are other deadlines, too. All deadlines are
   available (and may be updated) at www.[website].com.

   The Frame Inspection and Replacement Program will provide prospective coverage for frame
   replacement in accordance with the Rust Perforation Standard and the Inspection Protocol. If
   warranted, the Frame Inspection and Replacement Program will provide a replacement of the
   frame and associated parts that are presented during the Frame Inspection and Replacement
   Program. The duration of prospective coverage will begin following the date of Final Order and
   Final Judgment and will be calculated by the longer of 12 years from the date that the Subject
   Vehicle is originally sold or leased or, if the Class Member has owned or leased the vehicle
   beyond 12 years from date of First Use, 1 year from the date of entry of the Final Order and
   Final Judgment. Salvaged vehicles and vehicles with flood-damaged titles are not eligible for this
   benefit. Class Member, you must consult www.[website].com to deter

   If you are a class member, you must consult www.[website].com to determine how this settlement
                                           may affect you.




                                                 -2-
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 117
                                             Filed 11/15/16 Pageof67
                                                                   193
                                                                     of PageID #: 1072
                                                                        122 Page   ID
                                     #:1596




          EXHIBIT 7
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 118
                                             Filed 11/15/16 Pageof68
                                                                   193
                                                                     of PageID #: 1073
                                                                        122 Page   ID
                                     #:1597


                                     EXHIBIT 7

                            LIST OF SUBJECT VEHICLES



                           Model           Model Years

                           Tacoma          2005-2010

                           Tundra          2007-2008

                           Sequoia         2005-2008




                                                       US_ACTIVE-127704739.2-EFGLADBA 11/09/2016 10:08 AM
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 119
                                             Filed 11/15/16 Pageof69
                                                                   193
                                                                     of PageID #: 1074
                                                                        122 Page   ID
                                     #:1598




          EXHIBIT 8
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 120
                                             Filed 11/15/16 Pageof70
                                                                   193
                                                                     of PageID #: 1075
                                                                        122 Page   ID
                                     #:1599


                                           Publication Notice

                   If You Currently or Previously Owned, Purchased, or Leased
                       Certain Toyota Tacoma, Tundra or Sequoia Vehicles,
                      You Could Get Benefits from a Class Action Settlement.

   There is a proposed settlement in a class action lawsuit against Toyota Motor Sales, U.S.A., Inc.
   (“Toyota”) concerning certain Toyota Tacoma, Tundra and Sequoia vehicles. Those included in
   the settlement have legal rights and options that must be exercised by certain deadlines.

   What is the lawsuit about?

   The lawsuit alleges that the frames of certain Toyota Tacoma, Tundra and Sequoia vehicles lack
   adequate rust protection, resulting in premature rust corrosion of the vehicles’ frames. Toyota
   denies that it has violated any law, denies that it engaged in any and all wrongdoing, and denies
   that the Tacoma, Tundra and Sequoia vehicles’ frames are defective. The Court did not decide
   which side was right. Instead, the parties decided to settle.

   Am I Included in the proposed settlement?

   Subject to certain limited exclusions, you are included if as of [date],

                 You own or owned, purchase(d), or lease(d) a Subject Vehicle that was
                 Distributed for sale or lease in any of the fifty States, the District of Columbia,
                  Puerto Rico or any of the territories or possession of the United States.
   The Subject Vehicles are Model Year 2005-2010 Toyota Tacoma, Model Year 2007-2008
   Toyota Tundra, and Model Year 2005-2008 Toyota Sequoia vehicles. The class includes
   persons, entities and/or organizations.

   This settlement does not involve claims of personal injury or property damage to any property
   other than the Subject Vehicles.

   What does the settlement provide?

   The proposed settlement provides for: a free Frame Inspection and Replacement Program
   through which Toyota Dealers will, upon your request, inspect the frames on the Subject
   Vehicles to determine whether your Subject Vehicle’s frame should be replaced. If the frame
   needs to be replaced because it satisfies the Rust Perforation Standard, replacement of the frame
   and associated parts will be at no cost to you. If the frame does not meet the criteria for frame
   replacement, under certain circumstances, the Toyota Dealer will apply Corrosion-Resistant
   Compounds (“CRC”) at no cost to you, pursuant to the Inspection Protocol. The settlement also
   reimburses Class Members who previously paid out-of-pocket for frame replacement due to rust
   perforation that satisfies the Rust Perforation Standard that were incurred prior to [Initial Notice
   Date] and that were not otherwise reimbursed.

   What are my options?
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 121
                                             Filed 11/15/16 Pageof71
                                                                   193
                                                                     of PageID #: 1076
                                                                        122 Page   ID
                                     #:1600


   Stay in the Class and receive settlement benefits. You can have your vehicle’s frame inspected
   or seek reimbursement for frame replacement costs you already paid for yourself, pursuant to the
   terms of the Settlement Agreement. The deadline to submit Claim Forms is sixty (60) days after
   the Court issues the Final Order and Final Judgment, which will occur, if approved, after the
   Fairness Hearing.

   If you do nothing, you will remain in the class and receive the benefits of the settlement, but will
   not be able to sue Toyota.

   You can exclude yourself by [date], if you don’t want to be part of the settlement. You won’t get
   any settlement benefits, but you keep the right to sue Toyota about the issues in the lawsuit.

   You can object to all or part of the settlement by [date], if you don’t exclude yourself.

   The full notice describes how to obtain settlement relief, exclude yourself, and object.

   The Court will hold a fairness hearing on [date] at [time] to (a) consider whether the proposed
   settlement is fair, reasonable, and adequate, and (b) decide the plaintiffs’ lawyers’ request for
   fees and costs of up to $[number] and expenses of up to $[number] and awards for the Class
   Representatives. You may appear at the hearing, but you are not required to and you may hire an
   attorney to appear for you, at your own expense.

   For more information or a claim form [1-000-000-0000 www.website.com].




                                                   -2-
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 122
                                             Filed 11/15/16 Pageof72
                                                                   193
                                                                     of PageID #: 1077
                                                                        122 Page   ID
                                     #:1601




          EXHIBIT 9
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 123
                                             Filed 11/15/16 Pageof73
                                                                   193
                                                                     of PageID #: 1078
                                                                        122 Page   ID
                                     #:1602


                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA



      BRIAN WARNER, KENNETH
      MAC LEOD; MICHAEL MEADE,                              Case No. 2:15-cv-02171-FMO-(FFMx)
      MICHAEL WATSON, JAMES
      FULLER, and DALE FRANQUET,                            DECLARATION OF JEANNE C.
      individually and on behalf of all                     FINEGAN, APR CONCERNING
      others similarly situated,                            PROPOSED CLASS MEMBER
      Plaintiffs,                                           NOTIFICATION

      v.

      TOYOTA MOTOR SALES, U.S.A.,
      INC., a California corporation,
      Defendant.




                        DECLARATION OF JEANNE C. FINEGAN, APR
              I, JEANNE C. FINEGAN declare as follows:


                                      INTRODUCTION
        1.    I am President of HF Media, LLC, Inc. (“HF”) a division of Heffler Claims Group
   LLC (“Heffler”).    This Declaration is based upon my personal knowledge as well as
   information provided to me by my associates and staff, including information reasonably
   relied upon in the fields of advertising media and communications.
        2.    Heffler and HF Media have been engaged by Defendant Toyota Motor Sales,
   U.S.A., Inc., with the consent of Plaintiffs, to develop and implement a proposed legal notice
   program (the “Notice Program”) as part of the parties’ proposed class action settlement. This
   program is highly targeted and well-designed to reach class members, employing a modern
   approach to notice taking into consideration direct mail, traditional, online display, native,
   social media and mobile media.


      Declaration of Jeanne C. Finegan, APR                                                    1
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 124
                                             Filed 11/15/16 Pageof74
                                                                   193
                                                                     of PageID #: 1079
                                                                        122 Page   ID
                                     #:1603


          3.   This Declaration describes my experience in designing and implementing notices
   and notice plans, as well as my credentials to opine on the overall adequacy of the notice
   effort. This Declaration will also describe the proposed Notice Plan and address why this
   comprehensive proposed Notice Plan is consistent with, and indeed exceeds, other similar
   court-approved best notice practicable notice plans and the requirement of Fed. Civ. P.
   23(c)(2)(B) and the Federal Judicial Center (“FJC”) guidelines1 for adequate notice.
          4.   Combined, the direct mail, media, including print and internet banner ads and
   social media, is estimated to reach more than 95 percent of the target audience, i.e., those
   who have owned or leased Toyota Tacoma, Sequoia, Tundra, the affected members of the
   Settlement Class (the “Class Members”), with an average frequency of 5 times.

                                       QUALIFICATIONS
          5.   My credentials that qualify me to provide an expert opinion include more 30 years
   of communications and advertising experience. I am the only Notice Expert accredited in
   Public Relations (APR) by the Universal Accreditation Board, a program administered by the
   Public Relations Society of America. Further, I have provided testimony before Congress on
   issues of notice. Also, I have lectured, published and been cited extensively on various
   aspects of legal noticing, product recall and crisis communications and have served the
   Consumer Product Safety Commission (CPSC) as an expert to determine ways in which the
   CPSC can increase the effectiveness of its product recall campaigns.
          6.   I have served as an expert, directly responsible for the design and implementation
   of hundreds of class action notice programs, some of which are the largest and most complex
   programs ever implemented in both the United States and in Canada. My work includes a
   wide range of class actions and regulatory and consumer matters that include product liability,
   construction defect, antitrust, asbestos, medical pharmaceutical, human rights, civil rights,
   telecommunications, media, environmental, securities, banking, insurance and bankruptcy.
          7.   Further, I have been at the forefront of modern notice, including plain language as
   noted in a RAND study2, and importantly, integrating digital media and social media into


      1
       Notice Checklist and Plain Language Guide (2010) (“Judges’ Class Action Notice and Claims Process
      Checklist and Plain Language Guide”).
      2 Deborah R. Hensler et al., CLASS ACTION DILEMAS, PURSUING PUBLIC GOALS FOR PRIVATE
      GAIN. RAND (2000).

      Declaration of Jeanne C. Finegan, APR                                                           2
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 125
                                             Filed 11/15/16 Pageof75
                                                                   193
                                                                     of PageID #: 1080
                                                                        122 Page   ID
                                     #:1604


   court approved legal notice programs such as:
                  •   Carter v Forjas Taurus S.S., Taurus International Manufacturing, Inc.,
                      Case No. 1:13-CV-24583 PAS (S.D. Fl. 2016);
                  • In re: Blue Buffalo Marketing and Sales Practices Litigation, No. 14-md-
                      02562-RWS (ED Mo. 2016);
                  • In re: TracFone Unlimited Service Plan Litigation, No. C-13-3440 EMC
                      (N.D.CA 2015), and;
                  • In re: Skechers Toning Shoes Products Liability Litigation, No. 3:11-MD-
                      2308-TBR (W.D. Ky. 2012).
        8.      As further reference, in evaluating the adequacy and effectiveness of my notice
   programs, courts have repeatedly recognized my work as an expert. For example, in:
          (a)      Carter v Forjas Taurus S.S., Taurus International Manufacturing, Inc.,
                   Case No. 1:13-CV-24583 PAS (S.D. Fl. 2016). In her Final Order and
                   Judgment Granting Plaintiffs Motion for Final Approval of Class Action
                   Settlement, the Honorable Patricia Seitz stated:
                “The Court considered the extensive experience of Jeanne C. Finegan and the
                notice program she developed. …There is no national firearms registry and
                Taurus sale records do not provide names and addresses of the ultimate
                purchasers… Thus the form and method used for notifying Class Members of the
                terms of the Settlement was the best notice practicable. …The court-approved
                notice plan used peer-accepted national research to identify the optimal
                traditional, online, mobile and social media platforms to reach the Settlement
                Class Members.”
        9.      Additionally, in January 20, 2016, Transcript of Class Notice Hearing, p. 5 Judge
   Seitz, gave accolades to Ms. Finegan, noting:
                “I would like to compliment Ms. Finegan and her company because I was quite
                impressed with the scope and the effort of communicating with the Class.”
          (b)      In Re: Blue Buffalo Company, Ltd., Marketing and Sales Practices
                   Litigation, Case No. 4:14-MD-2562 RWS (E.D. Mo. 2015), (Hearing for
                   Final Approval, May 19, 2016 transcript p. 49). During the Hearing for Final
                   Approval, the Honorable Rodney Sippel said:
                “It is my finding that notice was sufficiently provided to class members in the
                manner directed in my preliminary approval order and that notice met all
                applicable requirements of due process and any other applicable law and
                considerations.”
          (c)      In re: Skechers Toning Shoes Products Liability Litigation, No. 3:11-MD-
                   2308-TBR (W.D. Ky. 2012). In his Final Order and Judgment granting the

      Declaration of Jeanne C. Finegan, APR                                                    3
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 126
                                             Filed 11/15/16 Pageof76
                                                                   193
                                                                     of PageID #: 1081
                                                                        122 Page   ID
                                     #:1605


                   Motion for Preliminary Approval of Settlement, the Honorable Thomas B.
                   Russell stated:
                “… The comprehensive nature of the class notice leaves little doubt that, upon
                receipt, class members will be able to make an informed and intelligent decision
                about participating in the settlement.”
          (d)      Quinn v. Walgreen Co., Wal-Mart Stores Inc., 7:12 CV-8187-VB
                   (NYSD) (Jt Hearing for Final App, March. 5, 2015, transcript page 40-
                   41). During the Hearing on Final Approval of Class Action, the Honorable
                   Vincent L. Briccetti gave accolades to Ms. Finegan, noting:
                “The notice plan was the best practicable under the circumstances. … [and] the
                proof is in the pudding. … So the notice has reached a lot of people and a lot of
                people have made claims.”
          (e)      DeHoyos, et al. v. Allstate Ins. Co., No. SA-01-CA-1010 (W.D.Tx. 2001).
                   In the Amended Final Order and Judgment Approving Class Action
                   Settlement, the Honorable Fred Biery stated:
                “[T]he undisputed evidence shows the notice program in this case was developed
                and implemented by a nationally recognized expert in class action notice
                programs. … This program was vigorous and specifically structured to reach the
                African-American and Hispanic class members. Additionally, the program was
                based on a scientific methodology which is used throughout the advertising
                industry and which has been routinely embraced routinely [sic] by the Courts.
                Specifically, in order to reach the identified targets directly and efficiently, the
                notice program utilized a multi-layered approach which included national
                magazines; magazines specifically appropriate to the targeted audiences; and
                newspapers in both English and Spanish.”
        10.     Additionally, I have published extensively on various aspects of legal noticing,
   including the following publications and articles:
          (a)      Author, “Think All Internet Impressions are the Same? Think Again” –
                   Law360.com, New York (March 16, 2016).
          (b)      Author, “Why Class Members Should See An Online Ad More Than Once”
                   – Law360.com, New York (December 3, 2015).
          (c)      Author, ‘Being 'Media-Relevant' — What It Means And Why It Matters -
                   Law360.com, New York (September 11, 2013, 2:50 PM ET).
          (d)      Co-Author, “New Media Creates New Expectations for Bankruptcy Notice
                   Programs,” ABI Journal, Vol. XXX, No 9, November 2011.


      Declaration of Jeanne C. Finegan, APR                                                       4
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 127
                                             Filed 11/15/16 Pageof77
                                                                   193
                                                                     of PageID #: 1082
                                                                        122 Page   ID
                                     #:1606


         (e)     Quoted Expert, “Effective Class Action Notice Promotes Access to Justice:
                 Insight from a New U.S. Federal Judicial Center Checklist,” Canadian
                 Supreme Court Law Review, (2011), 53 S.C.L.R. (2d).
         (f)     Co-Author, with Hon. Dickran Tevrizian, “Expert Opinion: It’s More Than
                 Just a Report…Why Qualified Legal Experts Are Needed to Navigate the
                 Changing Media Landscape,” BNA Class Action Litigation Report, 12
                 CLASS 464, 5/27/11.
         (g)     Co-Author, with Hon. Dickran Tevrizian, “Your Insight: It’s More Than Just
                 a Report…Why Qualified Legal Experts Are Needed to Navigate the
                 Changing Media Landscape, TXLR, Vol. 26, No. 21, 5/26/2011.
         (h)     Author, Five Key Considerations for a Successful International Notice
                 Program, BNA Class Action Litigation Report, 4/9/10 Vol. 11, No. 7 p. 343.
         (i)     Quoted: Technology Trends Pose Novel Notification Issues for Class
                 Litigators, BNA Electronic Commerce and Law Report, 15, ECLR 109,
                 1/27/10.
         (j)     Author, Legal Notice: R U ready 2 adapt? BNA Class Action Litigation
                 Report, Vol. 10, No. 14, 7/24/2009, pp. 702-703.
         (k)     Author, On Demand Media Could Change the Future of Best Practicable
                 Notice, BNA Class Action Litigation Report, Vol. 9, No. 7, 4/11/2008, pp.
                 307-310.
         (l)     Quoted in, Warranty Conference: Globalization of Warranty and Legal
                 Aspects of Extended Warranty, Warranty Week, February 28, 2007,
                 available at www.warrantyweek.com/archive/ww20070228.html.
         (m)     Co-Author, Approaches to Notice in State Court Class Actions, For The
                 Defense, Vol. 45, No. 11, November, 2003.
         (n)     Author, The Web Offers Near, Real-Time Cost Efficient Notice, American
                 Bankruptcy Institute Journal, Vol. XXII, No. 5, 2003.
         (o)     Author, Determining Adequate Notice in Rule 23 Actions, For The Defense,
                 Vol. 44, No. 9, September, 2002.
         (p)     Co-Author, The Electronic Nature of Legal Noticing, American Bankruptcy
                 Institute Journal, Vol. XXI, No. 3, April, 2002.
         (q)     Author, Three Important Mantras for CEO’s and Risk Managers in 2002,
                 International Risk Management Institute, irmi.com/, January, 2002.



      Declaration of Jeanne C. Finegan, APR                                               5
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 128
                                             Filed 11/15/16 Pageof78
                                                                   193
                                                                     of PageID #: 1083
                                                                        122 Page   ID
                                     #:1607


          (r)      Co-Author, Used the Bat Signal Lately, The National Law Journal, Special
                   Litigation Section, February 19, 2001.
          (s)      Author, How Much is Enough Notice, Dispute Resolution Alert, Vol. 1, No.
                   6, March, 2001.
          (t)      Author, Monitoring the Internet Buzz, The Risk Report, Vol. XXIII, No. 5,
                   January, 2001.
          (u)      Author, High-Profile Product Recalls Need More Than the Bat Signal,
                   International Risk Management Institute, irmi.com/, July 2001.
          (v)      Author, The Great Debate - How Much is Enough Legal Notice? American
                   Bar Association -- Class Actions and Derivatives Suits Newsletter, Winter
                   1999.
          (w)      Author, What are the best practicable methods to give notice? Georgetown
                   University Law Center Mass Tort Litigation Institute, CLE White Paper:
                   Dispelling the communications myth -- A notice disseminated is a notice
                   communicated, November 1, 2001.
        11.     In addition, I have lectured or presented extensively on various aspects of legal
   noticing. A sample list includes the following:
          (a)      ABA National Symposium, Faculty Panelist, “Ethical Considerations in
                   Settling Class Actions,” New Orleans, LA March 2016.
          (b)      Bridgeport Continuing Ed., Speaker, Webinar “Media Relevant in the Class
                   Notice Context.” July 2014.
          (c)      SF Banking Attorney Association, Speaker, “How a Class Action Notice can
                   Make or Break your Client’s Settlement,” San Francisco, CA May 2015.
          (d)      Perrin Class Action Conference, Faculty Panelist, “Being Media Relevant,
                   What it Means and Why It Maters – The Social Media Evolution: Trends
                   Challenges and Opportunities,” Chicago, IL May 2015
          (e)      Bridgeport Continuing Ed. Faculty Panelist, “Media Relevant in the Class
                   Notice Context,” April 2014.
          (f)      CASD 5th Annual Speaker, “The Impact of Social Media on Class Action
                   Notice.” Consumer Attorneys of San Diego Class Action Symposium, San
                   Diego, California, September 2012.
          (g)      Law Seminars International, Speaker, “Class Action Notice: Rules and
                   Statutes Governing FRCP (b)(3) Best Practicable… What constitutes a best


      Declaration of Jeanne C. Finegan, APR                                                    6
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 129
                                             Filed 11/15/16 Pageof79
                                                                   193
                                                                     of PageID #: 1084
                                                                        122 Page   ID
                                     #:1608


                 practicable notice? What practitioners and courts should expect in the new
                 era of online and social media.” Chicago, IL, October 2011.
         (h)     CLE International, Faculty Panelist, Building a Workable Settlement
                 Structure, CLE International, San Francisco, California May, 2011.
         (i)     Consumer Attorneys of San Diego (CASD),     Faculty   Panelist,  “21st
                 Century Class Notice and Outreach,” 2nd Annual Class Action Symposium
                 CASD Symposium, San Diego, California, October 2010.
         (j)     Consumer Attorneys of San Diego (CASD),      Faculty  Panelist, “The
                 Future of Notice,” 2nd Annual Class Action Symposium CASD Symposium,
                 San Diego, California, October 2009.
         (k)     American Bar Association, Speaker, 2008 Annual Meeting, “Practical
                 Advice for Class Action Settlements: The Future of Notice In the United
                 States and Internationally – Meeting the Best Practicable Standard.”
         (l)     American Bar Association, Section of Business Law Business and Corporate
                 Litigation Committee – Class and Derivative Actions Subcommittee, New
                 York, NY, August 2008.
         (m)     Faculty Panelist, Women Lawyers Association of Los Angeles (WLALA)
                 CLE Presentation, “The Anatomy of a Class Action.” Los Angeles, CA,
                 February 2008.
         (n)     Faculty Panelist, Practicing Law Institute (PLI) CLE Presentation, 11th
                 Annual Consumer Financial Services Litigation. Presentation: Class Action
                 Settlement Structures -- “Evolving Notice Standards in the Internet Age.”
                 New York/Boston (simulcast) March, 2006; Chicago, April, 2006; and San
                 Francisco, May 2006.
         (o)     Expert Panelist, U.S. Consumer Product Safety Commission. I was the only
                 legal notice expert invited to participate as an expert to the Consumer
                 Product Safety Commission to discuss ways in which the CPSC could
                 enhance and measure the recall process. As an expert panelist, I discussed
                 how the CPSC could better motivate consumers to take action on recalls and
                 how companies could scientifically measure and defend their outreach efforts.
                 Bethesda, MD, September 2003.
         (p)     Expert Speaker, American Bar Association. Presentation: “How to Bullet-
                 Proof Notice Programs and What Communication Barriers Present Due
                 Process Concerns in Legal Notice,” ABA Litigation Section Committee on
                 Class Actions & Derivative Suits, Chicago, August 6, 2001.


      Declaration of Jeanne C. Finegan, APR                                                  7
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 130
                                             Filed 11/15/16 Pageof80
                                                                   193
                                                                     of PageID #: 1085
                                                                        122 Page   ID
                                     #:1609


        12.     A comprehensive description of my credentials and experience that qualify me to
   provide expert opinions on the adequacy of class action notice programs is attached as
   Exhibit A.

                             NOTICE PROGRAM SUMMARY
        13.     This Notice program is designed to inform class members of the proposed class
   action settlement between plaintiffs and Defendant as described in the Settlement Agreement.
   In the Settlement Agreement, the class is:
        14.     All persons, entities or organizations who, at any time as of the entry of the
   Preliminary Approval Order, own or owned, purchase(d) or lease(d) Subject Vehicles
   distributed for sale or lease in any of the fifty States, the District of Columbia, Puerto Rico
   and all other United States territories and/or possessions. Excluded from the Class are: (a)
   Toyota, its officers, directors and employees; its affiliates and affiliates’ officers, directors
   and employees; its distributors and distributors’ officers, directors and employees; and
   Toyota Dealers and Toyota Dealers’ officers and directors; (b) Plaintiffs’ Counsel; (c)
   judicial officers and their immediate family members and associated court staff assigned to
   this case; and (d) persons or entities who or which timely and properly exclude themselves
   from the Class as provided in the Settlement Agreement. “Subject Vehicles” means those
   Toyota vehicles that are listed in Exhibit 7 to the Settlement Agreement, which are the 2007-
   2008 Tundra, 2005-2008 Sequoia and the 2005-2010 Tacoma.
        15.     The proposed Notice Program includes the following components:
                     •   Direct mail notice by first-class U.S. mail to reasonably identifiable
                         Class Members;
                     •   CAFA Notice to appropriate state and federal government officials;
                     •   Publication of a short-form notice (“Publication Notice”) in nationally
                         circulated consumer magazines, with Spanish sub-headlines;
                     •   Publication Notice in territorial newspapers;
                     •   Online display banner advertising specifically targeted to reach class
                         members in both English and Spanish;
                     •   Mobile and App advertising specifically targeted to reach class
                         members;
                     •   A multimedia press release;


      Declaration of Jeanne C. Finegan, APR                                                       8
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 131
                                             Filed 11/15/16 Pageof81
                                                                   193
                                                                     of PageID #: 1086
                                                                        122 Page   ID
                                     #:1610


                    •   Social media through Facebook, Twitter and Instagram;
                    •   Native advertising on premium internet properties;
                    •   Search words and terms on Google AdWords;
                    •   An informational website (www.toyotaframesettlement.com) on which
                        the notices and other important Court documents are posted; and
                    •   A toll-free information line (800) 481-7948 where class members can
                        call 24/7 for more information about the Settlement, including, but not
                        limited to, requesting copies of the Long Form Notice, Claim Form or
                        Opt-Out Request Form.

                                       DIRECT NOTICE
        16.    I am informed that there are approximately 1.5 million vehicles that are
   potentially affected. Based on information provided by R.L. Polk & Co., a list of the Class
   Members will be compiled. Pursuant to the terms of the Settlement Agreement, Heffler shall
   send direct notice via U.S. mail to these identified Class Members.
        17.    Prior to the mailing, all addresses will be checked against the National Change of
   Address (“NCOA”) database, which is maintained by the United States Postal Service
   (“USPS”).
        18.    Notices that are returned as non-deliverable will be re-mailed to any address
   indicated by the postal service in the case of an expired automatic forwarding order. Notices
   returned as non-deliverable, but for which a new address is not indicated by the USPS, will
   be further searched through a third-party vendor to obtain a more current address. If any
   such address is found, Notice will be re-mailed within the deadlines specified by the Court in
   the Preliminary Approval Order. Upon completion of these duties the Settlement Heffler will
   submit a complete report on the deliverable results of the direct outreach effort.

                                         CAFA NOTICE
        19.    Pursuant to the Settlement Agreement, section IV. H, Heffler will provide notice
   of the proposed Settlement under CAFA 28 U.S.C. §1715(b) to appropriate state and federal
   government officials.

         METHODOLOGY FOR PUBLICATION/INTERNET NOTICE
        20.    To appropriately design and target the publication component of the notice

      Declaration of Jeanne C. Finegan, APR                                                    9
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 132
                                             Filed 11/15/16 Pageof82
                                                                   193
                                                                     of PageID #: 1087
                                                                        122 Page   ID
                                     #:1611


   program, HF Media utilized a methodology accepted by the advertising industry and
   embraced by courts in the United States.
          21.   Accordingly, we are guided by well-established principles of communication and
   utilize best-in-class nationally syndicated media research data provided by GfK Mediamark
   Research and Intelligence, LLC,3 and online measurement currency comScore4, and Telmar,
   among others, to provide media consumption habits and audience delivery verification of the
   potentially affected population.       These data resources are used by advertising agencies
   nationwide as the basis to select the most appropriate media to reach specific target audiences.
   The resulting key findings are instrumental in our selection of media channels and outlets for
   determining the estimated net audience reached through this legal notice program.
   Specifically, this research identifies which media channels are favored by the target audience
   (i.e., the class members). For instance, browsing behaviors on the Internet, social media
   channels that are used, and which magazines class members are reading.
          22.   For this program, HF Media employs the best-in-class tools and technology in
   order to appropriately target class members and appropriately validate audience delivery. By
   utilizing media research tools such a Gfk Mediamark Research and Intelligence LLC,
   comScore, RL Polk, and J.D. Power data, we can create target audience characteristics or
   segments, and then select the most appropriate media and communication methods to best
   reach them.
          23.   The fusion of data and media research technology, allows us to measure and
   accurately report to the Court the percentage of the target audience that will be reached by
   the notice component and how many times the target audience had the opportunity to see the
   message. In advertising, this is commonly referred to as a “Reach and Frequency” analysis,
   where “Reach” refers to the estimated percentage of the unduplicated audience exposed to
   the campaign, and “Frequency” refers to how many times, on average, the target audience

      3
        GfK MRI's Survey of the American Consumer® (“MRI”) is the industry standard for magazine audience
      ratings in the U.S. and is used in the majority of media and marketing agencies in the country. MRI
      provides comprehensive reports on demographic, lifestyle, product usage and media exposure.
      4
        comScore is a global Internet information provider on which leading companies and advertising agencies
      rely for consumer behavior insight and Internet usage data. comScore maintains a proprietary database of
      more than 2 million consumers who have given comScore permission to monitor their browsing and
      transaction behavior, including online and offline purchasing. This data includes and fuses 1st party,
      (website data), second party (data shared by websites for marketing purposes) and 3rd party data, tied to
      offline purchasing behavior.

      Declaration of Jeanne C. Finegan, APR                                                                  10
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 133
                                             Filed 11/15/16 Pageof83
                                                                   193
                                                                     of PageID #: 1088
                                                                        122 Page   ID
                                     #:1612


   had the opportunity to see the message. The calculations are used by advertising and
   communications firms worldwide, and have become a critical element to help provide the
   basis for determining adequacy of notice in class actions.

                 TARGET AUDIENCE MEDIA USE AND KEY INSIGHTS
           24.   Magazines are now commonly referred to as traditional media. Based on MRI
   data nearly 76 percent of the Toyota Tacoma, Sequoia, and Tundra target audience read one
   or more magazines during an average month. This audience is also very heavily online with
   almost 92 percent using the internet over the last 30 days and nearly 81 percent using a
   mobile device such as smart phone or tablet to go online. Of this population, we see a
   significant reliance on social media with nearly 71 percent visiting a social site in the last 30
   days.

                                               MAGAZINE
           25.   Based on the key insight data from MRI summarized above, the magazines below
   were selected based on the highest coverage and index 5 against the target audience
   characteristics. All magazine and English territorial newspaper ads will include a Spanish
   language sub-headline, which will direct Spanish speakers to the toll-free number and/or the
   official Settlement website. Both of the magazines below have been used by Toyota to
   market its brand.
           26.   People Magazine is a widely distributed weekly title with an estimated circulation
   of 3,469,098. The Publication Notice will be published once as a half-page, black and white
   ad. People’s editorial covers contemporary personalities in entertainment, politics, business,
   and other current events.
           27.   Sports Illustrated reports on the world of sports through in-depth articles,
   photography and stories. The Publication Notice will be published once as a half-page, black
   and white ad. Sports Illustrated’s circulation is 3,044,430.


      5
       Index is a media metric that describes a target audience’s inclination to use a given outlet. An index over
      100 suggests a target population’s inclination to use a medium to a greater degree than the rest of the
      population. For example, an index of 157 would mean that the target is 57 percent more likely than the rest
      of the population to use a medium.


      Declaration of Jeanne C. Finegan, APR                                                                     11
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 134
                                             Filed 11/15/16 Pageof84
                                                                   193
                                                                     of PageID #: 1089
                                                                        122 Page   ID
                                     #:1613


                    PUBLICATION ELEMENTS - U.S. TERRITORIES
         28.      The notice program also includes outreach in the U.S. Territories: Guam, U.S.
   Virgin Islands, Marianas, American Samoa and Puerto Rico. Notice in the territories will
   include a combination of local newspaper, digital outreach through local newspaper, and
   display internet advertising geo-targeted to these regions. Additionally, the press release will
   include distribution to news outlets (broadcast, newspaper and radio stations) in the
   territories.
               The Guam Pacific Daily News - circulation of over 20,000.
               The Publication Notice will be published twice in English. Additionally, dedicated
               online display ads will appear on the digital version of this newspaper website

               Marianas Variety – circulation of over 40,000
               The Publication Notice will be published twice in English. Additionally, dedicated
               online display ads will appear on the digital version of this newspaper website

               The Puerto Rico El Vocero - circulation of over 229,685.
               The Publication Notice will be published twice in Spanish. Additionally, dedicated
               online display ads will appear on the digital version of this newspaper website

               The San Juan Daily News - circulation of 50,000.
               The Publication Notice will be published twice in English. Additionally, dedicated
               online display ads will appear on the digital version of this newspaper website

               Samoa Observer - circulation 15,000 to 25,000 weekday/Sunday.
               The Publication Notice will be published twice in English and Samoan.
               Additionally, dedicated online display ads will appear on the digital version of this
               newspaper website

               The U.S. Virgin Islands Daily News - circulation of over 13,343.
               The Publication Notice will be published once in English. Additionally, dedicated
               online display ads will appear on the digital version of this newspaper website.

                        TERRITORIAL INTERNET ADVERTISING
         29.      The Internet outreach describe below also will be applied to the territories.
   Display banner advertising will be geo-targeted to these areas.



       Declaration of Jeanne C. Finegan, APR                                                      12
       Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 135
                                             Filed 11/15/16 Pageof85
                                                                   193
                                                                     of PageID #: 1090
                                                                        122 Page   ID
                                     #:1614


                        PUBLICATION ELEMENTS - INTERNET
          30.   Internet advertising is a particularly helpful method of providing notice in this
   case, given that according to MRI, nearly 92 to percent of Toyota Tacoma, Sequoia and
   Tundra owners are online. Here, HF Media incorporated the most cutting edge data and
   technology to appropriately deliver ads using using RL Polk and JD Power data to target
   owners of the affected vehicles on the sites they are currently browsing and though dedicated
   advertising on specific web properties.
          31.   Online ads will be targeted to potential class members, i.e., people who own or
   lease the Toyota Tacoma, Sequoia, and Tundra vehicles at issue in this settlement. These
   class members will be determined by the online networks based on consumer data, including
   on R.L. Polk and J.D. Power data.
          32.   HF Media will include five Internet networks including Xaxis, Conversant,
   Yahoo!, a Spanish Media Network and various local television, local newspaper and radio
   station website partners.
          33.   Importantly, banner advertising will appear in the United States and in the
   territories of Guam, Puerto Rico, Marianas, Samoa and U.S. Virgin Islands. The banner ads
   will appear in English and Spanish. Ads will be served across multiple devices including
   desktop, tablet and mobile devices.
          34.   The Banner ads will provide information for visitors to self-identify themselves as
   potential Class Members, where they may “click” on the banner and then link directly to the
   official website for more information and where they may register online, file a claim, or
   seek additional information including frequently asked questions and important court
   deadlines and documents.

          35.   Further, HF Media ads all carry the AdChoices6               icon, where available, as an
   additional layer of choice and privacy.

                                     NATIVE ADVERTISING
          36.   Additionally, the campaign will include Native Ads, banner ads that are served to
      6
        The AdChoices Icon is a sign for consumer information and control for interest-based advertising (which
      is also referred to as “online behavioral advertising.” The AdChoices Icon gives browsers the ability to
      control whether they receive interest-based advertising and from which companies.


      Declaration of Jeanne C. Finegan, APR                                                                  13
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 136
                                             Filed 11/15/16 Pageof86
                                                                   193
                                                                     of PageID #: 1091
                                                                        122 Page   ID
                                     #:1615


   function and fit the surrounding editorial on a page. A number of years ago, this type of
   advertising was called “advertorial7.” Native ads are highly effective because users tend to
   spend more time interacting with this format.

                                         GOOGLE AD WORDS
           37.   To further enhance this notice program, HF Media will employ Google AdWords
   and key search terms. When identified target phrases and keywords are used in a user’s
   search on Google’s, links appear on the search result pages. Representative key terms will
   include, but are not limited to, the following: Toyota rusty frames, Tacoma rusty frames,
   Toyota frame repair, etc.

                                              SOCIAL MEDIA
           38.   This outreach effort will include the following important social media platforms:
   Facebook, Instagram and Twitter, which will serve social media ads both in the U.S. and in
   the U.S. territories.
           39.   Facebook targeting will include those who have liked or expressed an interest in
   Toyota, Toyota Tacoma, Tundra or Sequoia. Banner ads will appear across desktop
   newsfeeds and Mobile app. In partnership with Facebook, banner ads will appear across the
   Instagram app.
           40.   Twitter is an online social networking service that enables users to send and read
   short 140-character messages called “tweets.” It has over 400 million users, and 200+
   million active users monthly. Using Keyword targeting to reach Twitter users based on their
   search queries, recent Tweets, and Tweets they recently engaged with as well as followers of
   @Toyota8 and similar names.




       7
         Advertorial as a type of media placement is over 100 years old. Advertorial was adapted (2012) as Native
       Advertising for the digital environment to fit the form and function of surrounding editorial wherever it was
       placed. The word "native" refers to this coherence of the content with the other media that appears on the
       platform.
       8
         The @ sign is used to call out usernames in Tweets: "Hello @twitter!" ... A username is how you're
       identified on Twitter, and is always preceded immediately by the @ symbol.




       Declaration of Jeanne C. Finegan, APR                                                                      14
       Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 137
                                             Filed 11/15/16 Pageof87
                                                                   193
                                                                     of PageID #: 1092
                                                                        122 Page   ID
                                     #:1616


                                       MOBILE MEDIA
        41.   Given the enormous popularity and penetration of smartphones, coupled with the
   fact that approximately 81 percent of this target audience uses a Smartphone and/or tablet to
   go online, this outreach effort will include mobile banner advertising on mobile websites and
   apps that index high with Toyota Tacoma, Sequoia, and Tundra owners or those who lease
   the vehicles at issue, and people with a known interest in Toyota Tacoma, Sequoia, or Tundra.
   Consistent with our outreach strategy, we intend to serve banner ads across a premium
   network of mobile websites and apps.
        42.   Similar to the online banners, Class Members may “click” on the banner and then
   link directly to the official website for more information and where they may register online,
   file a claim, or seek additional information including frequently asked questions and
   important court deadlines and documents.

                                      PRESS RELEASE
        43.   A multimedia news release (“MNR”) will be released over PR Newswire’s US1
   newslines and to the US Territories. The MNR is a blend of a traditional press release with
   multi-media elements such as a fully produced audio commercial, affected product photos,
   related court documents, up to 5 hyperlinks and social media tools into a dynamic HTML
   platform. The MNR features a prominent call to action button to drive engagement to the
   official website or claim form.

                                     MEDIA MONITORING
        44.   HF Media intends to monitor various media channels for subsequent news articles
   and various social mentions as a result of the press release efforts. A complete report on the
   results will be filed with the Court upon completion of the notice program.

                         OFFICIAL SETTLEMENT WEBSITE
        45.   An informational, interactive website is an important component of the Notice
   Program.    A website will be established at www.toyotaframesettlement.com to enable
   potential Class Members to get information about the Settlement and obtain and/or submit a
   Claim Form.

      Declaration of Jeanne C. Finegan, APR                                                    15
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 138
                                             Filed 11/15/16 Pageof88
                                                                   193
                                                                     of PageID #: 1093
                                                                        122 Page   ID
                                     #:1617




        46.   The site will be optimized for mobile visitors so that information loads on their
   mobile device quickly. The website will serve as a “landing page for the banner advertising,”
   where Class Members may continue to obtain further information about the class action, their
   rights, download the Long Form Notice, the Claim Form, or the Opt-Out Request Form and
   related information, including the Settlement Agreement, Court Orders, and Plaintiff’s
   Motion for Approval of Fees, Expenses, and Incentive Awards. The website address will be
   prominently displayed in the publication notice and is accessible 24-hours a day, 7-days a
   week.

                          TOLL FREE INFORMATION LINE
        47.   Additionally, Heffler will establish and will maintain a 24-hour toll-free telephone
   line where callers may obtain information about the class action.

                            NOTICE FORM AND CONTENT
        48.   Attached as Exhibit 4 to the Settlement Agreement is a copy of the Long Form
   Notice.
        49.   Attached as Exhibit 8 to the Settlement Agreement is a copy of the Publication
   Notice.
        50.   The Notices effectively communicate information about the Settlement.
              Rule 23(c)(2) of the Federal Rules of Civil Procedure requires class action notices
      to be written in “plain, easily understood language.”        HF Media applies the plain
      language requirement in drafting notices in federal and state class actions.
        51.   The Long Form Notice will be available on the website. The Long Form Notice
   provides substantial information, including all specific instructions Class Members need to
   follow to properly exercise their rights, and background on the issues in the case. It is
   designed to encourage readership and understanding in a well-organized and reader-friendly
   format.




      Declaration of Jeanne C. Finegan, APR                                                     16
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 139
                                             Filed 11/15/16 Pageof89
                                                                   193
                                                                     of PageID #: 1094
                                                                        122 Page   ID
                                     #:1618


                                        CONCLUSION
        52.    In my opinion, the robust outreach efforts described above reflect a particularly
   appropriate, highly targeted and contemporary way to employ notice to this class. Through a
   multi-media channel approach to notice, which employs direct notice, traditional, digital,
   social and mobile media, an estimated 95 percent of targeted class members will be reached
   by the media program, on average, 5 times. In my opinion, the robust and multifaceted
   efforts used in this Notice Program are of the highest modern communication standards, are
   reasonably calculated to provide notice, and are consistent with best practicable court-
   approved notice programs in similar matters and the Federal Judicial Center’s guidelines
   concerning appropriate reach. The Notice program contemplated here is estimated to cost
   between $1.75 million to $2.5 million, subject in part, to the volume of R.L. Polk & Co. data
   received.
        53.    I declare under the penalty of perjury, under the laws of the United States of
   America, that the foregoing is true and correct. Executed on November 8, 2016, in Tigard,
   Oregon.


                                                                    Jeanne C. Finegan, APR




      Declaration of Jeanne C. Finegan, APR                                                   17
      Concerning Proposed Class Member Notification
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 140
                                             Filed 11/15/16 Pageof90
                                                                   193
                                                                     of PageID #: 1095
                                                                        122 Page   ID
                                     #:1619




                     Exhibit A
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 141
                                             Filed 11/15/16 Pageof91
                                                                   193
                                                                     of PageID #: 1096
                                                                        122 Page   ID
                                     #:1620




                                   JEANNE C. FINEGAN, APR
                                                     BIOGRAPHY

                       Jeanne Finegan, APR, is President and Chief Media Officer of HF Media,
                       LLC. (a division of Heffler Claims Group), named by Diversity Journal as one
                       of the “Top 100 Women Worth Watching,” has more than 30 years of
                       communications and advertising experience and is a distinguished legal
                       notice and communications expert. During her tenure, she has planned
                       and implemented nearly 1,000 high profile, complex legal notice
                       communication programs. She is a recognized notice expert in both the
                       United States and in Canada, with extensive international notice
   experience spanning more than 140 countries and over 40 languages.

   Ms. Finegan has lectured, published and has been cited extensively on various aspects of legal
   noticing, product recall and crisis communications. She has served the Consumer Product
   Safety Commission (CPSC) as an expert to determine ways in which the Commission can
   increase the effectiveness of its product recall campaigns. Further, she has planned and
   implemented large-scale government enforcement notice programs for the Federal Trade
   Commission (FTC) and the Securities and Exchange Commission (SEC).

   Ms. Finegan is accredited in Public Relations (APR) by the Universal Accreditation Board, which
   is a program administered by the Public Relations Society of America (PRSA), and has served on
   examination panels for APR candidates. Additionally, she has served as a judge for prestigious
   PRSA awards.

   Ms. Finegan has provided expert testimony before Congress on issues of notice, and expert
   testimony in both state and federal courts regarding notification campaigns. She has conducted
   numerous media audits of proposed notice programs to assess the adequacy of those programs
   under Fed R. Civ. P. 23(c)(2) and similar state class action statutes.

   She was an early pioneer of plain language in notice (as noted in a RAND study,1) and continues
   to set the standard for modern outreach as the first notice expert to integrate social and mobile
   media into court approved legal notice programs.

   In the course of her class action experience, courts have recognized the merits of, and admitted
   expert testimony based on, her scientific evaluation of the effectiveness of notice plans. She
   has designed legal notices for a wide range of class actions and consumer matters that include
   product liability, construction defect, antitrust, medical/pharmaceutical, human rights, civil
   rights, telecommunication, media, environment, government enforcement actions, securities,
   banking, insurance, mass tort, restructuring and product recall.


   1 Deborah R. Hensler et al., CLASS ACTION DILEMAS, PURSUING PUBLIC GOALS FOR PRIVATE GAIN. RAND (2000).




   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 142
                                             Filed 11/15/16 Pageof92
                                                                   193
                                                                     of PageID #: 1097
                                                                        122 Page   ID
                                     #:1621




                               JUDICIAL COMMENTS AND LEGAL NOTICE CASES

          In evaluating the adequacy and effectiveness of Ms. Finegan’s notice campaigns, courts
   have repeatedly recognized her excellent work. The following excerpts provide some examples
   of such judicial approval.

   Carter v Forjas Taurus S.S., Taurus International Manufacturing, Inc., Case No. 1:13-CV-24583
   PAS (S.D. Fl. 2016). In her Final Order and Judgment Granting Plaintiffs Motion for Final
   Approval of Class Action Settlement, the Honorable Patricia Seitz stated:

           “The Court considered the extensive experience of Jeanne C. Finegan and the notice
           program she developed. …There is no national firearms registry and Taurus sale
           records do not provide names and addresses of the ultimate purchasers… Thus the
           form and method used for notifying Class Members of the terms of the Settlement was
           the best notice practicable. …The court-approved notice plan used peer-accepted
           national research to identify the optimal traditional, online, mobile and social media
           platforms to reach the Settlement Class Members.

           Additionally, in January 20, 2016, Transcript of Class Notice Hearing, p. 5 Judge Seitz,
           gave accolades to Ms. Finegan, noting:

           I would like to compliment Ms. Finegan and her company because I was quite
           impressed with the scope and the effort of communicating with the Class.


   In re: Skechers Toning Shoes Products Liability Litigation, No. 3:11-MD-2308-TBR (W.D. Ky.
   2012). In his Final Order and Judgment granting the Motion for Preliminary Approval of
   Settlement, the Honorable Thomas B. Russell stated:

           … The comprehensive nature of the class notice leaves little doubt that, upon receipt,
           class members will be able to make an informed and intelligent decision about
           participating in the settlement.

   Brody v. Merck & Co., Inc., et al, No. 3:12-cv-04774-PGS-DEA (N.J.) (Jt Hearing for Prelim App,
   Sept. 27, 2012, transcript page 34). During the Hearing on Joint Application for Preliminary
   Approval of Class Action, the Honorable Peter G. Sheridan praised Ms. Finegan, noting:

           Ms. Finegan did a great job in testifying as to what the class administrator will do. So,
           I'm certain that all the class members or as many that can be found, will be given
           some very adequate notice in which they can perfect their claim.




   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 143
                                             Filed 11/15/16 Pageof93
                                                                   193
                                                                     of PageID #: 1098
                                                                        122 Page   ID
                                     #:1622



   Quinn v. Walgreen Co., Wal-Mart Stores Inc., 7:12 CV-8187-VB (NYSD) (Jt Hearing for Final
   App, March. 5, 2015, transcript page 40-41). During the Hearing on Final Approval of Class
   Action, the Honorable Vincent L. Briccetti gave accolades to Ms. Finegan, noting:

           "The notice plan was the best practicable under the circumstances. … [and] “the proof
           is in the pudding. This settlement has resulted in more than 45,000 claims which is
           10,000 more than the Pearson case and more than 40,000 more than in a glucosamine
           case pending in the Southern District of California I've been advised about. So the
           notice has reached a lot of people and a lot of people have made claims.”

   In Re: TracFone Unlimited Service Plan Litigation, No. C-13-3440 EMC (ND Ca). In the Final
   Order and Judgment Granting Class Settlement, July 2, 2015, the Honorable Edward M. Chen
   noted:
           “…[D]epending on the extent of the overlap between those class members who will
           automatically receive a payment and those who filed claims, the total claims rate is
           estimated to be approximately 25-30%. This is an excellent result...

   In Re: Blue Buffalo Company, Ltd., Marketing and Sales Practices Litigation, Case No. 4:14-
   MD-2562 RWS (E.D. Mo. 2015), (Hearing for Final Approval, May 19, 2016 transcript p. 49).
   During the Hearing for Final Approval, the Honorable Rodney Sippel said:

           It is my finding that notice was sufficiently provided to class members in the manner
           directed in my preliminary approval order and that notice met all applicable
           requirements of due process and any other applicable law and considerations.

   DeHoyos, et al. v. Allstate Ins. Co., No. SA-01-CA-1010 (W.D.Tx. 2001). In the Amended Final
   Order and Judgment Approving Class Action Settlement, the Honorable Fred Biery stated:

           [T]he undisputed evidence shows the notice program in this case was developed and
           implemented by a nationally recognized expert in class action notice programs. … This
           program was vigorous and specifically structured to reach the African-American and
           Hispanic class members. Additionally, the program was based on a scientific
           methodology which is used throughout the advertising industry and which has been
           routinely embraced routinely [sic] by the Courts. Specifically, in order to reach the
           identified targets directly and efficiently, the notice program utilized a multi-layered
           approach which included national magazines; magazines specifically appropriate to
           the targeted audiences; and newspapers in both English and Spanish.

   In re: Reebok Easytone Litigation, No. 10-CV-11977 (D. MA. 2011). The Honorable F. Dennis
   Saylor IV stated in the Final Approval Order:

           The Court finds that the dissemination of the Class Notice, the publication of the
           Summary Settlement Notice, the establishment of a website containing settlement-
           related materials, the establishment of a toll-free telephone number, and all other


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 144
                                             Filed 11/15/16 Pageof94
                                                                   193
                                                                     of PageID #: 1099
                                                                        122 Page   ID
                                     #:1623



           notice methods set forth in the Settlement Agreement and [Ms. Finegan’s] Declaration
           and the notice dissemination methodology implemented pursuant to the Settlement
           Agreement and this Court’s Preliminary Approval Order… constituted the best
           practicable notice to Class Members under the circumstances of the Actions.

   Bezdek v. Vibram USA and Vibram FiveFingers LLC, No 12-10513 (D. MA) The Honorable
   Douglas P. Woodlock stated in the Final Memorandum and Order:
         …[O]n independent review I find that the notice program was robust, particularly in its
         online presence, and implemented as directed in my Order authorizing notice. …I find
         that notice was given to the Settlement class members by the best means “practicable
         under the circumstances.” Fed.R.Civ.P. 23(c)(2).

   Gemelas v. The Dannon Company Inc., No. 08-cv-00236-DAP (N.D. Ohio). In granting final
   approval for the settlement, the Honorable Dan A. Polster stated:

           In accordance with the Court's Preliminary Approval Order and the Court-approved
           notice program, [Ms. Finegan] caused the Class Notice to be distributed on a
           nationwide basis in magazines and newspapers (with circulation numbers exceeding
           81 million) specifically chosen to reach Class Members. … The distribution of Class
           Notice constituted the best notice practicable under the circumstances, and fully
           satisfied the requirements of Federal Rule of Civil Procedure 23, the requirements of
           due process, 28 U.S.C. 1715, and any other applicable law.

   Pashmova v. New Balance Athletic Shoes, Inc., 1:11-cv-10001-LTS (D. Mass.). The Honorable
   Leo T. Sorokin stated in the Final Approval Order:

           The Class Notice, the Summary Settlement Notice, the web site, and all other notices in
           the Settlement Agreement and the Declaration of [Ms Finegan], and the notice
           methodology implemented pursuant to the Settlement Agreement: (a) constituted the
           best practicable notice under the circumstances; (b) constituted notice that was
           reasonably calculated to apprise Class Members of the pendency of the Actions, the
           terms of the Settlement and their rights under the settlement … met all applicable
           requirements of law, including, but not limited to, the Federal Rules of Civil Procedure,
           28 U.S.C. § 1715, and the Due Process Clause(s) of the United States Constitution, as
           well as complied with the Federal Judicial Center’s illustrative class action notices.

   Hartless v. Clorox Company, No. 06-CV-2705 (CAB) (S.D.Cal.). In the Final Order Approving
   Settlement, the Honorable Cathy N. Bencivengo found:

           The Class Notice advised Class members of the terms of the settlement; the Final
           Approval Hearing and their right to appear at such hearing; their rights to remain in or
           opt out of the Class and to object to the settlement; the procedures for exercising such
           rights; and the binding effect of this Judgment, whether favorable or unfavorable, to
           the Class. The distribution of the notice to the Class constituted the best notice


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 145
                                             Filed 11/15/16 Pageof95
                                                                   193
                                                                     of PageID #: 1100
                                                                        122 Page   ID
                                     #:1624



           practicable under the circumstances, and fully satisfied the requirements of Federal
           Rule of Civil Procedure 23, the requirements of due process, 28 U.S.C. §1715, and any
           other applicable law.

   McDonough et al v. Toys 'R' Us et al, No. 09:-cv-06151-AB (E.D. Pa.). In the Final Order and
   Judgment Approving Settlement, the Honorable Anita Brody stated:

           The Court finds that the Notice provided constituted the best notice practicable under
           the circumstances and constituted valid, due and sufficient notice to all persons
           entitled thereto.

   In re: Pre-Filled Propane Tank Marketing & Sales Practices Litigation, No. 4:09-md-02086-GAF
   (W.D. Mo.) In granting final approval to the settlement, the Honorable Gary A. Fenner stated:

           The notice program included individual notice to class members who could be
           identified by Ferrellgas, publication notices, and notices affixed to Blue Rhino propane
           tank cylinders sold by Ferrellgas through various retailers. ... The Court finds the notice
           program fully complied with Federal Rule of Civil Procedure 23 and the requirements
           of due process and provided to the Class the best notice practicable under the
           circumstances.

   Stern v. AT&T Mobility Wireless, No. 09-cv-1112 CAS-AGR (C.D.Cal. 2009). In the Final Approval
   Order, the Honorable Christina A. Snyder stated:

           [T]he Court finds that the Parties have fully and adequately effectuated the Notice
           Plan, as required by the Preliminary Approval Order, and, in fact, have achieved better
           results than anticipated or required by the Preliminary Approval Order.

   In re: Processed Egg Prods. Antitrust Litig., MDL No. 08-md-02002 (E.D.P.A.). In the Order
   Granting Final Approval of Settlement , Judge Gene E.K. Pratter stated:

           The Notice appropriately detailed the nature of the action, the Class claims, the
           definition of the Class and Subclasses, the terms of the proposed settlement
           agreement, and the class members’ right to object or request exclusion from the
           settlement and the timing and manner for doing so.… Accordingly, the Court
           determines that the notice provided to the putative Class Members constitutes
           adequate notice in satisfaction of the demands of Rule 23.

   In re Polyurethane Foam Antitrust Litigation, 10- MD-2196 (N.D. OH). In the Order Granting
   Final Approval of Voluntary Dismissal and Settlement of Defendant Domfoam and Others, the
   Honorable Jack Zouhary stated:

           The notice program included individual notice to members of the Class who could be
           identified through reasonable effort, as well as extensive publication of a summary


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 146
                                             Filed 11/15/16 Pageof96
                                                                   193
                                                                     of PageID #: 1101
                                                                        122 Page   ID
                                     #:1625



           notice. The Notice constituted the most effective and best notice practicable under the
           circumstances of the Settlement Agreements, and constituted due and sufficient notice
           for all other purposes to all persons and entities entitled to receive notice.

   Rojas v Career Education Corporation, No. 10-cv-05260 (N.D.E.D. IL) In the Final Approval Order
   dated October 25, 2012, the Honorable Virgina M. Kendall stated:

           The Court Approved notice to the Settlement Class as the best notice practicable under
           the circumstance including individual notice via U.S. Mail and by email to the class
           members whose addresses were obtained from each Class Member’s wireless carrier
           or from a commercially reasonable reverse cell phone number look-up service,
           nationwide magazine publication, website publication, targeted on-line advertising,
           and a press release. Notice has been successfully implemented and satisfies the
           requirements of the Federal Rule of Civil Procedure 23 and Due Process.

   Golloher v Todd Christopher International, Inc. DBA Vogue International (Organix), No. C
   1206002 N.D CA. In the Final Order and Judgment Approving Settlement, the Honorable
   Richard Seeborg stated:

           The distribution of the notice to the Class constituted the best notice practicable
           under the circumstances, and fully satisfied the requirements of Federal Rule of Civil
           Procedure 23, the requirements of due process, 28 U.S.C. §1715, and any other
           applicable law.

   Stefanyshyn v. Consolidated Industries, No. 79 D 01-9712-CT-59 (Tippecanoe County Sup. Ct.,
   Ind.). In the Order Granting Final Approval of Settlement, Judge Randy Williams stated:

           The long and short form notices provided a neutral, informative, and clear explanation
           of the Settlement. … The proposed notice program was properly designed,
           recommended, and implemented … and constitutes the “best practicable” notice of
           the proposed Settlement. The form and content of the notice program satisfied all
           applicable legal requirements. … The comprehensive class notice educated Settlement
           Class members about the defects in Consolidated furnaces and warned them that the
           continued use of their furnaces created a risk of fire and/or carbon monoxide. This
           alone provided substantial value.

   McGee v. Continental Tire North America, Inc. et al, No. 06-6234-(GEB) (D.N.J.).

           The Class Notice, the Summary Settlement Notice, the web site, the toll-free telephone
           number, and all other notices in the Agreement, and the notice methodology
           implemented pursuant to the Agreement: (a) constituted the best practicable notice
           under the circumstances; (b) constituted notice that was reasonably calculated to
           apprise Class Members of the pendency of the Action, the terms of the settlement and
           their rights under the settlement, including, but not limited to, their right to object to


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 147
                                             Filed 11/15/16 Pageof97
                                                                   193
                                                                     of PageID #: 1102
                                                                        122 Page   ID
                                     #:1626



           or exclude themselves from the proposed settlement and to appear at the Fairness
           Hearing; (c) were reasonable and constituted due, adequate and sufficient notice to all
           persons entitled to receive notification; and (d) met all applicable requirements of law,
           including, but not limited to, the Federal Rules of Civil Procedure, 20 U.S.C. Sec. 1715,
           and the Due Process Clause(s) of the United States Constitution, as well as complied
           with the Federal Judicial Center’s illustrative class action notices,


   Varacallo, et al. v. Massachusetts Mutual Life Insurance Company, et al., No. 04-2702 (JLL)
   (D.N.J.). The Court stated that:

           [A]ll of the notices are written in simple terminology, are readily understandable by
           Class Members, and comply with the Federal Judicial Center's illustrative class action
           notices. … By working with a nationally syndicated media research firm, [Finegan’s
           firm] was able to define a target audience for the MassMutual Class Members, which
           provided a valid basis for determining the magazine and newspaper preferences of the
           Class Members. (Preliminary Approval Order at p. 9). . . . The Court agrees with Class
           Counsel that this was more than adequate. (Id. at § 5.2).

   In re: Nortel Network Corp., Sec. Litig., No. 01-CV-1855 (RMB) Master File No. 05 MD 1659
   (LAP) (S.D.N.Y.). Ms. Finegan designed and implemented the extensive United States and
   Canadian notice programs in this case. The Canadian program was published in both French
   and English, and targeted virtually all investors of stock in Canada. See
   www.nortelsecuritieslitigation.com. Of the U.S. notice program, the Honorable Loretta A.
   Preska stated:

           The form and method of notifying the U.S. Global Class of the pendency of the action
           as a class action and of the terms and conditions of the proposed Settlement …
           constituted the best notice practicable under the circumstances, and constituted due
           and sufficient notice to all persons and entities entitled thereto.

   Regarding the B.C. Canadian Notice effort: Jeffrey v. Nortel Networks, [2007] BCSC 69 at para.
   50, the Honourable Mr. Justice Groberman said:

           The efforts to give notice to potential class members in this case have been thorough.
           There has been a broad media campaign to publicize the proposed settlement and the
           court processes. There has also been a direct mail campaign directed at probable
           investors. I am advised that over 1.2 million claim packages were mailed to persons
           around the world. In addition, packages have been available through the worldwide
           web site nortelsecuritieslitigation.com on the Internet. Toll-free telephone lines have
           been set up, and it appears that class counsel and the Claims Administrator have
           received innumerable calls from potential class members. In short, all reasonable
           efforts have been made to ensure that potential members of the class have had notice



   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 148
                                             Filed 11/15/16 Pageof98
                                                                   193
                                                                     of PageID #: 1103
                                                                        122 Page   ID
                                     #:1627



           of the proposal and a reasonable opportunity was provided for class members to
           register their objections, or seek exclusion from the settlement.

   Mayo v. Walmart Stores and Sam’s Club, No. 5:06 CV-93-R (W.D.Ky.). In the Order Granting
   Final Approval of Settlement, Judge Thomas B. Russell stated:

           According to defendants’ database, the Notice was estimated to have reached over
           90% of the Settlement Class Members through direct mail. The Settlement
           Administrator … has classified the parties’ database as ‘one of the most reliable and
           comprehensive databases [she] has worked with for the purposes of legal notice.’…
           The Court thus reaffirms its findings and conclusions in the Preliminary Approval Order
           that the form of the Notice and manner of giving notice satisfy the requirements of
           Fed. R. Civ. P. 23 and affords due process to the Settlement Class Members.

   Fishbein v. All Market Inc., (d/b/a Vita Coco) No. 11-cv-05580 (S.D.N.Y.). In granting final
   approval of the settlement, the Honorable J. Paul Oetken stated:

           "The Court finds that the dissemination of Class Notice pursuant to the Notice
           Program…constituted the best practicable notice to Settlement Class Members under
           the circumstances of this Litigation … and was reasonable and constituted due,
           adequate and sufficient notice to all persons entitled to such notice, and fully satisfied
           the requirements of the Federal Rules of Civil Procedure, including Rules 23(c)(2) and
           (e), the United States Constitution (including the Due Process Clause), the Rules of this
           Court, and any other applicable laws."

   Lucas, et al. v. Kmart Corp., No. 99-cv-01923 (D.Colo.), wherein the Court recognized Jeanne
   Finegan as an expert in the design of notice programs, and stated:

           The Court finds that the efforts of the parties and the proposed Claims Administrator
           in this respect go above and beyond the "reasonable efforts" required for identifying
           individual class members under F.R.C.P. 23(c)(2)(B).

   In re: Johns-Manville Corp. (Statutory Direct Action Settlement, Common Law Direct Action
   and Hawaii Settlement), No 82-11656, 57, 660, 661, 665-73, 75 and 76 (BRL) (Bankr. S.D.N.Y.).
   The nearly half-billion dollar settlement incorporated three separate notification programs,
   which targeted all persons who had asbestos claims whether asserted or unasserted, against
   the Travelers Indemnity Company. In the Findings of Fact and Conclusions of a Clarifying Order
   Approving the Settlements, slip op. at 47-48 (Aug. 17, 2004), the Honorable Burton R. Lifland,
   Chief Justice, stated:

           As demonstrated by Findings of Fact (citation omitted), the Statutory Direct Action
           Settlement notice program was reasonably calculated under all circumstances to
           apprise the affected individuals of the proceedings and actions taken involving their
           interests, Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950), such


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH Document
      2:15-cv-02171-FMO-FFM     81-1 91-1
                            Document   Filed 11/17/16  Page 149
                                             Filed 11/15/16 Pageof99
                                                                   193
                                                                     of PageID #: 1104
                                                                        122 Page   ID
                                     #:1628



           program did apprise the overwhelming majority of potentially affected claimants and
           far exceeded the minimum notice required. . . . The results simply speak for
           themselves.

   Pigford v. Glickman and U.S. Department of Agriculture, No. 97-1978. 98-1693 (PLF) (D.D.C.).
   This matter was the largest civil rights case to settle in the United States in over 40 years. The
   highly publicized, nationwide paid media program was designed to alert all present and past
   African-American farmers of the opportunity to recover monetary damages against the U.S.
   Department of Agriculture for alleged loan discrimination. In his Opinion, the Honorable Paul L.
   Friedman commended the parties with respect to the notice program, stating;

           The parties also exerted extraordinary efforts to reach class members through a
           massive advertising campaign in general and African American targeted publications
           and television stations. . . . The Court concludes that class members have received
           more than adequate notice and have had sufficient opportunity to be heard on the
           fairness of the proposed Consent Decree.

   In re: Louisiana-Pacific Inner-Seal Siding Litig., Nos. 879-JE, and 1453-JE (D.Or.). Under the
   terms of the Settlement, three separate notice programs were to be implemented at three-year
   intervals over a period of six years. In the first notice campaign, Ms. Finegan implemented the
   print advertising and Internet components of the Notice program. In approving the legal notice
   communication plan, the Honorable Robert E. Jones stated:

           The notice given to the members of the Class fully and accurately informed the Class
           members of all material elements of the settlement…[through] a broad and extensive
           multi-media notice campaign.

   Additionally, with regard to the third-year notice program for Louisiana-Pacific, the Honorable
   Richard Unis, Special Master, commented that the notice was:

           …well formulated to conform to the definition set by the court as adequate and
           reasonable notice. Indeed, I believe the record should also reflect the Court's
           appreciation to Ms. Finegan for all the work she's done, ensuring that noticing was
           done correctly and professionally, while paying careful attention to overall costs. Her
           understanding of various notice requirements under Fed. R. Civ. P. 23, helped to insure
           that the notice given in this case was consistent with the highest standards of
           compliance with Rule 23(d)(2).

   In re: Expedia Hotel Taxes and Fees Litigation, No. 05-2-02060-1 (SEA) (Sup. Ct. of Wash. in and
   for King County). In the Order Granting Final Approval of Class Action Settlement, Judge
   Monica Benton stated:

           The Notice of the Settlement given to the Class … was the best notice practicable
           under the circumstances. All of these forms of Notice directed Class Members to a


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  150 of100
                                                                     193ofPageID #: 1105
                                                                           122 Page  ID
                                      #:1629



           Settlement Website providing key Settlement documents including instructions on how
           Class Members could exclude themselves from the Class, and how they could object to
           or comment upon the Settlement. The Notice provided due and adequate notice of
           these proceeding and of the matters set forth in the Agreement to all persons entitled
           to such notice, and said notice fully satisfied the requirements of CR 23 and due
           process.

   Rene Rosales v. Fortune Ins. Co., No. 99-04588 CA (41) (11th Judicial Dist. Ct. of Miami-Dade
   County, Fla.). Ms. Finegan provided expert testimony in this matter. She conducted an audit
   on behalf of intervening attorneys for the proposed notification to individuals insured with
   personal injury insurance.
   Based upon the audit, Ms. Finegan testified that the proposed notice program was inadequate.
   The Court agreed and signed an Order Granting Intervenors’ Objections to Class Action
   Settlement, stating:

           The Court finds that Ms. Finegan is qualified as an expert on class notice and effective
           media campaigns. The Court finds that her testimony is credible and reliable.

   Thomas A. Foster and Linda E. Foster v. ABTco Siding Litigation, No. 95-151-M (Cir. Ct.,
   Choctaw County, Ala.). This litigation focused on past and present owners of structures sided
   with Abitibi-Price siding. The notice program that Ms. Finegan designed and implemented was
   national in scope and received the following praise from the Honorable J. Lee McPhearson:

           The Court finds that the Notice Program conducted by the Parties provided individual
           notice to all known Class Members and all Class Members who could be identified
           through reasonable efforts and constitutes the best notice practicable under the
           circumstances of this Action. This finding is based on the overwhelming evidence of
           the adequacy of the notice program. … The media campaign involved broad national
           notice through television and print media, regional and local newspapers, and the
           Internet (see id. ¶¶9-11) The result: over 90 percent of Abitibi and ABTco owners are
           estimated to have been reached by the direct media and direct mail campaign.

   Wilson v. Massachusetts Mut. Life Ins. Co., No. D-101-CV 98-02814 (First Judicial Dist. Ct.,
   County of Santa Fe, N.M.). This was a nationwide notification program that included all persons
   in the United States who owned, or had owned, a life or disability insurance policy with
   Massachusetts Mutual Life Insurance Company and had paid additional charges when paying
   their premium on an installment basis. The class was estimated to exceed 1.6 million
   individuals. www.insuranceclassclaims.com. In granting preliminary approval to the settlement,
   the Honorable Art Encinias found:

           [T]he Notice Plan [is] the best practicable notice that is reasonably calculated, under
           the circumstances of the action. …[and] meets or exceeds all applicable requirements
           of the law, including Rule 1-023(C)(2) and (3) and 1-023(E), NMRA 2001, and the



   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  151 of101
                                                                     193ofPageID #: 1106
                                                                           122 Page  ID
                                      #:1630



           requirements of federal and/or state constitutional due process and any other
           applicable law.

   Sparks v. AT&T Corp., No. 96-LM-983 (Third Judicial Cir., Madison County, Ill.). The litigation
   concerned all persons in the United States who leased certain AT&T telephones during the
   1980’s. Ms. Finegan designed and implemented a nationwide media program designed to
   target all persons who may have leased telephones during this time period, a class that
   included a large percentage of the entire population of the United States.
   In granting final approval to the settlement, the Court found:

            The Court further finds that the notice of the proposed settlement was sufficient and
           furnished Class Members with the information they needed to evaluate whether to
           participate in or opt out of the proposed settlement. The Court therefore concludes
           that the notice of the proposed settlement met all requirements required by law,
           including all Constitutional requirements.

   In re: Georgia-Pacific Toxic Explosion Litig., No. 98 CVC05-3535 (Ct. of Common Pleas, Franklin
   County, Ohio). Ms. Finegan designed and implemented a regional notice program that included
   network affiliate television, radio and newspaper. The notice was designed to alert adults living
   near a Georgia-Pacific plant that they had been exposed to an air-born toxic plume and their
   rights under the terms of the class action settlement. In the Order and Judgment finally
   approving the settlement, the Honorable Jennifer L. Bunner stated:

           [N]otice of the settlement to the Class was the best notice practicable under the
           circumstances, including individual notice to all members who can be identified
           through reasonable effort. The Court finds that such effort exceeded even reasonable
           effort and that the Notice complies with the requirements of Civ. R. 23(C).

   In re: American Cyanamid, No. CV-97-0581-BH-M (S.D.Al.). The media program targeted
   Farmers who had purchased crop protection chemicals manufactured by American Cyanamid.
   In the Final Order and Judgment, the Honorable Charles R. Butler Jr. wrote:

           The Court finds that the form and method of notice used to notify the Temporary
           Settlement Class of the Settlement satisfied the requirements of Fed. R. Civ. P. 23 and
           due process, constituted the best notice practicable under the circumstances, and
           constituted due and sufficient notice to all potential members of the Temporary Class
           Settlement.

   In re: First Alert Smoke Alarm Litig., No. CV-98-C-1546-W (UWC) (N.D.Al.). Ms. Finegan
   designed and implemented a nationwide legal notice and public information program. The
   public information program ran over a two-year period to inform those with smoke alarms of
   the performance characteristics between photoelectric and ionization detection. The media
   program included network and cable television, magazine and specialty trade publications. In
   the Findings and Order Preliminarily Certifying the Class for Settlement Purposes, Preliminarily


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  152 of102
                                                                     193ofPageID #: 1107
                                                                           122 Page  ID
                                      #:1631



   Approving Class Settlement, Appointing Class Counsel, Directing Issuance of Notice to the Class,
   and Scheduling a Fairness Hearing, the Honorable C.W. Clemon wrote that the notice plan:

           …constitutes due, adequate and sufficient notice to all Class Members; and (v) meets
           or exceeds all applicable requirements of the Federal Rules of Civil Procedure, the
           United States Constitution (including the Due Process Clause), the Alabama State
           Constitution, the Rules of the Court, and any other applicable law.

   In re: James Hardie Roofing Litig., No. 00-2-17945-65SEA (Sup. Ct. of Wash., King County). The
   nationwide legal notice program included advertising on television, in print and on the Internet.
   The program was designed to reach all persons who own any structure with JHBP roofing
   products. In the Final Order and Judgment, the Honorable Steven Scott stated:

           The notice program required by the Preliminary Order has been fully carried out… [and
           was] extensive. The notice provided fully and accurately informed the Class Members
           of all material elements of the proposed Settlement and their opportunity to
           participate in or be excluded from it; was the best notice practicable under the
           circumstances; was valid, due and sufficient notice to all Class Members; and complied
           fully with Civ. R. 23, the United States Constitution, due process, and other applicable
           law.

   Barden v. Hurd Millwork Co. Inc., et al, No. 2:6-cv-00046 (LA) (E.D.Wis.) ("The Court approves,
   as to form and content, the notice plan and finds that such notice is the best practicable under
   the circumstances under Federal Rule of Civil Procedure 23(c)(2)(B) and constitutes notice in a
   reasonable manner under Rule 23(e)(1).")

   Altieri v. Reebok, No. 4:10-cv-11977 (FDS) (D.C.Mass.) ("The Court finds that the notices …
   constitute the best practicable notice….. The Court further finds that all of the notices are
   written in simple terminology, are readily understandable by Class Members, and comply
   with the Federal Judicial Center’s illustrative class action notices.")

   Marenco v. Visa Inc., No. CV 10-08022 (DMG) (C.D.Cal.) ("[T]he Court finds that the notice
   plan…meets the requirements of due process, California law, and other applicable precedent.
   The Court finds that the proposed notice program is designed to provide the Class with the
   best notice practicable, under the circumstances of this action, of the pendency of this
   litigation and of the proposed Settlement’s terms, conditions, and procedures, and shall
   constitute due and sufficient notice to all persons entitled thereto under California law, the
   United States Constitution, and any other applicable law.")

   Palmer v. Sprint Solutions, Inc., No. 09-cv-01211 (JLR) (W.D.Wa.) ("The means of notice were
   reasonable and constitute due, adequate, and sufficient notice to all persons entitled to be
   provide3d with notice.")




   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  153 of103
                                                                     193ofPageID #: 1108
                                                                           122 Page  ID
                                      #:1632



   In re: Tyson Foods, Inc., Chicken Raised Without Antibiotics Consumer Litigation, No. 1:08-md-
   01982 RDB (D. Md. N. Div.) (“The notice, in form, method, and content, fully complied with the
   requirements of Rule 23 and due process, constituted the best notice practicable under the
   circumstances, and constituted due and sufficient notice to all persons entitled to notice of
   the settlement.”)

   Sager v. Inamed Corp. and McGhan Medical Breast Implant Litigation, No. 01043771 (Sup. Ct.
   Cal., County of Santa Barbara) (“Notice provided was the best practicable under the
   circumstances.”).

   Deke, et al. v. Cardservice Internat’l, Case No. BC 271679, slip op. at 3 (Sup. Ct. Cal., County of
   Los Angeles) (“The Class Notice satisfied the requirements of California Rules of Court 1856
   and 1859 and due process and constituted the best notice practicable under the
   circumstances.”).

   Levine, et al. v. Dr. Philip C. McGraw, et al., Case No. BC 312830 (Los Angeles County Super.
   Ct., Cal.) (“[T]he plan for notice to the Settlement Class … constitutes the best notice
   practicable under the circumstances and constituted due and sufficient notice to the members
   of the Settlement Class … and satisfies the requirements of California law and federal due
   process of law.”).

   In re: Canadian Air Cargo Shipping Class Actions, Court File No. 50389CP, Ontario Superior
   Court of Justice, Supreme Court of British Columbia, Quebec Superior Court (“I am satisfied the
   proposed form of notice meets the requirements of s. 17(6) of the CPA and the proposed
   method of notice is appropriate.”).

   Fischer et al v. IG Investment Management, Ltd. et al, Court File No. 06-CV-307599CP, Ontario
   Superior Court of Justice.

   In re: Vivendi Universal, S.A. Securities Litigation, No. 02-cv-5571 (RJH)(HBP) (S.D.N.Y.).

   In re: Air Cargo Shipping Services Antitrust Litigation, No. 06-MD-1775 (JG) (VV) (E.D.N.Y.).

   Berger, et al., v. Property ID Corporation, et al., No. CV 05-5373-GHK (CWx) (C.D.Cal.).

   Lozano v. AT&T Mobility Wireless, No. 02-cv-0090 CAS (AJWx) (C.D.Cal.).

   Howard A. Engle, M.D., et al., v. R.J. Reynolds Tobacco Co., Philip Morris, Inc., Brown &
   Williamson Tobacco Corp., No. 94-08273 CA (22) (11th Judicial Dist. Ct. of Miami-Dade County,
   Fla.).

   In re: Royal Dutch/Shell Transport Securities Litigation, No. 04 Civ. 374 (JAP) (Consolidated
   Cases) (D. N.J.).



   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  154 of104
                                                                     193ofPageID #: 1109
                                                                           122 Page  ID
                                      #:1633



   In re: Epson Cartridge Cases, Judicial Council Coordination Proceeding, No. 4347 (Sup. Ct. of
   Cal., County of Los Angeles).

   UAW v. General Motors Corporation, No: 05-73991 (E.D.MI).

   Wicon, Inc. v. Cardservice Intern’l, Inc., BC 320215 (Sup. Ct. of Cal., County of Los Angeles).

   In re: SmithKline Beecham Clinical Billing Litig., No. CV. No. 97-L-1230 (Third Judicial Cir.,
   Madison County, Ill.). Ms. Finegan designed and developed a national media and Internet site
   notification program in connection with the settlement of a nationwide class action concerning
   billings for clinical laboratory testing services.

   MacGregor v. Schering-Plough Corp., No. EC248041 (Sup. Ct. Cal., County of Los Angeles). This
   nationwide notification program was designed to reach all persons who had purchased or used
   an aerosol inhaler manufactured by Schering-Plough. Because no mailing list was available,
   notice was accomplished entirely through the media program.

   In re: Swiss Banks Holocaust Victim Asset Litig., No. CV-96-4849 (E.D.N.Y.). Ms. Finegan
   managed the design and implementation of the Internet site on this historic case. The site was
   developed in 21 native languages. It is a highly secure data gathering tool and information hub,
   central to the global outreach program of Holocaust survivors. www.swissbankclaims.com.

   In re: Exxon Valdez Oil Spill Litig., No. A89-095-CV (HRH) (Consolidated) (D. Alaska). Ms.
   Finegan designed and implemented two media campaigns to notify native Alaskan residents,
   trade workers, fisherman, and others impacted by the oil spill of the litigation and their rights
   under the settlement terms.

   In re: Johns-Manville Phenolic Foam Litig., No. CV 96-10069 (D. Mass). The nationwide multi-
   media legal notice program was designed to reach all Persons who owned any structure,
   including an industrial building, commercial building, school, condominium, apartment house,
   home, garage or other type of structure located in the United States or its territories, in which
   Johns-Manville PFRI was installed, in whole or in part, on top of a metal roof deck.

   Bristow v Fleetwood Enters Litig., No Civ 00-0082-S-EJL (D. Id). Ms. Finegan designed and
   implemented a legal notice campaign targeting present and former employees of Fleetwood
   Enterprises, Inc., or its subsidiaries who worked as hourly production workers at Fleetwood’s
   housing, travel trailer, or motor home manufacturing plants. The comprehensive notice
   campaign included print, radio and television advertising.

   In re: New Orleans Tank Car Leakage Fire Litig., No 87-16374 (Civil Dist. Ct., Parish of Orleans,
   LA) (2000). This case resulted in one of the largest settlements in U.S. history. This campaign
   consisted of a media relations and paid advertising program to notify individuals of their rights
   under the terms of the settlement.



   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  155 of105
                                                                     193ofPageID #: 1110
                                                                           122 Page  ID
                                      #:1634



   Garria Spencer v. Shell Oil Co., No. CV 94-074(Dist. Ct., Harris County, Tex.). The nationwide
   notification program was designed to reach individuals who owned real property or structures
   in the United States, which contained polybutylene plumbing with acetyl insert or metal insert
   fittings.

   In re: Hurd Millwork Heat Mirror™ Litig., No. CV-772488 (Sup. Ct. of Cal., County of Santa
   Clara). This nationwide multi-media notice program was designed to reach class members with
   failed heat mirror seals on windows and doors, and alert them as to the actions that they
   needed to take to receive enhanced warranties or window and door replacement.

   Laborers Dist. Counsel of Alabama Health and Welfare Fund v. Clinical Lab. Servs., Inc, No.
   CV–97-C-629-W (N.D. Ala.). Ms. Finegan designed and developed a national media and Internet
   site notification program in connection with the settlement of a nationwide class action
   concerning alleged billing discrepancies for clinical laboratory testing services.

   In re: StarLink Corn Prods. Liab. Litig., No. 01-C-1181 (N.D. Ill).. Ms. Finegan designed and
   implemented a nationwide notification program designed to alert potential class members of
   the terms of the settlement.

   In re: MCI Non-Subscriber Rate Payers Litig., MDL Docket No. 1275, 3:99-cv-01275 (S.D.Ill.).
   The advertising and media notice program, found to be “more than adequate” by the Court,
   was designed with the understanding that the litigation affected all persons or entities who
   were customers of record for telephone lines presubscribed to MCI/World Com, and were
   charged the higher non-subscriber rates and surcharges for direct-dialed long distance calls
   placed on those lines. www.rateclaims.com.

   In re: Albertson’s Back Pay Litig., No. 97-0159-S-BLW (D.Id.). Ms. Finegan designed and
   developed a secure Internet site, where claimants could seek case information confidentially.

   In re: Georgia Pacific Hardboard Siding Recovering Program, No. CV-95-3330-RG (Cir. Ct.,
   Mobile County, Ala.). Ms. Finegan designed and implemented a multi-media legal notice
   program, which was designed to reach class members with failed G-P siding and alert them of
   the pending matter. Notice was provided through advertisements, which aired on national
   cable networks, magazines of nationwide distribution, local newspaper, press releases and
   trade magazines.

   In re: Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., Nos. 1203,
   99-20593. Ms. Finegan worked as a consultant to the National Diet Drug Settlement
   Committee on notification issues. The resulting notice program was described and
   complimented at length in the Court’s Memorandum and Pretrial Order 1415, approving the
   settlement,

   In re: Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., 2000 WL
   1222042, Nos. 1203, 99-20593 (E.D.Pa. Aug. 28, 2002).


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  156 of106
                                                                     193ofPageID #: 1111
                                                                           122 Page  ID
                                      #:1635




   Ms. Finegan designed the Notice programs for multiple state antitrust cases filed against the
   Microsoft Corporation. In those cases, it was generally alleged that Microsoft unlawfully used
   anticompetitive means to maintain a monopoly in markets for certain software, and that as a
   result, it overcharged consumers who licensed its MS-DOS, Windows, Word, Excel and Office
   software. The multiple legal notice programs designed by Jeanne Finegan and listed below
   targeted both individual users and business users of this software. The scientifically designed
   notice programs took into consideration both media usage habits and demographic
   characteristics of the targeted class members.

   In re: Florida Microsoft Antitrust Litig. Settlement, No. 99-27340 CA 11 (11th Judicial Dist.
   Ct. of Miami-Dade County, Fla.).

   In re: Montana Microsoft Antitrust Litig. Settlement, No. DCV 2000 219 (First Judicial Dist. Ct.,
   Lewis & Clark Co., Mt.).

   In re: South Dakota Microsoft Antitrust Litig. Settlement, No. 00-235(Sixth Judicial Cir., County
   of Hughes, S.D.).

   In re: Kansas Microsoft Antitrust Litig. Settlement, No. 99C17089 Division No. 15 Consolidated
   Cases (Dist. Ct., Johnson County, Kan.) (“The Class Notice provided was the best notice
   practicable under the circumstances and fully complied in all respects with the requirements of
   due process and of the Kansas State. Annot. §60-22.3.”).

   In re: North Carolina Microsoft Antitrust Litig. Settlement, No. 00-CvS-4073 (Wake) 00-CvS-
   1246 (Lincoln) (General Court of Justice Sup. Ct., Wake and Lincoln Counties, N.C.).

   In re: ABS II Pipes Litig., No. 3126 (Sup. Ct. of Cal., Contra Costa County). The Court approved
   regional notification program designed to alert those individuals who owned structures with
   the pipe that they were eligible to recover the cost of replacing the pipe.

   In re: Avenue A Inc. Internet Privacy Litig., No: C00-1964C (W.D. Wash.).

   In re: Lorazepam and Clorazepate Antitrust Litig., No. 1290 (TFH) (D.C.C.).

   In re: Providian Fin. Corp. ERISA Litig., No C-01-5027 (N.D. Cal.).

   In re: H & R Block., et al Tax Refund Litig., No. 97195023/CC4111 (MD Cir. Ct., Baltimore City).

   In re: American Premier Underwriters, Inc, U.S. Railroad Vest Corp., No. 06C01-9912 (Cir. Ct.,
   Boone County, Ind.).

   In re: Sprint Corp. Optical Fiber Litig., No: 9907 CV 284 (Dist. Ct., Leavenworth County, Kan).



   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  157 of107
                                                                     193ofPageID #: 1112
                                                                           122 Page  ID
                                      #:1636



   In re: Shelter Mutual Ins. Co. Litig., No. CJ-2002-263 (Dist.Ct., Canadian County. Ok).

   In re: Conseco, Inc. Sec. Litig., No: IP-00-0585-C Y/S CA (S.D. Ind.).

   In re: Nat’l Treasury Employees Union, et al., 54 Fed. Cl. 791 (2002).

   In re: City of Miami Parking Litig., Nos. 99-21456 CA-10, 99-23765 – CA-10 (11th Judicial Dist.
   Ct. of Miami-Dade County, Fla.).

   In re: Prime Co. Incorporated D/B/A/ Prime Co. Personal Comm., No. L 1:01CV658 (E.D. Tx.).

   Alsea Veneer v. State of Oregon A.A., No. 88C-11289-88C-11300.


                           SEC ENFORCEMENT NOTICE PROGRAM EXPERIENCE

   SEC v. Vivendi Universal, S.A., et al., Case No. 02 Civ. 5571 (RJH) (HBP) (S.D.N.Y.).
   The Notice program included publication in 11 different countries and eight different
   languages.

   SEC v. Royal Dutch Petroleum Company, No.04-3359 (S.D. Tex.)


                       FEDERAL TRADE COMMISSION NOTICE PROGRAM EXPERIENCE

   FTC v. TracFone Wireless, Inc., Case No. 15-cv-00392-EMC.

   FTC v. Skechers U.S.A., Inc., No. 1:12-cv-01214-JG (N.D. Ohio).

   FTC v. Reebok International Ltd., No. 11-cv-02046 (N.D. Ohio)

   FTC v. Chanery and RTC Research and Development LLC [Nutraquest], No :05-cv-03460 (D.N.J.)

                                       BANKRUPTCY EXPERIENCE

         Ms. Finegan has designed and implemented hundreds of domestic and international
   bankruptcy notice programs. A sample case list includes the following:

   In re AMR Corporation [American Airlines], et al., No. 11-15463 (SHL) (Bankr. S.D.N.Y.) ("due
   and proper notice [was] provided, and … no other or further notice need be provided.")

   In re Jackson Hewitt Tax Service Inc., et al., No 11-11587 (Bankr. D.Del.) (2011). The debtors
   sought to provide notice of their filing as well as the hearing to approve their disclosure
   statement and confirm their plan to a large group of current and former customers, many of


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  158 of108
                                                                     193ofPageID #: 1113
                                                                           122 Page  ID
                                      #:1637



   whom current and viable addresses promised to be a difficult (if not impossible) and costly
   undertaking. The court approved a publication notice program designed and implemented by
   Finegan and the administrator, that included more than 350 local newspaper and television
   websites, two national online networks (24/7 Real Media, Inc. and Microsoft Media Network), a
   website notice linked to a press release and notice on eight major websites, including CNN and
   Yahoo. These online efforts supplemented the print publication and direct-mail notice provided
   to known claimants and their attorneys, as well as to the state attorneys general of all 50
   states. The Jackson Hewitt notice program constituted one of the first large chapter 11 cases to
   incorporate online advertising.

   In re: Nutraquest Inc., No. 03-44147 (Bankr. D.N.J.)

   In re: General Motors Corp. et al, No. 09-50026 (Bankr. S.D.N.Y.). This case is the 4th largest
   bankruptcy in U.S. history. Ms. Finegan and her team worked with General Motors
   restructuring attorneys to design and implement the legal notice program.

   In re: ACandS, Inc., No. 0212687 (Bankr. D.Del.) (2007) (“Adequate notice of the Motion and of
   the hearing on the Motion was given.”).

   In re: United Airlines, No. 02-B-48191 (Bankr. N.D Ill.). Ms. Finegan worked with United and its
   restructuring attorneys to design and implement global legal notice programs. The notice was
   published in 11 countries and translated into 6 languages. Ms. Finegan worked closely with
   legal counsel and UAL’s advertising team to select the appropriate media and to negotiate the
   most favorable advertising rates. www.pd-ual.com.

   In re: Enron, No. 01-16034 (Bankr. S.D.N.Y.). Ms. Finegan worked with Enron and its
   restructuring attorneys to publish various legal notices.

   In re: Dow Corning, No. 95-20512 (Bankr. E.D. Mich.). Ms. Finegan originally designed the
   information website. This Internet site is a major information hub that has various forms in 15
   languages.

   In re: Harnischfeger Inds., No. 99-2171 (RJW) Jointly Administered (Bankr. D. Del.). Ms. Finegan
   designed and implemented 6 domestic and international notice programs for this case. The
   notice was translated into 14 different languages and published in 16 countries.

   In re: Keene Corp., No. 93B 46090 (SMB), (Bankr. E.D. MO.). Ms. Finegan designed and
   implemented multiple domestic bankruptcy notice programs including notice on the plan of
   reorganization directed to all creditors and all Class 4 asbestos-related claimants and counsel.

   In re: Lamonts, No. 00-00045 (Bankr. W.D. Wash.). Ms. Finegan designed an implemented
   multiple bankruptcy notice programs.




   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  159 of109
                                                                     193ofPageID #: 1114
                                                                           122 Page  ID
                                      #:1638



   In re: Monet Group Holdings, Nos. 00-1936 (MFW) (Bankr. D. Del.). Ms. Finegan designed and
   implemented a bar date notice.

   In re: Laclede Steel Co., No. 98-53121-399 (Bankr. E.D. MO.). Ms. Finegan designed and
   implemented multiple bankruptcy notice programs.

   In re: Columbia Gas Transmission Corp., No. 91-804 (Bankr. S.D.N.Y.). Ms. Finegan developed
   multiple nationwide legal notice notification programs for this case.

   In re: U.S.H. Corp. of New York, et al. (Bankr. S.D.N.Y). Ms. Finegan designed and implemented
   a bar date advertising notification campaign.

   In re: Best Prods. Co., Inc., No. 96-35267-T, (Bankr. E.D. Va.). Ms. Finegan implemented a
   national legal notice program that included multiple advertising campaigns for notice of sale,
   bar date, disclosure and plan confirmation.

   In re: Lodgian, Inc., et al., No. 16345 (BRL) Factory Card Outlet – 99-685 (JCA), 99-686 (JCA)
   (Bankr. S.D.N.Y).

   In re: Internat’l Total Servs, Inc., et al., Nos. 01-21812, 01-21818, 01-21820, 01-21882, 01-
   21824, 01-21826, 01-21827 (CD) Under Case No: 01-21812 (Bankr. E.D.N.Y).

   In re: Decora Inds., Inc. and Decora, Incorp., Nos. 00-4459 and 00-4460 (JJF) (Bankr. D. Del.).

   In re: Genesis Health Ventures, Inc., et al, No. 002692 (PJW) (Bankr. D. Del.).

   In re: Tel. Warehouse, Inc., et al, No. 00-2105 through 00-2110 (MFW) (Bankr. D. Del.).

   In re: United Cos. Fin. Corp., et al, No. 99-450 (MFW) through 99-461 (MFW) (Bankr. D. Del.).

   In re: Caldor, Inc. New York, The Caldor Corp., Caldor, Inc. CT, et al., No. 95-B44080 (JLG)
   (Bankr. S.D.N.Y).

   In re: Physicians Health Corp., et al., No. 00-4482 (MFW) (Bankr. D. Del.).

   In re: GC Cos., et al., Nos. 00-3897 through 00-3927 (MFW) (Bankr. D. Del.).

   In re: Heilig-Meyers Co., et al., Nos. 00-34533 through 00-34538 (Bankr. E.D. Va.).


                               PRODUCT RECALL AND CRISIS COMMUNICATION EXPERIENCE

   Reser’s Fine Foods. Reser’s is a nationally distributed brand and manufacturer of food products
   through giants such as Albertsons, Costco, Food Lion, WinnDixie, Ingles, Safeway and Walmart.


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  160 of110
                                                                     193ofPageID #: 1115
                                                                           122 Page  ID
                                      #:1639



   Ms. Finegan designed an enterprise-wide crisis communication plan that included
   communications objectives, crisis team roles and responsibilities, crisis response procedures,
   regulatory protocols, definitions of incidents that require various levels of notice, target
   audiences, and threat assessment protocols. Ms. Finegan worked with the company through
   two nationwide, high profile recalls, conducting extensive media relations efforts.

   Gulf Coast Claims Facility Notice Campaign. Finegan coordinated a massive outreach effort
   throughout the Gulf Coast region to notify those who have claims as a result of damages caused
   by the Deep Water Horizon Oil spill. The notice campaign included extensive advertising in
   newspapers throughout the region, Internet notice through local newspaper, television and
   radio websites and media relations. The Gulf Coast Claims Facility (GCCF) was an independent
   claims facility, funded by BP, for the resolution of claims by individuals and businesses for
   damages incurred as a result of the oil discharges due to the Deepwater Horizon incident on
   April 20, 2010.

   City of New Orleans Tax Revisions, Post-Hurricane Katrina. In 2007, the City of New Orleans
   revised property tax assessments for property owners. As part of this process, it received
   numerous appeals to the assessments. An administration firm served as liaison between the
   city and property owners, coordinating the hearing schedule and providing important
   information to property owners on the status of their appeal. Central to this effort was the
   comprehensive outreach program designed by Ms. Finegan, which included a website and a
   heavy schedule of television, radio and newspaper advertising, along with the coordination of
   key news interviews about the project picked up by local media.


                                             ARTICLES

   Co-Author, “Modern Notice Requirements Through the Lens of Eisen and Mullane” –
   Bloomberg BNA Class Action Litigation Report, 17 CLASS 1077, (October 14, 2016).

   Author, “Think All Internet Impressions Are The Same? Think Again” – Law360.com, New York
   (March 16, 2016, 3:39 ET).

   Author, “Why Class Members Should See An Online Ad More Than Once” – Law360.com, New
   York, (December 3, 2015, 2:52 PM ET).

   Author, ‘Being 'Media-Relevant' — What It Means And Why It Matters - Law360.com, New York
   (September 11, 2013, 2:50 PM ET).

   Co-Author, “New Media Creates New Expectations for Bankruptcy Notice Programs,” ABI
   Journal, Vol. XXX, No 9, (November 2011).




   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  161 of111
                                                                     193ofPageID #: 1116
                                                                           122 Page  ID
                                      #:1640



   Quoted Expert, “Effective Class Action Notice Promotes Access to Justice: Insight from a New
   U.S. Federal Judicial Center Checklist,” Canadian Supreme Court Law Review, (2011), 53 S.C.L.R.
   (2d).

   Co-Author, with Hon. Dickran Tevrizian – “Expert Opinion: It’s More Than Just a Report…Why
   Qualified Legal Experts Are Needed to Navigate the Changing Media Landscape,” BNA Class
   Action Litigation Report, 12 CLASS 464, May 27, 2011.

   Co-Author, with Hon. Dickran Tevrizian, Your Insight, "Expert Opinion: It's More Than Just a
   Report -Why Qualified Legal Experts Are Needed to Navigate the Changing Media Landscape,"
   TXLR, Vol. 26, No. 21, May 26, 2011.

   Quoted Expert, “Analysis of the FJC’s 2010 Judges’ Class Action Notice and Claims Process
   Checklist and Guide: A New Roadmap to Adequate Notice and Beyond,” BNA Class Action
   Litigation Report, 12 CLASS 165, February 25, 2011.

   Author, Five Key Considerations for a Successful International Notice Program, BNA Class Action
   Litigation Report, April, 9, 2010 Vol. 11, No. 7 p. 343.

   Quoted Expert, “Communication Technology Trends Pose Novel Notification Issues for Class
   Litigators,” BNA Electronic Commerce and Law, 15 ECLR 109 January 27, 2010.

   Author, “Legal Notice: R U ready 2 adapt?” BNA Class Action Report, Vol. 10 Class 702, July 24,
   2009.

   Author, “On Demand Media Could Change the Future of Best Practicable Notice,” BNA Class
   Action Litigation Report, Vol. 9, No. 7, April 11, 2008, pp. 307-310.

   Quoted Expert, “Warranty Conference: Globalization of Warranty and Legal Aspects of
   Extended Warranty,” Warranty Week, warrantyweek.com/archive/ww20070228.html/
   February 28, 2007.

   Co-Author, “Approaches to Notice in State Court Class Actions,” For The Defense, Vol. 45, No.
   11, November, 2003.

   Citation, “Recall Effectiveness Research: A Review and Summary of the Literature on Consumer
   Motivation and Behavior,” U.S. Consumer Product Safety Commission, CPSC-F-02-1391, p.10,
   Heiden Associates, July 2003.

   Author, “The Web Offers Near, Real-Time Cost Efficient Notice,” American Bankruptcy Institute,
   ABI Journal, Vol. XXII, No. 5., 2003.

   Author, “Determining Adequate Notice in Rule 23 Actions,” For The Defense, Vol. 44, No. 9
   September, 2002.

   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  162 of112
                                                                     193ofPageID #: 1117
                                                                           122 Page  ID
                                      #:1641




   Author, “Legal Notice, What You Need To Know and Why,” Monograph, July 2002.

   Co-Author, “The Electronic Nature of Legal Noticing,” The American Bankruptcy Institute
   Journal, Vol. XXI, No. 3, April 2002.

   Author, “Three Important Mantras for CEO’s and Risk Managers,” - International Risk
   Management Institute, irmi.com, January 2002.

   Co-Author, “Used the Bat Signal Lately,” The National Law Journal, Special Litigation Section,
   February 19, 2001.

   Author, “How Much is Enough Notice,” Dispute Resolution Alert, Vol. 1, No. 6. March 2001.

   Author, “Monitoring the Internet Buzz,” The Risk Report, Vol. XXIII, No. 5, Jan. 2001.

   Author, “High-Profile Product Recalls Need More Than the Bat Signal,” - International Risk
   Management Institute, irmi.com, July 2001.

   Co-Author, “Do You Know What 100 Million People are Buzzing About Today?” Risk and
   Insurance Management, March 2001.

   Quoted Article, “Keep Up with Class Action,” Kentucky Courier Journal, March 13, 2000.

   Author, “The Great Debate - How Much is Enough Legal Notice?” American Bar Association –
   Class Actions and Derivatives Suits Newsletter, winter edition 1999.



                               SPEAKER/EXPERT PANELIST/PRESENTER

   The Knowledge Group           Faculty Panelist, “Class Action Settlements: Hot Topics 2016 and
                                 Beyond,” Live Webcast, www.theknowledgegroup.org, October
                                 2016.

   ABA National Symposium        Faculty Panelist, “Ethical Considerations in Settling Class Actions,”
                                 New Orleans, LA, March 2016.

   SF Banking Attorney Assn.     Speaker, “How a Class Action Notice can Make or Break your
                                 Client’s Settlement,” San Francisco, CA, May 2015.

   Perrin Class Action Conf.     Faculty Panelist, “Being Media Relevant, What It Means and Why
                                 It Matters – The Social Media Evolution: Trends, Challenges and
                                 Opportunities,” Chicago, IL May 2015.


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  163 of113
                                                                     193ofPageID #: 1118
                                                                           122 Page  ID
                                      #:1642




   Bridgeport Continuing Ed.   Speaker, Webinar “Media Relevant in the Class Notice Context.”
                               July, 2014.

   Bridgeport Continuing Ed.   Faculty Panelist, “Media Relevant in the Class Notice Context.”
                               Los Angeles, California, April 2014.

   CASD 5th Annual             Speaker, “The Impact of Social Media on Class Action Notice.”
                               Consumer Attorneys of San Diego Class Action Symposium, San
                               Diego, California, September 2012.

   Law Seminars International Speaker, “Class Action Notice: Rules and Statutes Governing FRCP
                              (b)(3) Best Practicable… What constitutes a best practicable
                              notice? What practitioners and courts should expect in the new
                              era of online and social media.” Chicago, IL, October 2011.
                              *Voted by attendees as one of the best presentations given.

   CASD 4th Annual             Faculty Panelist, “Reasonable Notice - Insight for practitioners on
                               the FJC’s Judges’ Class Action Notice and Claims Process Checklist
                               and Plain Language Guide. Consumer Attorneys of San Diego Class
                               Action Symposium, San Diego, California, October 2011.

   CLE International           Faculty Panelist, Building a Workable Settlement Structure, CLE
                               International, San Francisco, California May, 2011.

   CASD                        Faculty Panelist, “21st Century Class Notice and Outreach.” 3nd
                               Annual Class Action Symposium CASD Symposium, San Diego,
                               California,
                               October 2010.

   CASD                        Faculty Panelist, “The Future of Notice.” 2nd Annual Class Action
                               Symposium CASD Symposium, San Diego California, October 2009.

   American Bar Association    Speaker, 2008 Annual Meeting, “Practical Advice for Class Action
                               Settlements: The Future of Notice In the United States and
                               Internationally – Meeting the Best Practicable Standard.”

                               Section of Business Law Business and Corporate Litigation
                               Committee – Class and Derivative Actions Subcommittee, New
                               York, NY, August 2008.

   Women Lawyers Assn.         Faculty Panelist, Women Lawyers Association of Los Angeles
                               of Los Angeles, 2008.



   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  164 of114
                                                                     193ofPageID #: 1119
                                                                           122 Page  ID
                                      #:1643



   (WLALA) CLE Presentation, “The Anatomy of a Class Action.” Los Angeles, CA, February, 2008.

   Warranty Chain Mgmt.          Faculty Panelist, Presentation Product Recall Simulation. Tampa,
                                 Florida, March 2007.

   Practicing Law Institute (PLI) Faculty Panelist, CLE Presentation, 11th Annual Consumer
                                  Financial Services Litigation. Presentation: Class Action Settlement
                                  Structures – Evolving Notice Standards in the Internet Age. New
                                  York/Boston (simulcast), NY March 2006; Chicago, IL April 2006
                                  and San Francisco, CA, May 2006.

   U.S. Consumer Product         Ms. Finegan participated as an expert panelist to the Consumer
                                 Product
   Safety Commission             Safety Commission to discuss ways in which the CPSC could
                                 enhance and measure the recall process. As a panelist, Ms
                                 Finegan discussed how the CPSC could better motivate consumers
                                 to take action on recalls and how companies could scientifically
                                 measure and defend their outreach efforts. Bethesda MD,
                                 September 2003.

   Weil, Gotshal & Manges       Presenter, CLE presentation, “A Scientific Approach to Legal Notice
                                Communication.” New York, June 2003.

   Sidley & Austin               Presenter, CLE presentation, “A Scientific Approach to Legal
                                 Notice Communication.” Los Angeles, May 2003.

   Kirkland & Ellis              Speaker to restructuring group addressing “The Best Practicable
                                 Methods to Give Notice in a Tort Bankruptcy.” Chicago, April
                                 2002.

   Georgetown University Law Faculty, CLE White Paper: “What are the best practicable methods
                             to Center Mass Tort Litigation give notice? Dispelling the
                             communications myth – A notice Institute disseminated is a
                             notice communicated,” Mass Tort Litigation Institute. Washington
                             D.C., November, 2001.

   American Bar Association      Presenter, “How to Bullet-Proof Notice Programs and What
                                 Communication Barriers Present Due Process Concerns in Legal
                                 Notice,” ABA Litigation Section Committee on Class Actions &
                                 Derivative Suits. Chicago, IL, August 6, 2001.

   McCutchin, Doyle, Brown       Speaker to litigation group in San Francisco and simulcast to four
                                 other & Enerson McCutchin locations, addressing the definition of



   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  165 of115
                                                                     193ofPageID #: 1120
                                                                           122 Page  ID
                                      #:1644



                                effective notice and barriers to communication that affect due
                                process in legal notice. San Francisco, CA, June 2001.

   Marylhurst University        Guest lecturer on public relations research methods. Portland,
                                OR, February 2001.

   University of Oregon         Guest speaker to MBA candidates on quantitative and qualitative
                                research for marketing and communications programs. Portland,
                                OR, May 2001.

   Judicial Arbitration &       Speaker on the definition of effective notice. San Francisco and Los
   Mediation Services (JAMS)    Angeles, CA, June 2000.

   International Risk           Past Expert Commentator on Crisis and Litigation Communications.
   Management Institute         www.irmi.com.

   The American Bankruptcy      Past Contributing Editor – Beyond the Quill. www.abi.org.
   Institute Journal (ABI)


                                               BACKGROUND

           Ms Finegan’s past experience includes working in senior management for leading Class
   Action Administration firms including The Garden City Group (“GCG”) and Poorman-Douglas
   Corp., (“EPIQ”). Ms. Finegan co-founded Huntington Advertising, a nationally recognized leader
   in legal notice communications. After Fleet Bank purchased her firm in 1997, she grew the
   company into one of the nation’s leading legal notice communication agencies.

           Prior to that, Ms. Finegan spearheaded Huntington Communications, (an Internet
   development company) and The Huntington Group, Inc., (a public relations firm). As a partner
   and consultant, she has worked on a wide variety of client marketing, research, advertising,
   public relations and Internet programs. During her tenure at the Huntington Group, client
   projects included advertising (media planning and buying), shareholder meetings, direct mail,
   public relations (planning, financial communications) and community outreach programs. Her
   past client list includes large public and privately held companies: Code-A-Phone Corp., Thrifty-
   Payless Drug Stores, Hyster-Yale, The Portland Winter Hawks Hockey Team, U.S. National Bank,
   U.S. Trust Company, Morley Capital Management, and Durametal Corporation.

           Prior to Huntington Advertising, Ms. Finegan worked as a consultant and public relations
   specialist for a West Coast-based Management and Public Relations Consulting firm.

          Additionally, Ms. Finegan has experience in news and public affairs. Her professional
   background includes being a reporter, anchor and public affairs director for KWJJ/KJIB radio in
   Portland, Oregon, as well as reporter covering state government for KBZY radio in Salem,


   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  166 of116
                                                                     193ofPageID #: 1121
                                                                           122 Page  ID
                                      #:1645



   Oregon. Ms. Finegan worked as an assistant television program/promotion manager for KPDX
   directing $50 million in programming. She was also the program/promotion manager at KECH-
   22 television.

           Ms. Finegan's multi-level communication background gives her a thorough, hands-on
   understanding of media, the communication process, and how it relates to creating effective
   and efficient legal notice campaigns.

                               MEMBERSHIPS, PROFESSIONAL CREDENTIALS

   APR - The Universal Board of Accreditation Public Relations Society of America – Accredited.
   Member of the Public Relations Society of America
   Member Canadian Public Relations Society


   Also see LinkedIn page.




   Jeanne C. Finegan, APR CV
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  167 of117
                                                                     193ofPageID #: 1122
                                                                           122 Page  ID
                                      #:1646




          EXHIBIT 10
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  168 of118
                                                                     193ofPageID #: 1123
                                                                           122 Page  ID
                                      #:1647


                REQUEST TO OPT OUT/ REQUEST FOR EXCLUSION FORM
                           Bryan Warner, et al. v. Toyota Motor Sales, U.S.A.
               United States District Court for the Central District of California, Case No.
                                      2:15-cv-02171-FMO-(FFMx)

   1.      Full Name: _________________________________________________________________

   2.      Current Address: ___________________________________________________________

   3.      Telephone Number (optional): ________________________________________________

   4.      E-mail Address (optional): ___________________________________________________

   5.      List of Vehicle(s) (please attach additional sheets, if necessary):

           Model Year: __________________ Make: _________________

           Vehicle Identification Number (“VIN”): _____________         _____

           Model Year: __________________ Make: _________________

           Vehicle Identification Number (“VIN”): _____________         _____

           Model Year: __________________ Make: _________________

           Vehicle Identification Number (“VIN”): _____________         _____

I want to be excluded from the Class in Bryan Warner, et al. v. Toyota Motor Sales, U.S.A., Case No.
2:15-cv-02171. I understand that by excluding myself from this case I waive any and all rights that I
may have to receive any settlement benefits, including, but not limited to, money from this class action.

   Date (mm/dd/yyyy): ______________________________________________________________

   _________________________________________________________________________________

   _________________________________________________________________________________
   (Print and Sign Your Name)

   To be excluded from the Class, complete and mail this form postmarked no later than [Response
            Deadline] to: [Settlement Notice Administrator, Address, City, State, and Zip],
                                                 .

If you do not want to complete this form, you may also send a handwritten or typed and signed letter to the
Settlement Notice Administrator requesting exclusion (opting out), containing the information identified
                  above and mailing it to the address as set forth in the prior paragraph.
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  169 of119
                                                                     193ofPageID #: 1124
                                                                           122 Page  ID
                                      #:1648




          EXHIBIT 11
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  170 of120
                                                                     193ofPageID #: 1125
                                                                           122 Page  ID
                                      #:1649


                            Frame Inspection and Replacement Protocol

          This Frame Inspection and Replacement Protocol details the requirements to be used and

   performed by Toyota dealerships, pursuant to the terms of the Settlement Agreement.

   I.     Remedy for Subject Vehicles

          Toyota dealerships shall inspect the frames of the Subject Vehicles presented to

   determine whether a frame should be replaced pursuant to the Settlement Agreement. Based

   upon the results of the inspection described below, and if perforation of the frame from rust

   corrosion meets or exceeds the standards for frame replacement, as defined below, the Subject

   Vehicle’s frame and associated parts shall be replaced by Toyota at no charge to the Class

   Member. If the perforation of the frame does not meet or exceed the standard for frame

   replacement, the vehicle is currently registered in a CRC State1, and the vehicle has not

   previously received Corrosion-Resistant Compounds (“CRC”) or a new frame, pursuant to the

   prior Limited Service Campaign (“LSC”), then the dealer or authorized sublet facility will apply

   CRC to the Subject Vehicle’s frame. For vehicles registered in CRC States, the application of

   the CRC shall be available for a two (2) year period: (a) for the Tundra and Sequoia subject

   vehicles; and, (b) for those Tacoma subject vehicles for which CRC has not been previously

   applied and the frame was not previously replaced. The timing of the availability of the CRC

   application will depend on Toyota’s ability to obtain the applicable environmental permits.

   II.    Frame Inspection Procedure

          All frames presented for inspection shall be inspected for perforations in the frame

   caused by rust corrosion in accordance with the following procedure:

   1
    The CRC States, which have high road salt use, are defined as Connecticut, Delaware, the
   District of Columbia, Illinois, Indiana, Kentucky, Massachusetts, Maryland, Maine, Michigan,
   Minnesota, New Hampshire, New Jersey, New York, Ohio, Pennsylvania, Rhode Island,
   Virginia, Vermont, Wisconsin and West Virginia.


                                                                                               129079816
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  171 of121
                                                                     193ofPageID #: 1126
                                                                           122 Page  ID
                                      #:1650


           The frame will be inspected by a qualified Toyota technician, who will inspect the frame

   rails and cross member mounting locations. Any perforation found will be measured to confirm

   if it is within the inspection criteria.

   III.    Apply Corrosion-Resistant Compound if Perforation is Less than 10 mm (CRC

           States Only)

           If any perforation exists, but no perforation is 10 mm or greater, as described above, then

   the frame will be cleaned and if the vehicle has not previously received CRC or a new frame,

   pursuant to the prior LSC, CRC will be applied for Subject Vehicles located in the CRC States

   by a qualified employee at the Toyota dealership or authorized sublet facility according to

   industry standards if within a two (2) year period: (a) for the Tundra and Sequoia subject

   vehicles; and, (b) for those Tacoma subject vehicles for which CRC has not been previously

   applied and the frame was not previously replaced. The timing of the availability of the CRC

   application will depend on Toyota’s ability to obtain the applicable environmental permits.

   However, if during this cleaning process, perforation is discovered that meets or exceeds the 10

   mm inspection criteria, the dealer will suspend the CRC application and will replace the frame.

   IV.     Replace Frame if Perforation is 10 mm or Larger

           If any perforation in the frame is found to be 10 mm or larger, then the frame will

   be replaced, as well as all applicable parts and service items incidental to frame

   replacement, such as cables, harnesses, pipes, clamps, tubes, hoses, spare tire carrier,

   spare tire carrier plate, bolts, brackets, and wires and all fluids will be replaced, as

   required.

   V.      Parts and Materials Ordering

           Toyota shall assist its dealers, by using electronic and other means, in



                                                    2
Case
 Case2:14-cv-02208-PKH  Document
      2:15-cv-02171-FMO-FFM      81-1 91-1
                             Document   Filed Filed
                                              11/17/16   Page Page
                                                    11/15/16  172 of122
                                                                     193ofPageID #: 1127
                                                                           122 Page  ID
                                      #:1651


   determining the correct part number(s) to order by VIN on the Subject Vehicles.

   VI.    Loaner Vehicles

          Without cost to Class Members and upon request from the Class Member, Toyota

   shall arrange a complimentary Loaner Vehicle (upon proof of adequate insurance) if the

   vehicle is required by the Toyota dealer to remain at the dealership at least overnight

   pursuant to the Frame Inspection and Replacement Program, for up to seven (7) days,

   absent exceptional circumstances, to eligible Class Members whose Subject Vehicles are

   undergoing frame replacement pursuant to the terms of this Settlement Agreement. In

   appropriate circumstances where the Class Member has a demonstrated need for a vehicle

   similar to his/her/its Subject Vehicles, Toyota, through its dealers, shall use good faith

   efforts to satisfy that request.

   VII.   Customer Handling

          Dealerships will be provided with additional information to explain the process and

   respond to anticipated questions about the frame inspection and replacement. Toyota will send a

   Q&A to its dealers outlining recommendations for implementing the Frame Inspection and

   Replacement Program.




                                                  3
                                Case 2:14-cv-02208-PKH
                                  Case                  Document
                                        2:15-cv-02171-FMO-FFM    81-1 Filed
                                                              Document  92-1 11/17/16  Page 173
                                                                              Filed 11/15/16    of 193
                                                                                             Page  1 of PageID
                                                                                                        16 Page#: 1128
                                                                                                                  ID
                                                                     #:1657


                                    1   BLOOD HURST & O’REARDON, LLP
                                        TIMOTHY G. BLOOD (149343)
                                    2   THOMAS J. O’REARDON, II (247952)
                                        PAULA R. BROWN (254142)
                                    3   701 B Street, Suite 1700
                                        San Diego, CA 92101
                                    4   Tel: 619/338-1100
                                        619/338-1101 (fax)
                                    5   tblood@bholaw.com
                                        toreardon@bholaw.com
                                    6   pbrown@bholaw.com
                                    7   BARNOW AND ASSOCIATES, P.C.
                                        BEN BARNOW (pro hac vice)
                                    8   ERICH P. SCHORK (pro hac vice)
                                        1 North LaSalle Street, Suite 4600
                                    9   Chicago, IL 60602
                                        Tel: 312/621-2000
                                   10   312/641-5504 (fax)
                                        b.barnow@barnowlaw.com
 BLOOD HURST & O’REARDON, LLP




                                   11   e.schork@barnowlaw.com
                                   12   [Additional Counsel Appear on Signature Page]
                                   13   Attorneys for Plaintiffs and the putative Class
                                   14                       UNITED STATES DISTRICT COURT
                                   15               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                   16   BRIAN WARNER, KENNETH                    Case No. 2:15-cv-02171-FMO-(FFMx)
                                        MACLEOD; MICHAEL MEADE,
                                   17   MICHAEL WATSON, JAMES                    CLASS ACTION
                                        FULLER, and DALE FRANQUET,
                                   18   individually and on behalf of all        EXHIBIT 3 TO SETTLEMENT
                                        others similarly situated,               AGREEMENT [ECF NO. 91-1]
                                   19
                                                     Plaintiffs,
                                   20
                                              v.                                 USDJ:       Fernando M. Olguin
                                   21                                            Ctrm:       22, 5th Floor – Spring
                                        TOYOTA MOTOR SALES, U.S.A.,              USMJ:       Frederick F. Mumm
                                   22   INC., a California corporation,          Ctrm:       E, 9th Floor – Spring
                                   23                Defendant.                  JURY TRIAL DEMANDED
                                   24                                            Complaint Filed: March 24, 2015
                                   25
                                   26
                                   27
                                   28
                                                                                          Case No. 2:15-cv-02171 FMO (FFMx)
00111975
                                                         EXHIBT 3 TO SETTLEMENT AGREEMENT
Case 2:14-cv-02208-PKH
  Case                  Document
        2:15-cv-02171-FMO-FFM    81-1 Filed
                              Document  92-1 11/17/16  Page 174
                                              Filed 11/15/16    of 193
                                                             Page  2 of PageID
                                                                        16 Page#: 1129
                                                                                  ID
                                     #:1658




          EXHIBIT 3
Case 2:14-cv-02208-PKH
  Case                  Document
        2:15-cv-02171-FMO-FFM    81-1 Filed
                              Document  92-1 11/17/16  Page 175
                                              Filed 11/15/16    of 193
                                                             Page  3 of PageID
                                                                        16 Page#: 1130
                                                                                  ID
                                     #:1659


  1
  2
  3
  4
  5
  6
  7
  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
11
12     BRIAN WARNER, KENNETH                           No. 2:15-cv-02171-FMO-(FFMx)
       MACLEOD, MICHAEL MEADE,
13
       MICHAEL WATSON, JAMES
14     FULLER, and DALE FRANQUET,                      [PROPOSED] FINAL ORDER
       individually and on behalf of all               APPROVING CLASS ACTION
15
       others similarly situated,                      SETTLEMENT
16
                    Plaintiffs,
17
18           v.
19
       TOYOTA MOTOR SALES, U.S.A.,
20     INC., a California corporation,
21
                   Defendant.
22
23
24
25
26
27
28                                               -1-

                                  [PROPOSED] FINAL ORDER APPROVING
                                      CLASS ACTION SETTLEMENT
                                                EXHIBIT 3
Case 2:14-cv-02208-PKH
  Case                  Document
        2:15-cv-02171-FMO-FFM    81-1 Filed
                              Document  92-1 11/17/16  Page 176
                                              Filed 11/15/16    of 193
                                                             Page  4 of PageID
                                                                        16 Page#: 1131
                                                                                  ID
                                     #:1660



  1          WHEREAS, the Court, having considered the Settlement Agreement dated
  2    [MONTH] ____, 2016 (the “Settlement Agreement”) between and among Class
  3    Representatives, through Class Counsel, and Defendant Toyota Motor Sales, U.S.A.,
  4    Inc. (“Toyota”), the Court’s [MONTH] ____, 2016 Order Granting Preliminary
  5    Approval of the Class Settlement, Directing Notice to the Class, and Scheduling
  6    Fairness Hearing (Dkt. No. ____) (the “Preliminary Approval Order”), having held a
  7    Fairness Hearing on [date], and having considered all of the submissions and
  8    arguments with respect to the Settlement Agreement, and otherwise being fully
  9    informed, and good cause appearing therefore (all capitalized terms as defined in the
10     Settlement Agreement);
11           IT IS HEREBY ORDERED AS FOLLOWS:
12           1.     This Final Order Approving Class Action Settlement incorporates
13     herein and makes a part hereof, the Settlement Agreement and its exhibits, the
14     Preliminary Approval Order, all exhibits to the Settlement Agreement and the
15     Preliminary Approval Order. Unless otherwise provided herein, the terms defined in
16     the Settlement Agreement and Preliminary Approval Order shall have the same
17     meanings for purposes of this Final Order and accompanying Final Judgment.
18           2.     The Court has personal jurisdiction over all parties in the Action and the
19     Related Action, including, but not limited to all Class Members, and has subject
20     matter jurisdiction over the Action and the Related Action, including without
21     limitation, jurisdiction to approve the Settlement Agreement, grant final certification
22     of the Class, to settle and release all claims released in the Settlement Agreement and
23     to dismiss the Action and the Related Action with prejudice and enter final judgment
24     in each Action.
25                             I.      THE SETTLEMENT CLASS
26           3.     Based on the record before the Court, including all submissions in
27     support of the settlement set forth in the Settlement Agreement, objections and
28                                                -2-

                                    [PROPOSED] FINAL ORDER APPROVING
                                        CLASS ACTION SETTLEMENT
                                                  EXHIBIT 3
Case 2:14-cv-02208-PKH
  Case                  Document
        2:15-cv-02171-FMO-FFM    81-1 Filed
                              Document  92-1 11/17/16  Page 177
                                              Filed 11/15/16    of 193
                                                             Page  5 of PageID
                                                                        16 Page#: 1132
                                                                                  ID
                                     #:1661



  1    responses thereto and all prior proceedings in the Action and the Related Action, as
  2    well as the Settlement Agreement itself and its related documents and exhibits, the
  3    Court hereby confirms the certification of the following nationwide Class (the
  4    “Class”) for settlement purposes only:
  5          All persons, entities or organizations who, at any time as of or before [date of
  6    Preliminary Approval Order], own or owned, purchase(d) or lease(d) Subject
  7    Vehicles (as listed in Appendix A to this Final Order) distributed for sale or lease in
  8    any of the fifty States, the District of Columbia, Puerto Rico and all other United
  9    States territories and/or possessions. Excluded from the Class are: (a) Toyota, its
10     officers, directors and employees; its affiliates and affiliates’ officers, directors and
11     employees; its distributors and distributors’ officers, directors and employees; and
12     Toyota Dealers and Toyota Dealers’ officers and directors; (b) Plaintiffs’Counsel;
13     (c) judicial officers and their immediate family members and associated court staff
14     assigned to this case; and (d) persons or entities who or which timely and properly
15     excluded themselves from the Class as provided in this Settlement Agreement.
16           The Court finds that only those persons/entities/organizations listed on
17     Appendix B to this Final Order Approving Class Action Settlement have timely and
18     properly excluded themselves from the Class and, therefore, are not bound by this
19     Final Order Approving Class Action Settlement or the accompanying Final
20     Judgment.
21           4.     The Court confirms, for settlement purposes and conditioned upon the
22     entry of the Final Order and Final Judgment and upon the occurrence of the Final
23     Effective Date, that the Class meets all the applicable requirements of FED. R. CIV. P.
24     23(a) and (b)(3):
25                 a.      Numerosity. The Class, which is ascertainable, consists of over
26     one million members located throughout the United States and satisfies the
27     numerosity requirement of FED. R. CIV. P. 23(a)(1).          Joinder of these widely-
28                                               -3-

                                  [PROPOSED] FINAL ORDER APPROVING
                                      CLASS ACTION SETTLEMENT
                                                EXHIBIT 3
Case 2:14-cv-02208-PKH
  Case                  Document
        2:15-cv-02171-FMO-FFM    81-1 Filed
                              Document  92-1 11/17/16  Page 178
                                              Filed 11/15/16    of 193
                                                             Page  6 of PageID
                                                                        16 Page#: 1133
                                                                                  ID
                                     #:1662



  1    dispersed, numerous Class Members into one suit would be impracticable.
  2                b.     Commonality. There are some questions of law or fact common
  3    to the Class with regard to the alleged activities of Toyota in this case. These issues
  4    are sufficient to establish commonality under FED. R. CIV. P. 23(a)(2).
  5                c.     Typicality. The claims of Class Representatives are typical of the
  6    claims of the Class Members they seek to represent for purposes of settlement.
  7                d.     Adequate Representation.      Plaintiffs’ interests do not conflict
  8    with those of absent members of the Classes, and Plaintiffs’ interests are co-
  9    extensive with those of absent Class Members. Additionally, this Court recognizes
10     the experience of Class Counsel Timothy G. Blood of Blood Hurst and O’Reardon
11     LLP and Ben Barnow of Barnow and Associates P.C. Plaintiffs and their counsel
12     have prosecuted this action vigorously on behalf of the Class. The Court finds that
13     the requirement of adequate representation of the Class has been fully met under
14     FED. R. CIV. P. 23(a)(4).
15                 e.     Predominance of Common Issues. The questions of law or fact
16     common to the Class Members, as pertains to consideration of the Settlement
17     Agreement, predominate over any questions affecting any individual Class Member.
18                 f.     Superiority of the Class Action Mechanism. The class action
19     mechanism provides a superior procedural vehicle for settlement of this matter
20     compared to other available alternatives. Class certification promotes efficiency and
21     uniformity of judgment because the many Class Members will not be forced to
22     separately pursue claims or execute settlements in various courts around the country.
23           5.     The designated Class Representatives are as follows: Brian Warner,
24     Ryan Burns, Kenneth Macleod, Michael Meade, Michael Watson, James Fuller,
25     James M. Good, and Dale Franquet. The Court finds that these Class Members have
26     adequately represented the Class for purposes of entering into and implementing the
27     Settlement Agreement. The Court appoints Timothy G. Blood of Blood, Hurst &
28                                               -4-

                                   [PROPOSED] FINAL ORDER APPROVING
                                       CLASS ACTION SETTLEMENT
                                                 EXHIBIT 3
Case 2:14-cv-02208-PKH
  Case                  Document
        2:15-cv-02171-FMO-FFM    81-1 Filed
                              Document  92-1 11/17/16  Page 179
                                              Filed 11/15/16    of 193
                                                             Page  7 of PageID
                                                                        16 Page#: 1134
                                                                                  ID
                                     #:1663



  1    O’Reardon, LLP andBen Barnow of Barnow and Associates P.C. as Class Counsel.
  2          6.     In making all of the foregoing findings, the Court has exercised its
  3    discretion in certifying the Class.
  4                           II.    NOTICE TO CLASS MEMBERS
  5          7.     The record shows and the Court finds that the Class Notice has been
  6    given to the Class in the manner approved by the Court in its Preliminary Approval
  7    Order (Dkt. No. ___). The Court finds that such Class Notice: (i) is reasonable and
  8    constitutes the best practicable notice to Class Members under the circumstances;
  9    (ii) constitutes notice that was reasonably calculated, under the circumstances, to
10     apprise Class Members of the pendency of the Action and the terms of the
11     Settlement Agreement, their right to exclude themselves from the Class or to object
12     to all or any part of the Settlement Agreement, their right to appear at the Fairness
13     Hearing (either on their own or through counsel hired at their own expense) and the
14     binding effect of the orders and Final Order and Final Judgment in the Action,
15     whether favorable or unfavorable, on all persons who do not exclude themselves
16     from the Class; (iii) constitutes due, adequate, and sufficient notice to all persons or
17     entities entitled to receive notice; and (iv) fully satisfied the requirements of the
18     United States Constitution (including the Due Process Clause), FED. R. CIV. P. 23
19     and any other applicable law as well as complying with the Federal Judicial Center’s
20     illustrative class action notices.
21           The Court further finds that Toyota, through the Settlement Notice
22     Administrator, provided notice of the settlement to the appropriate state and federal
23     government officials pursuant to 28 U.S.C. §1715. Furthermore, the Court has given
24     the appropriate state and federal government officials the requisite ninety (90) day
25     time period to comment or object to the Settlement Agreement before entering its
26     Final Order and Final Judgment.
27
28                                                -5-

                                    [PROPOSED] FINAL ORDER APPROVING
                                        CLASS ACTION SETTLEMENT
                                                  EXHIBIT 3
Case 2:14-cv-02208-PKH
  Case                  Document
        2:15-cv-02171-FMO-FFM    81-1 Filed
                              Document  92-1 11/17/16  Page 180
                                              Filed 11/15/16    of 193
                                                             Page  8 of PageID
                                                                        16 Page#: 1135
                                                                                  ID
                                     #:1664



  1               III.     FINAL APPROVAL OF SETTLEMENT AGREEMENT
  2          8.          The Court finds that the Settlement Agreement resulted from extensive
  3    arm’s length good faith negotiations between Class Counsel and Toyota, through
  4    experienced counsel, with the assistance and oversight of Settlement Special Master
  5    Patrick A. Juneau.
  6          9.          Pursuant to FED. R. CIV. P. 23(e), the Court hereby finally approves in
  7    all respects the settlement as set forth in the Settlement Agreement and finds that the
  8    the Settlement Agreement, and all other parts of the settlement are, in all respects,
  9    fair, reasonable, and adequate, and in the best interest of the Class and are in full
10     compliance with all applicable requirements of the Federal Rules of Civil Procedure,
11     the United States Constitution (including the Due Process Clause), the Class Action
12     Fairness Act, and any other applicable law. The Court hereby declares that the
13     Settlement Agreement is binding on all Class Members, except those identified on
14     Appendix B, and it is to be preclusive in the Action and the Related Action. The
15     decisions of the Settlement Claims Administrator relating to the review, processing,
16     determination and payment of Claims submitted pursuant to the Settlement
17     Agreement are final and not appealable.
18           10.         The Court finds that the Settlement Agreement is fair, reasonable and
19     adequate based on the following factors, among other things: (a) there is no fraud or
20     collusion underlying the Settlement Agreement; (b) the complexity, expense,
21     uncertainty and likely duration of litigation in the Action and the Related Action
22     favor settlement on behalf of the Class; (c) the Settlement Agreement provides
23     meaningful benefits to the Class; and (d) any and all other applicable factors that
24     favor final approval.
25           11.         The Parties are hereby directed to implement and consummate the
26     settlement according to the terms and provisions of the Settlement Agreement. In
27     addition, the Parties are authorized to agree to and adopt such amendments and
28                                                  -6-

                                     [PROPOSED] FINAL ORDER APPROVING
                                         CLASS ACTION SETTLEMENT
                                                   EXHIBIT 3
Case 2:14-cv-02208-PKH
  Case                  Document
        2:15-cv-02171-FMO-FFM    81-1 Filed
                              Document  92-1 11/17/16  Page 181
                                              Filed 11/15/16    of 193
                                                             Page  9 of PageID
                                                                        16 Page#: 1136
                                                                                  ID
                                     #:1665



  1    modifications to the Settlement Agreement as: (i) shall be consistent in all material
  2    respects with this Final Order Approving Class Action Settlement: and (ii) do not
  3    limit the rights of the Class.
  4          12.    The Court has considered all objections, timely and proper or otherwise,
  5    to the Settlement Agreement and denies and overrules them as without merit.
  6                        IV.    DISMISSAL OF CLAIMS, RELEASE
  7                                   AND INJUNCTION

  8          13.    The Action is hereby dismissed with prejudice on the merits and
  9    without costs to any party, except as otherwise provided herein or in the Settlement
10     Agreement. The Parties are to file a stipulation of dismissal with prejudice or a
11     substantial equivalent in the Related Action, pursuant to the terms of the Settlement
12     Agreement.
13           14.    Upon entry of this Final Order Approving Class Action Settlement and
14     the Final Judgment, Class Representatives and each Class Member (except those
15     listed on Appendix B), on behalf of themselves and any other legal or natural persons
16     who may claim by, through or under them, agree to fully, finally, and forever release,
17     relinquish, acquit, and discharge the Released Parties from any and all claims,
18     demands, suits, petitions, liabilities, causes of action, rights, and damages of any
19     kind and/or type regarding the subject matter of the Action and the Related Action,
20     including, but not limited to, compensatory, exemplary, punitive, expert and/or
21     attorneys’ fees or by multipliers, whether past, present, or future, mature, or not yet
22     mature, known or unknown, suspected or unsuspected, contingent or non-contingent,
23     derivative or direct, asserted or un-asserted, whether based on federal, state or local
24     law, statute, ordinance, regulation, code, contract, common law, violations of any
25     state’s deceptive, unlawful, or unfair business or trade practices, false, misleading or
26     fraudulent advertising, consumer fraud or consumer protection statutes, any breaches
27     of express, implied or any other warranties, RICO, or the Magnuson-Moss Warranty
28                                               -7-

                                   [PROPOSED] FINAL ORDER APPROVING
                                       CLASS ACTION SETTLEMENT
                                                 EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
       2:15-cv-02171-FMO-FFM     81-1 Filed
                              Document 92-1 11/17/16   Page 182
                                             Filed 11/15/16     of 10
                                                             Page  193ofPageID #: 1137
                                                                         16 Page   ID
                                     #:1666



  1    Act, or any other source, or any claim of any kind related arising from, related to,
  2    connected with, and/or in any way involving the Action, the Related Action, the
  3    Subject Vehicles’ frames and/or associated parts that are, or could have been,
  4    defined, alleged or described in the Second Amended Complaint, the Action, the
  5    Related Action or any amendments of the Action or the Related Action.
  6    Notwithstanding the foregoing, Class Representatives and Class Members are not
  7    releasing claims for personal injury, wrongful death or actual physical property
  8    damage arising from an accident involving a Subject Vehicle.
  9          15.    Notwithstanding the foregoing, the Released Parties shall be held
10     harmless by any Class Representative or Class Member for a Released Claim against
11     the Released Parties asserted by that Class Representative or Class Member, either
12     brought directly or by any legal or natural persons who claim by, through, or under
13     that Class Representative or Class Member.
14           16.    By not excluding themselves from the Action and the Related Action
15     and to the fullest extent they may lawfully waive such rights, all Class
16     Representatives are deemed to acknowledge and waive Section 1542 of the Civil
17     Code of the State of California and any law of any state or territory that is equivalent
18     to Section 1542. Section 1542 provides that:
19           A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
20           WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
             EXIST IN HIS OR HER FAVOR AT THE TIME OF
21           EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR
22           HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
             SETTLEMENT WITH THE DEBTOR.
23
24           17.    The Court orders that the Settlement Agreement shall be the exclusive

25     remedy for all claims released in the Settlement Agreement for all Class Members

26     not listed on Appendix B.

27
28                                               -8-

                                   [PROPOSED] FINAL ORDER APPROVING
                                       CLASS ACTION SETTLEMENT
                                                 EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
       2:15-cv-02171-FMO-FFM     81-1 Filed
                              Document 92-1 11/17/16   Page 183
                                             Filed 11/15/16     of 11
                                                             Page  193ofPageID #: 1138
                                                                         16 Page   ID
                                     #:1667



  1          18.   Therefore, except for those listed on Appendix B, all Class
  2    Representatives, Class Members and their representatives are hereby permanently
  3    barred and enjoined from, either directly, through their representatives, or in any
  4    other capacity instituting, commencing, filing, maintaining, continuing or
  5    prosecuting against any of the Released Parties (as that term is defined in the
  6    Settlement Agreement) any action or proceeding in any court or tribunal asserting
  7    any of the matters, claims or causes of action described. In addition, all Class
  8    Representatives, Class Members and all persons in active concert or participation
  9    with Class Members are permanently barred and enjoined from organizing Class
10     Members who have not been excluded from the Class into a separate class for
11     purposes of pursuing, as a purported class action, any lawsuit based on or relating to
12     the claims and causes of action in the complaint in the Action or Related Action, or
13     the facts and circumstances relating thereto or the release in the Settlement
14     Agreement. Pursuant to 28 U.S.C. §§1651(a) and 2283, the Court finds that issuance
15     of this permanent injunction is necessary and appropriate in aid of its continuing
16     jurisdiction and authority over the settlement as set forth in the Settlement
17     Agreement, and the Action.
18                                V.    OTHER PROVISIONS
19           19.   Without affecting the finality of this Final Order Approving Class
20     Action Settlement or the accompanying Final Judgment, the Court retains continuing
21     and exclusive jurisdiction over the Action and all matters relating to the
22     administration, consummation, enforcement and interpretation of the Settlement
23     Agreement and of this Final Order Approving Class Action Settlement and the
24     accompanying Final Judgment, to protect and effectuate this Final Order Approving
25     Class Action Settlement and the accompanying Final Judgment, and for any other
26     necessary purpose. The Parties, the Class Representatives, and each Class Member
27     not listed on Appendix B are hereby deemed to have irrevocably submitted to the
28                                              -9-

                                 [PROPOSED] FINAL ORDER APPROVING
                                     CLASS ACTION SETTLEMENT
                                               EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
       2:15-cv-02171-FMO-FFM     81-1 Filed
                              Document 92-1 11/17/16   Page 184
                                             Filed 11/15/16     of 12
                                                             Page  193ofPageID #: 1139
                                                                         16 Page   ID
                                     #:1668



  1    exclusive jurisdiction of this Court, for the purpose of any suit, action, proceeding or
  2    dispute arising out of or relating to the Settlement Agreement or the applicability of
  3    the Settlement Agreement, including the exhibits thereto, and only for such purposes.
  4          20.    In the event that the Final Effective Date does not occur, certification of
  5    the Class shall be automatically vacated and this Final Order Approving Class
  6    Action Settlement and the accompanying Final Judgment, and other orders entered in
  7    connection with the Settlement Agreement and releases delivered in connection with
  8    the Settlement Agreement, shall be vacated and rendered null and void as provided
  9    by the Settlement Agreement.
10           21.    Without further order of the Court, the Parties may agree to reasonably
11     necessary extensions of time to carry out any of the provisions of the Settlement
12     Agreement. Likewise, the Parties may, without further order of the Court, agree to
13     and adopt such amendments to the Settlement Agreement (including exhibits) as are
14     consistent with this Final Order Approving Class Action Settlement and the
15     accompanying Final Judgment and do not limit the rights of Class Members under
16     the Settlement Agreement.
17           22.    Nothing in this Final Order Approving Class Action Settlement or the
18     accompanying Final Judgment shall preclude any action in this Court to enforce the
19     terms of the Settlement Agreement.
20           23.    Neither this Final Order Approving Class Action Settlement nor the
21     accompanying Final Judgment (nor any document related to the Settlement
22     Agreement) is or shall be construed as an admission by the Parties. Neither the
23     Settlement Agreement (or its exhibits), this Final Order Approving Class Action
24     Settlement, the accompanying Final Judgment, or any document related to the
25     Settlement Agreement shall be offered in any proceeding as evidence against any of
26     the Parties of any fact or legal claim; provided, however, that Toyota and the
27     Released Parties may file any and all such documents in support of any defense that
28                                              - 10 -

                                 [PROPOSED] FINAL ORDER APPROVING
                                     CLASS ACTION SETTLEMENT
                                               EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
       2:15-cv-02171-FMO-FFM     81-1 Filed
                              Document 92-1 11/17/16   Page 185
                                             Filed 11/15/16     of 13
                                                             Page  193ofPageID #: 1140
                                                                         16 Page   ID
                                     #:1669



  1    the Settlement Agreement, this Final Order Approving Class Action Settlement, the
  2    accompanying Final Judgment and any other related document is binding on and
  3    shall have res judicata, collateral estoppel, and/or preclusive effect in any pending or
  4    future lawsuit by any person who is subject to the release described above in
  5    Paragraph 14 asserting a released claim against any of the Released Parties.
  6          24.    A copy of this Final Order Approving Class Action Settlement shall be
  7    filed in, and applies to, the Action.
  8
  9          SO ORDERED this ____ day of ________ 2017.
10
                                               _____________________________________
11
                                               Honorable Fernando M. Olguin
12                                             Judge of the United States District Court
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                               - 11 -

                                  [PROPOSED] FINAL ORDER APPROVING
                                      CLASS ACTION SETTLEMENT
                                                EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
       2:15-cv-02171-FMO-FFM     81-1 Filed
                              Document 92-1 11/17/16   Page 186
                                             Filed 11/15/16     of 14
                                                             Page  193ofPageID #: 1141
                                                                         16 Page   ID
                                     #:1670



  1                                     APPENDIX A
  2                                 SUBJECT VEHICLES
  3
  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                            - 12 -

                                [PROPOSED] FINAL ORDER APPROVING
                                    CLASS ACTION SETTLEMENT
                                              EXHIBIT 3
Case
 Case2:14-cv-02208-PKH  Document
       2:15-cv-02171-FMO-FFM     81-1 Filed
                              Document 92-1 11/17/16   Page 187
                                             Filed 11/15/16     of 15
                                                             Page  193ofPageID #: 1142
                                                                         16 Page   ID
                                     #:1671



  1                                     APPENDIX B
  2       PERSONS, ENTITIES AND ORGANIZATIONS THAT HAVE PROPERLY
  3                 EXCLUDED THEMSELVES FROM THE CLASS

  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                            - 13 -

                                [PROPOSED] FINAL ORDER APPROVING
                                    CLASS ACTION SETTLEMENT
                                              EXHIBIT 3
                                Case
                                 Case2:14-cv-02208-PKH  Document
                                       2:15-cv-02171-FMO-FFM     81-1 Filed
                                                              Document 92-1 11/17/16   Page 188
                                                                             Filed 11/15/16     of 16
                                                                                             Page  193ofPageID #: 1143
                                                                                                         16 Page   ID
                                                                     #:1672


                                    1                           CERTIFICATE OF SERVICE
                                    2         I hereby certify that on November 15, 2016, I electronically filed the
                                    3   foregoing with the Clerk of the Court using the CM/ECF system which will send
                                    4   notification of such filing to the e-mail addresses denoted on the Electronic Mail
                                    5   Notice List, and I hereby certify that I have mailed the foregoing document or
                                    6   paper via the United States Postal Service to the non-CM/ECF participants
                                    7   indicated on the Electronic Mail Notice List.
                                    8         I certify under penalty of perjury under the laws of the United States of
                                    9   America that the foregoing is true and correct. Executed on November 15, 2016.
                                   10
                                                                                         s/ Timothy G. Blood
 BLOOD HURST & O’REARDON, LLP




                                   11                                                   TIMOTHY G. BLOOD
                                   12
                                                                              BLOOD HURST & O’REARDON, LLP
                                   13                                         701 B Street, Suite 1700
                                                                              San Diego, CA 92101
                                   14                                         Telephone: 619/338-1100
                                                                              619/338-1101 (fax)
                                   15                                         tblood@bholaw.com
                                   16
                                   17
                                   18
                                   19
                                   20
                                   21
                                   22
                                   23
                                   24
                                   25
                                   26
                                   27
                                   28

                                                                                        Case No. 2:15-cv-02171 FMO (FFMx)
00111975
                                                        EXHIBT 3 TO SETTLEMENT AGREEMENT
                                Case
                                Case2:14-cv-02208-PKH  Document
                                     2:15-cv-02171-FMO-FFM      81-1 92
                                                            Document  Filed  11/17/16
                                                                          Filed        Page
                                                                                11/15/16    1891of
                                                                                         Page   of193 PageID
                                                                                                   5 Page    #: 1144
                                                                                                          ID #:1652



                                    1   BLOOD HURST & O’REARDON, LLP                      REED SMITH LLP
                                        TIMOTHY G. BLOOD (149343)                         John P. Hooper (Pro Hac Vice)
                                    2   THOMAS J. O’REARDON, II (247952)                  jhooper@reedsmith.com th
                                        PAULA R. BROWN (254142)                           599 Lexington Avenue, 28 Floor
                                    3   701 B Street, Suite 1700                          New York, NY 10022
                                        San Diego, CA 92101                               Tel. (212) 521- 5400
                                    4   Tel: 619/338-1100                                 Fax: (212) 521-5450
                                        619/338-1101 (fax)
                                    5   tblood@bholaw.com                                 REED SMITH LLP
                                        toreardon@bholaw.com                              Raymond A. Cardozo (173263)
                                    6   pbrown@bholaw.com                                 rcardozo@reedsmith.com
                                                                                          101 Second Street, Suite 1800
                                    7   BARNOW AND ASSOCIATES, P.C.                       San Francisco, CA 94105-3659
                                        BEN BARNOW (pro hac vice)                         Tel: (415) 543 8700
                                    8   ERICH P. SCHORK (pro hac vice)                    Fax: (415) 391 8269
                                        1 North LaSalle Street, Suite 4600
                                    9   Chicago, IL 60602                                 Attorney for Defendant Toyota
                                        Tel: 312/621-2000                                 Motor Sales, U.S.A., Inc.
                                  10    312/641-5504 (fax)
                                        b.barnow@barnowlaw.com                            [Additional Attorneys Listed on
 BLOOD HURST & O’REARDON, LLP




                                  11    e.schork@barnowlaw.com                            Signature Page]
                                  12    Attorneys for Plaintiffs and the putative Class
                                  13                         UNITED STATES DISTRICT COURT
                                  14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  15    BRIAN WARNER, KENNETH                       Case No. 2:15-cv-02171-FMO-(FFMx)
                                        MACLEOD; MICHAEL MEADE,
                                  16    MICHAEL WATSON, JAMES                       CLASS ACTION
                                        FULLER, and DALE FRANQUET,
                                  17    individually and on behalf of all           JOINT NOTICE OF ERRATA RE
                                        others similarly situated,                  EXHIBIT 3 TO SETTLEMENT
                                  18                                                AGREEMENT
                                                      Plaintiffs,
                                  19
                                               v.                                   USDJ:       Fernando M. Olguin
                                  20                                                Ctrm:       22, 5th Floor – Spring
                                        TOYOTA MOTOR SALES, U.S.A.,                 USMJ:       Frederick F. Mumm
                                  21    INC., a California corporation,             Ctrm:       E, 9th Floor – Spring
                                  22                  Defendant.                    JURY TRIAL DEMANDED
                                  23                                                Complaint Filed: March 24, 2015
                                  24
                                  25
                                  26
                                  27
                                  28
                                                                                            Case No. 2:15-cv-02171 FMO (FFMx)
00111971
                                                                    JOINT NOTICE OF ERRATA
                                Case
                                Case2:14-cv-02208-PKH  Document
                                     2:15-cv-02171-FMO-FFM      81-1 92
                                                            Document  Filed  11/17/16
                                                                          Filed        Page
                                                                                11/15/16    1902of
                                                                                         Page   of193 PageID
                                                                                                   5 Page    #: 1145
                                                                                                          ID #:1653



                                    1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                    2         PLEASE TAKE NOTICE that on November 15, 2016, Plaintiffs Ryan
                                    3   Burns, Dale Franquet, James Fuller, James Good, Kenneth MacLeod, Michael
                                    4   Mead, Brian Warner, and Michael Watson (collectively “Plaintiffs”),
                                    5   electronically filed the Settlement Agreement (ECF 91), and accompanying
                                    6   exhibits 1 through 11 (ECF 91-1) on behalf Plaintiffs and Defendant Toyota
                                    7   Motor Sales, U.S.A., Inc. (the “Parties”).
                                    8         The Parties made certain changes to the Settlement Agreement, and
                                    9   revised certain exhibits to conform to those changes, except for the (Proposed)
                                  10    Final Order Approving Class Action Settlement, which was Exhibit 3 to the
 BLOOD HURST & O’REARDON, LLP




                                  11    Settlement Agreement.
                                  12          This erratum shall serve to submit the conformed (Proposed) Final Order
                                  13    Approving Class Action Settlement, to replace the previously filed exhibit.
                                  14                                            Respectfully submitted,
                                  15    Dated: November 15, 2016                BLOOD HURST & O’REARDON, LLP
                                                                                TIMOTHY G. BLOOD (149343)
                                  16                                            THOMAS J. O’REARDON, II (247952)
                                                                                PAULA R. BROWN (254142)
                                  17
                                  18                                            By:      s/ Timothy G. Blood
                                                                                        TIMOTHY G. BLOOD
                                  19
                                                                                701 B Street, Suite 1700
                                  20                                            San Diego, CA 92101
                                                                                Tel: 619/338-1100
                                  21                                            619/338-1101 (fax)
                                                                                tblood@bholaw.com
                                  22                                            toreardon@bholaw.com
                                                                                pbrown@bholaw.com
                                  23
                                                                                BARNOW AND ASSOCIATES, P.C.
                                  24                                            BEN BARNOW (pro hac vice)
                                                                                ERICH P. SCHORK (pro hac vice)
                                  25                                            1 North LaSalle Street, Suite 4600
                                                                                Chicago, IL 60602
                                  26                                            Tel: 312/621-2000
                                                                                312/641-5504 (fax)
                                  27                                            b.barnow@barnowlaw.com
                                                                                e.schork@barnowlaw.com
                                  28

                                                                            1     Case No. 2:15-cv-02171 FMO (FFMx)
00111971
                                                                 JOINT NOTICE OF ERRATA
                                Case
                                Case2:14-cv-02208-PKH  Document
                                     2:15-cv-02171-FMO-FFM      81-1 92
                                                            Document  Filed  11/17/16
                                                                          Filed        Page
                                                                                11/15/16    1913of
                                                                                         Page   of193 PageID
                                                                                                   5 Page    #: 1146
                                                                                                          ID #:1654



                                    1                                        MILLIGAN LAW OFFICES
                                                                             PHILIP J. MILLIGAN (pro hac vice)
                                    2                                        500 South 16th Street
                                                                             Fort Smith, Arkansas 72901
                                    3                                        Tel: 479/783-2213
                                                                             milliganlaw@sbcglobal.net
                                    4
                                                                             ROBERTS LAW FIRM, P.A.
                                    5                                        MICHAEL L. ROBERTS (pro hac vice)
                                                                             20 Rahling Circle
                                    6                                        P.O. Box 241790
                                                                             Little Rock, Arkansas 72223
                                    7                                        Tel: 501/821-5575
                                                                             501/821-4474 (fax)
                                    8                                        mikeroberts@robertslawfirm.us
                                    9                                        MONTELEONE & McCORY, LLP
                                                                             Jeffrey S. Hurst (138664)
                                  10                                         725 South Figueroa Street, Suite 3200
                                                                             Los Angeles, CA 90017
 BLOOD HURST & O’REARDON, LLP




                                  11                                         Tel: 213/784-3108
                                                                             213/612-9930 (fax)
                                  12                                         Hurst@mmlawyers.com
                                  13                                         Attorneys for Plaintiffs
                                  14
                                  15    Dated: November 15, 2016             REED SMITH LLP
                                                                             RAYMOND A. CARDOZO (173263)
                                  16
                                  17                                         By:     s/ Raymond A. Cardozo
                                                                                    RAYMOND A. CARDOZO
                                  18
                                                                             101 Second Street,, Suite 1800
                                  19                                         San Francisco, cA 94105-3659
                                                                             Tel: 415/543-8700
                                  20                                         415/391-8269 (fax)
                                                                             rcardozo@reedsmith.com
                                  21
                                                                             REED SMITH LLP
                                  22                                         John P. Hooper (Pro Hac Vice)
                                                                             599 Lexington Avenue
                                  23                                         New York, NY 10022
                                                                             Tel: 212/521-5400
                                  24                                         212/521-5450 (fax)
                                                                             jhooper@reedsmith.com
                                  25                                         egladbach@reedsmith.com
                                  26                                         MORGAN LEWIS AND BOCKIUS LLP
                                                                             David L. Schrader
                                  27                                         Esther Kyngmin. Ro
                                                                             300 South Grand Avenue 22nd Floor
                                  28                                         Los Angeles, CA 90071

                                                                          2     Case No. 2:15-cv-02171 FMO (FFMx)
00111971
                                                               JOINT NOTICE OF ERRATA
                                Case
                                Case2:14-cv-02208-PKH  Document
                                     2:15-cv-02171-FMO-FFM      81-1 92
                                                            Document  Filed  11/17/16
                                                                          Filed        Page
                                                                                11/15/16    1924of
                                                                                         Page   of193 PageID
                                                                                                   5 Page    #: 1147
                                                                                                          ID #:1655



                                    1                                           Tel: 213/612-2500
                                                                                213/612-2501 (fax)
                                    2                                           david.schrader@morganlewis.com
                                                                                esther.ro@morganlewis.com
                                    3
                                                                                WHEELER TRIGG O’DONNELL LLP
                                    4                                           Peter W. Herzog, III (Pro Hac Vice)
                                                                                Galen D. Bellamy (231792)
                                    5                                           370 Seventeenth Street, Suite 4500
                                                                                Denver, CO 80202
                                    6                                           Tel: 303/244-1800
                                                                                303/244-1879 (fax)
                                    7                                           pherzog@wtotrial.com
                                                                                bellamy@wtotrial.com
                                    8
                                                                                Attorneys for Defendant
                                    9                                           Toyota Motor Sales, U.S.A., Inc.
                                  10
 BLOOD HURST & O’REARDON, LLP




                                  11
                                                                     ECF CERTIFICATION
                                  12
                                               The filing attorney attests that he has obtained concurrence regarding the
                                  13
                                         filing of this document from the signatories to this document.
                                  14
                                  15
                                        Dated: November 15, 2016                BLOOD HURST & O’REARDON, LLP
                                  16
                                  17                                            By:        s/ Timothy G. Blood
                                                                                          TIMOTHY G. BLOOD
                                  18
                                  19
                                  20
                                  21
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28

                                                                             3     Case No. 2:15-cv-02171 FMO (FFMx)
00111971
                                                                  JOINT NOTICE OF ERRATA
                                Case
                                Case2:14-cv-02208-PKH  Document
                                     2:15-cv-02171-FMO-FFM      81-1 92
                                                            Document  Filed  11/17/16
                                                                          Filed        Page
                                                                                11/15/16    1935of
                                                                                         Page   of193 PageID
                                                                                                   5 Page    #: 1148
                                                                                                          ID #:1656



                                    1                           CERTIFICATE OF SERVICE
                                    2         I hereby certify that on November 15, 2016, I electronically filed the
                                    3   foregoing with the Clerk of the Court using the CM/ECF system which will send
                                    4   notification of such filing to the e-mail addresses denoted on the Electronic Mail
                                    5   Notice List, and I hereby certify that I have mailed the foregoing document or
                                    6   paper via the United States Postal Service to the non-CM/ECF participants
                                    7   indicated on the Electronic Mail Notice List.
                                    8         I certify under penalty of perjury under the laws of the United States of
                                    9   America that the foregoing is true and correct. Executed on November 15, 2016.
                                  10
                                                                                         s/ Timothy G. Blood
 BLOOD HURST & O’REARDON, LLP




                                  11                                                    TIMOTHY G. BLOOD
                                  12
                                                                              BLOOD HURST & O’REARDON, LLP
                                  13                                          701 B Street, Suite 1700
                                                                              San Diego, CA 92101
                                  14                                          Telephone: 619/338-1100
                                                                              619/338-1101 (fax)
                                  15                                          tblood@bholaw.com
                                  16
                                  17
                                  18
                                  19
                                  20
                                  21
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28

                                                                            4     Case No. 2:15-cv-02171 FMO (FFMx)
00111971
                                                                 JOINT NOTICE OF ERRATA
